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                      UNITED STATES SECURITIES AND EXCHANGE COMMISSION
                                                                 WASHINGTON, D.C. 20549
                                                                 _____________________________________

                                                                         FORM 10-K
  (Mark One)

  ☒        ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT
           OF 1934
           For the fiscal year ended July 31, 2021
  or

  ☐        TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE
           ACT OF 1934
           For the transition period from ____ to ____
                                                           Commission file number 001-39940
                                                                 _____________________________________




                                                        CISCO SYSTEMS, INC.
                                                          (Exact name of registrant as specified in its charter)

                            Delaware                                                                                                       XX-XXXXXXX
                 (State or other jurisdiction of                                                                                         (IRS Employer
                incorporation or organization)                                                                                         Identification No.)
                    170 West Tasman Drive
                                                                                                                                          95134-1706
                      San Jose, California
             (Address of principal executive offices)                                                                                     (Zip Code)
                                                 Registrant’s telephone number, including area code: (408) 526-4000
                                                      Securities registered pursuant to Section 12(b) of the Act:

                        Title of each class:                               Trading Symbol(s)                  Name of each exchange on which registered
               Common Stock, par value $0.001 per share                          CSCO                              The Nasdaq Stock Market LLC

                                                   Securities registered pursuant to Section 12(g) of the Act: None
                                                               _____________________________________
  Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. ☒ Yes ☐ No
  Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. ☐ Yes ☒ No
  Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 during
  the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for
  the past 90 days. ☒ Yes ☐ No
  Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule 405 of
  Regulation S-T (§232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit such
  files). ☒ Yes ☐ No
  Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company, or an
  emerging growth company. See the definitions of “large accelerated filer,” “accelerated filer,” “smaller reporting company,” and “emerging growth company”
  in Rule 12b-2 of the Exchange Act.

  Large accelerated filer            ☒                                                                             Accelerated filer                     ☐
  Non-accelerated filer              ☐                                                                             Smaller reporting company             ☐
                                                                                                                   Emerging growth company               ☐
  If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or
  revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐
  Indicate by check mark whether the registrant has filed a report on and attestation to its management’s assessment of the effectiveness of its internal control
  over financial reporting under Section 404(b) of the Sarbanes-Oxley Act (15 U.S.C. 7262(b)) by the registered public accounting firm that prepared or issued
  its audit report. ☒
  Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Act). ☐ Yes ☒ No

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  Aggregate market value of registrant’s common stock held by non-affiliates of the registrant, based upon the closing price of a share of the registrant’s common
  stock on January 22, 2021 as reported by the Nasdaq Global Select Market on that date: $189.0 billion
  Number of shares of the registrant’s common stock outstanding as of September 3, 2021: 4,217,735,917
                                                             ____________________________________
                                                      DOCUMENTS INCORPORATED BY REFERENCE
  Portions of the registrant’s definitive Proxy Statement relating to the 2021 Annual Meeting of Stockholders, to be held on December 13, 2021, are incorporated
  by reference into Part III of this Annual Report on Form 10-K where indicated.




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  This Annual Report on Form 10-K, including the “Management’s Discussion and Analysis of Financial Condition and Results of
  Operations,” contains forward-looking statements regarding future events and our future results that are subject to the safe harbors
  created under the Securities Act of 1933, as amended (the “Securities Act”) and the Securities Exchange Act of 1934, as amended (the
  “Exchange Act”). All statements other than statements of historical facts are statements that could be deemed forward-looking
  statements. These statements are based on current expectations, estimates, forecasts, and projections about the industries in which we
  operate and the beliefs and assumptions of our management. Words such as “expects,” “anticipates,” “targets,” “goals,” “projects,”
  “intends,” “plans,” “believes,” "momentum," “seeks,” “estimates,” “continues,” “endeavors,” “strives,” “may,” variations of such
  words, and similar expressions are intended to identify such forward-looking statements. In addition, any statements that refer to
  projections of our future financial performance, our anticipated growth and trends in our businesses, future responses to and effects of
  the COVID-19 pandemic, and other characterizations of future events or circumstances are forward-looking statements. Readers are
  cautioned that these forward-looking statements are only predictions and are subject to risks, uncertainties, and assumptions that are
  difficult to predict, including those identified below, under “Item 1A. Risk Factors,” and elsewhere herein. Therefore, actual results
  may differ materially and adversely from those expressed in any forward-looking statements. We undertake no obligation to revise or
  update any forward-looking statements for any reason.

                                                                  PART I
  Item 1.           Business

  General
  Cisco designs and sells a broad range of technologies that power the Internet. We are integrating our platforms across networking,
  security, collaboration, applications and the cloud. These platforms are designed to help our customers manage more users, devices and
  things connecting to their networks. This will enable us to provide customers with a highly secure, intelligent platform for their digital
  business.
  We conduct our business globally and manage our business by geography. Our business is organized into the following three
  geographic segments: Americas; Europe, Middle East, and Africa (EMEA); and Asia Pacific, Japan, and China (APJC).
  Our products and technologies are grouped into the following categories: Infrastructure Platforms; Applications; Security and Other
  Products. In addition to our product offerings, we provide a broad range of service offerings, including technical support services and
  advanced services. Increasingly, we are delivering our technologies through software and services. Our customers include businesses of
  all sizes, public institutions, governments, and service providers, including large webscale providers. These customers often look to us
  as a strategic partner to help them use information technology (IT) to differentiate themselves and drive positive business outcomes.
  At our annual meeting of shareholders held on December 10, 2020, shareholders voted to approve changing our state of incorporation
  from California to Delaware. The reincorporation became effective on January 25, 2021. Our headquarters are in San Jose, California.
  The mailing address of our headquarters is 170 West Tasman Drive, San Jose, California 95134-1706, and our telephone number at that
  location is (408) 526-4000. Our website is www.cisco.com. Through a link on the Investor Relations section of our website, we make
  available the following filings as soon as reasonably practicable after they are electronically filed with or furnished to the Securities
  and Exchange Commission (SEC) at sec.gov: our Annual Report on Form 10-K, Quarterly Reports on Form 10-Q, Current Reports on
  Form 8-K, and any amendments to those reports or other information filed or furnished pursuant to Section 13(a) or 15(d) of the
  Exchange Act. All such filings are available free of charge. The information published on our website, or any other website referenced
  herein, is not incorporated into this report.
  Strategy and Priorities
  As our customers add billions of new connections to their enterprises, and as more applications move to a multicloud environment, the
  network becomes even more critical. Our customers are navigating change at an unprecedented pace and our mission is to shape the
  future of the Internet by inspiring new possibilities for them by helping transform their infrastructure, expand applications and
  analytics, address their security needs, and empower their teams. We believe that our customers are looking for outcomes that are data-
  driven and provide meaningful business value through automation, security, and analytics across private, hybrid, and multicloud
  environments.
  We are focusing on four customer priorities: Reimagine Applications, Power of Hybrid Work, Transforming Infrastructure and Secure
  the Enterprise.
  Reimagine Applications
  In our view, over the next several years, customers will be increasingly writing modern software applications that can run on any
  hybrid cloud, and will be adding billions of connections to their environments. Customers will need to be able to build
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  applications quickly, deploy them nearly anywhere, monitor experiences, and act in real time.
  We believe we are uniquely positioned to enable successful business outcomes for customers in hybrid and multicloud environments.
  In our view, networks are increasingly critical to business success and we believe our customers will benefit from the insights and
  intelligence that we are making accessible through our highly differentiated platforms.
  We are continuing our commitment to deliver full stack observability from the application to the infrastructure to give our customers
  greater insights that enable faster, better decision making. We are doing this through adding key elements to our portfolio, such as:
  infrastructure optimization with Intersight, network monitoring with technology from our acquisition of ThousandEyes, application
  performance monitoring with AppDynamics, as well as our security innovations.
  Power of Hybrid Work
  Our customers’ communications continue to evolve as we move to a digital, cloud-based world. As our customers’ people are an
  important competitive advantage to them, their teams need effective and simple ways to work better together and to interact with their
  customers to build better relationships and increase collaboration. As an example, we believe our collaboration portfolio, which
  includes our subscription-based Webex conferencing platform, is at the center of our customers’ strategy for enabling their teams to be
  more productive and secure.
  With the future of work being hybrid, we are focused on delivering highly secure collaboration experiences regardless of whether
  workers are physically at home or in the office. During fiscal 2021, we have added a significant number of new features, including
  digital signage, touchless calls, room capacity alerts, and environmental sensors to help enable a safer return to the office. We also
  extended our Webex suite of devices through our new desk camera and desk hub solutions.
  Transforming Infrastructure
  In an increasingly digital and connected world, our customers are looking to modernize and transform their infrastructure. Our strategy
  began with Software-Defined Access (SD-Access) technology, one of our leading enterprise architectures and continued with the
  launch of our Catalyst 9000 series of switches.
  Since the initial launch, we have continued to transform our enterprise access portfolio by bringing together several technologies to
  form the only integrated architecture with built-in simplicity, automation and security at the foundation. This architecture is designed to
  enable our customers to securely connect their users and devices to applications and data over any network, to applications and data, no
  matter where they are.
  We have introduced several innovations that extend our networking capabilities to wireless and enterprise routing products, including
  Software-Defined Wide Area Network (SD-WAN) and Internet of Things (IoT) edge platforms. Our SD-WAN solutions are designed
  to provide direct branch to cloud connectivity, enabling the workforce to access their software-as-a-service (SaaS) applications and
  workloads in an optimized and highly secure manner. We have continued to expand our SD-WAN offering, through our Cloud
  OnRamp integrations with several webscale providers to deliver predictable and highly secure application experiences.
  To further our innovation in this area, we are applying the latest technologies, such as machine learning and advanced analytics, to
  operate and enhance network capabilities. These network product offerings are designed to enable customers to detect cybersecurity
  threats, even in encrypted traffic. As such, we have created, in our view, the only network that is designed for security while
  maintaining privacy.
  Our customers are operating in multicloud environments with private, public and hybrid clouds. For the data center, our strategy is to
  deliver multicloud architectures that bring policy and operational consistency, regardless of where applications or data reside, by
  extending our Application Centric Infrastructure (ACI) and our hyperconverged offerings.
  In fiscal 2020, we announced details of our technology strategy for the Internet for the Future aimed at addressing the broad adoption
  of multicloud and application environments. We continue to make significant investments in the development of software, silicon and
  optics — which we believe are the building blocks for the Internet for the Future.
  We introduced Cisco Silicon One, a single unified silicon architecture, as well as the Cisco 8000 carrier-class router family built on
  Cisco Silicon One and our operating system, Cisco IOS XR7. We have also expanded our Cisco Silicon One platform from a routing
  focused solution to one which addresses the webscale switching market. We also launched a new routed optical networking solution
  integrating our routers and pluggable optics from our recent acquisition of Acacia, which further helps to deliver cost savings to our
  customers.
  Secure the Enterprise
  With the rapid growth in modern applications, more distributed work environments, and increasing cyber-attacks, we believe every
  organization requires new or enhanced security architectures. Our security strategy is focused on delivering a simple and
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  effective cyber-security architecture combining network, cloud and endpoint-based solutions that recognizes the critical importance of
  data privacy.
  Our comprehensive security portfolio offers simplified protection for any workload on any cloud while minimizing the attack surface
  and automating security policies across an organization’s hybrid cloud footprint. This extends to our secure access service edge (SASE)
  framework and Zero Trust architecture, where we have developed a cloud-delivered stack across Umbrella, a secure Internet gateway,
  Meraki, SD-WAN, and Viptela. We are also delivering unified detection and response capabilities built on Cisco SecureX, our new
  cloud-native platform, which is a built-in platform that connects our Cisco Secure portfolio and our customers’ infrastructure.
  Our strategy is to help our customers connect, secure, and automate in order to accelerate their digital agility in a cloud-first world. To
  execute on our strategy and address our customer priorities, we are focusing on the following six strategic pillars:
      •    Secure, Agile Networks — Build networking solutions with built-in simplicity, security, agility and automation that can be
           consumed as-a-service.
      •    Optimized Application Experiences — Enabling greater speed, agility and scale of cloud-native applications.
      •    Hybrid Work — Deliver highly secure access, a safer workplace and collaboration experiences for the hybrid workforce.
      •    Internet for the Future — Transform connectivity by efficiently meeting the ever-growing demand for low-latency and higher
           speeds.
      •    End-to-End Security — Build simple, integrated, and high efficacy end-to-end security solutions, delivered on-premise or in
           the cloud.
      •    Capabilities at the Edge — Develop new capabilities for a distributed world while enhancing the developer experience and
           extending enterprise and carrier networks.
  We are also accelerating our efforts to enable the delivery of network functionality as a service as our customers increasingly want to
  consume our technologies in flexible ways. We have made the initial step with our new as-a-service portfolio, Cisco Plus, and our first
  offer, Cisco Plus hybrid cloud, which combines our data center compute, networking and storage portfolio. Cisco Plus includes our
  plans to deliver networking-as-a-service, which is designed to unify networking, security and observability across access, wide area
  network (WAN), and cloud domains.
  Transforming our Business Model
  We are transforming our offerings to meet the evolving needs of our customers. Historically, our various networking technology
  products have aligned with their respective product categories. However, increasingly our offerings are crossing multiple product
  categories. As our core networking offerings evolve, we expect we will add more common software features across our core
  networking platforms. We are increasing the amount of software offerings that we provide and the proportion of subscription software
  offerings. We have various software offerings that fall into the broad categories of subscription arrangements, including SaaS and term
  licenses, and perpetual licenses.
  As part of the transformation of our business, we continued to make strides during fiscal 2021 to develop and sell more software and
  subscription-based offerings. We are also focused on the entire customer lifecycle to drive expansion and renewals. We will continue to
  invest in network-as-a-service offerings to provide our customers with flexibility in how they want to utilize our technologies.
  For a discussion of the risks associated with our strategy, see “Item 1A. Risk Factors,” including the risk factor entitled “We depend
  upon the development of new products and services, and enhancements to existing products and services, and if we fail to predict and
  respond to emerging technological trends and customers’ changing needs, our operating results and market share may suffer.” For
  information regarding sales of our major products and services, see Note 19 to the Consolidated Financial Statements.
  Products and Services
  Our products and services are grouped into the following categories:
  Infrastructure Platforms
  Infrastructure Platforms consist of our core networking technologies of switching, routing, wireless, and data center products that are
  designed to work together to deliver networking capabilities and transport and/or store data. These technologies consist of both
  hardware and software offerings that help our customers build networks, automate, orchestrate, integrate, and digitize data. We believe
  it is critical for us to continue to deliver continuous value to our customers. We continued to make progress in shifting more of our
  business to software and subscriptions across our core networking portfolio, and in expanding our software



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  offerings. Our objective is to continue moving to cloud-managed solutions across our enterprise networking portfolio. We started with
  our Nexus 9000 series of switches for the data center, which along with ACI, provide enhancements in security, programmability and
  performance while lowering operating costs. Our Cisco Catalyst 9000 series of switches were developed for security, mobility, IoT, and
  the cloud. These switches formed the foundation for our leading enterprise architectures, built on the principles of Cisco DNA. We
  continued to expand on this technology by extending SD-Access and Cisco DNA Center across our enterprise networking portfolio and
  by extending ACI to the public and private cloud. In addition, we now have a unified operating system and policy management
  platform for our enterprise networking portfolio to drive simplicity and consistency across our customers’ networks.
  Our Switching portfolio encompasses campus switching as well as data center switching offerings. Our campus switching offerings
  provide the foundation for converged data, voice, video, and IoT services. These switches offer enhanced security and reliability and
  are designed to scale efficiently as our customers grow. Within campus switching are our Catalyst 9000 series of switches that include
  hardware with embedded software, along with a software subscription referred to as Cisco DNA. Cisco DNA provides automation,
  analytics and security features and can be centrally monitored, managed, and configured. With the expansion of WiFi-6, we have
  expanded our portfolio to include multigigabit technology in our switches in order to manage higher bandwidth and manage network
  speed. Our data center switching offerings provide the foundation for mission critical data centers with high availability, scalability, and
  security across traditional data centers and private and public cloud data centers. We continue to add deeper and broader visibility and
  analytics across our networks and applications, enabling us to deliver better experiences for our customers. We are also expanding our
  Nexus 9000 portfolio with 400G speed capability in order to support growing bandwidth demands for our customers.
  Our Routing portfolio interconnects public and private wireline and mobile networks, delivering highly secure and reliable connectivity
  to campus, data center and branch networks. Our routing solutions are designed to meet the scale, reliability, and security needs of our
  customers. We introduced the principles of Cisco DNA into our routing portfolio by integrating SD-WAN into our offerings. We
  recently launched the Cisco 8000 portfolio, a family of high density, low power next generation routing platforms focused on our
  customers’ evolution to support 100G and 400G connectivity speeds.
  Our Wireless portfolio provides indoor and outdoor wireless coverage designed for seamless roaming use of voice, video, and data
  applications. These products include wireless access points that are standalone, controller appliance-based, switch-converged, and
  Meraki cloud-managed offerings. Our Cisco DNA and Cisco DNA Spaces location-based services provide network assurance and
  automation for our customers’ wireless networks. Our Catalyst and Meraki WiFi-6 based access points are designed for high-density
  public or private environments to improve speed, performance, and capacity for wireless networking in both homes and enterprises.
  Our Data Center portfolio incorporates various technologies and solutions including the Cisco Unified Computing System, HyperFlex,
  our hyperconverged offering, and software management capabilities, which combine computing, networking, and storage infrastructure
  management and virtualization to deliver agility, simplicity, and scale. These products are designed to extend the power and simplicity
  of unified computing for data-intensive workloads, applications at the edge of the network, and the next generation of distributed
  application architectures.
  Applications
  The Applications product category consists primarily of software-related offerings that utilize the core networking and data center
  platforms to provide their functions. Our Applications portfolio includes our collaboration products as well as our Applications
  Monitoring and IoT software offerings. Our offerings within the Applications portfolio are primarily delivered as software-as-a-service,
  but also includes perpetual software licenses as well as hardware offerings.
  Our Collaboration strategy is to power hybrid work by reimagining employee and customer experiences to be more inclusive and
  engaging by providing technology that enables distributed teams to collaborate effortlessly. We offer end-to-end collaboration solutions
  that can be delivered from the cloud, on-premise or within hybrid cloud environments allowing customers to transition their
  collaboration solutions from on-premise to the cloud. These Webex solutions can be purchased on a stand-alone basis or as part of the
  Webex Suite that integrates voice, video, messaging, calling, polling, and event solutions enabled across a wide range of devices and
  endpoints such as mobile phones, tablets, desktop and laptop computers, video units, and collaboration appliances. Artificial
  intelligence (AI) and machine learning capabilities are embedded across the Webex portfolio, providing collaboration experiences that
  integrate people insights, relationship and audio intelligence to help improve productivity.
  Our Webex Cloud Contact Center solution, combined with the products from our recent IMImobile acquisition, creates a customer
  experience as-a-service offering (CXaaS), which leverages technology, including AI, experience management, collaboration tools,
  omnichannel capabilities, and programmability, for customization.



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  Our Webex devices portfolio has also been expanded to include comprehensive remote work devices with purpose-built software that
  embeds AI to help provide smart hybrid workplace experiences, that are both touch free and personalized, assisting with safer returns
  to the office.
  Our analytics solutions seek to help businesses deliver consistently high-quality digital experiences by connecting end-user experience
  and application performance to business outcomes. Our analytics applications monitor, correlate, analyze, and act on application
  performance and business performance data in real time. This automated, cross-stack intelligence helps to enable developers, IT
  operations, and business owners to make mission critical and strategic improvements.
  We continue to invest in IoT as we expect the number of connected IoT devices to continue to grow. Our Cisco IoT Control Center
  helps to enable enterprises to automate the lifecycle of connected devices, including tools designed to automatically and remotely
  onboard, manage, and monetize their IoT devices.
  Security
  The Security product category primarily includes our network security, cloud and email security, identity and access management,
  advanced threat protection, and unified threat management products. Leveraging the built-in Cisco SecureX platform, we provide
  interoperability with customers’ security infrastructure, including third-party technologies. This results in unified visibility, automation
  and stronger defenses.
  Security continues to be a leading priority for our customers, regardless of size or industry. At the core of our strategy is addressing
  their number one concern: the complexity of security. We have built SecureX into our Security products to help our customers connect
  our integrated security portfolio and existing security infrastructure to provide simplicity, visibility, and efficiency. We have also
  delivered Zero Trust for the workforce, workplace and workloads to help address the security challenges associated with the transition
  to cloud and remote work.
  In fiscal 2021, we continued to invest and innovate in solutions that enable an increasingly hybrid workforce, support our customers’
  transition to the cloud and help mitigate attackers’ evolving threats and methods. We enhanced our offerings in SASE by expanding our
  SASE architecture while simplifying the offering for customers, combining network and security functionality in a single, cloud-native
  service to help secure access wherever users and applications reside. We continued to enhance our comprehensive zero trust
  framework, introducing passwordless authentication by Duo Security.
  Other Products
  Our Other Products category primarily consists of our emerging technologies products.
  Services
  In addition to our product offerings, we provide a broad range of service and support options for our customers. Our overall service and
  support offerings are combined into one organization, Customer Experience, that is responsible for the end-to-end customer experience.
  Our support and maintenance services help our customers ensure their products operate efficiently, remain available, and benefit from
  the most up-to-date system and application software. These services help customers protect their network investments, manage risk,
  and minimize downtime for systems running mission-critical applications. A key example is Cisco Smart Services, which leverages the
  intelligence from the installed base of our products and customer connections to protect and optimize network investments for our
  customers and partners. We have expanded these offerings from traditional hardware support to include software, solutions, and
  premium support.
  We also provide comprehensive advisory services that are focused on responsive, preventive, and consultative support of our
  technologies for specific networking needs. We are investing in and expanding advisory services in the areas of software, cloud,
  security, and analytics, which reflects our strategy of selling customer outcomes. We are focused on three priorities: utilizing
  technology advisory services to drive higher product and services; assessment and migration services providing the tools, expertise and
  methodologies to enable our customers to migrate to new technology platforms; and providing optimization services aligned with
  customers’ business expectations.



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  Customers and Markets
  Many factors influence the IT, collaboration, and networking requirements of our customers. These include the size of the organization,
  number and types of technology systems, geographic location, and business applications deployed throughout the customer’s network.
  Our customer base is not limited to any specific industry, geography, or market segment. In each of the past three fiscal years, no single
  customer accounted for 10% or more of revenue. Our customers primarily operate in the following markets: enterprise, commercial,
  service provider, and public sector.
  Enterprise
  Enterprise businesses are large regional, national, or global organizations with multiple locations or branch offices and typically
  employ 1,000 or more employees. Many enterprise businesses have unique IT, collaboration, and networking needs within a
  multivendor environment. We offer service and support packages, financing, and managed network services, primarily through our
  service provider partners. We sell these products through a network of third-party application and technology vendors and channel
  partners, as well as selling directly to these customers.
  Commercial
  Within the commercial market, we define large businesses as organizations which typically have fewer than 1,000 employees. We sell
  to the larger, or midmarket, customers within the commercial market through a combination of our direct sales force and channel
  partners. These customers typically require the latest advanced technologies that our enterprise customers demand, but with less
  complexity. Small businesses, or organizations with fewer than 100 employees, require information technologies and communications
  products that are easy to configure, install, and maintain. We sell to these smaller organizations within the commercial market primarily
  through channel partners.
  Service Providers
  Service providers offer data, voice, video, and mobile/wireless services to businesses, governments, utilities, and consumers
  worldwide. The service provider market includes regional, national, and international wireline carriers, webscale operators as well as
  Internet, cable, and wireless providers. We also include media, broadcast, and content providers within our service provider market, as
  the lines in the telecommunications industry continue to blur between traditional network-based, content-based and application-based
  services. Service providers use a variety of our products and services for their own networks. In addition, many service providers use
  Cisco data center, virtualization, and collaboration technologies to offer managed or Internet-based services to their business
  customers. Compared with other customers, service providers are more likely to require network design, deployment, and support
  services because of the greater scale and higher complexity of their networks, whose requirements are addressed, we believe, by our
  architectural approach.
  Public Sector
  The public sector market includes federal, state and local governments, as well as educational institution customers. Many public sector
  customers have unique IT, collaboration, and networking needs within a multi-vendor environment. We sell to public sector customers
  through a network of third-party application and technology vendors, channel partners, as well as through direct sales.
  Sales Overview
  As of the end of fiscal 2021, our worldwide sales and marketing functions consisted of approximately 25,000 employees, including
  managers, sales representatives, and technical support personnel. We have field sales offices in approximately 90 countries, and we sell
  our products and services both directly and through a variety of channels with support from our salesforce. A substantial portion of our
  products and services is sold through channel partners, and the remainder is sold through direct sales. Channel partners include systems
  integrators, service providers, other resellers, and distributors.
  Systems integrators and service providers typically sell directly to end users and often provide system installation, technical support,
  professional services, and other support services in addition to network equipment sales. Systems integrators also typically integrate
  our products into an overall solution. Some service providers are also systems integrators.
  Distributors may hold inventory and sell to systems integrators, service providers, and other resellers. We refer to sales through
  distributors as our two-tier system of sales to the end customer. Revenue from two-tier distributors is recognized based on a sell-in
  method. These distributors may be given business terms that allow them to return a limited portion of inventory, receive credits for
  changes in selling prices, receive certain rebates, and participate in various cooperative marketing programs.
  For information regarding risks related to our sales channels, see “Item 1A. Risk Factors,” including the risk factors entitled
  “Disruption of or changes in our distribution model could harm our sales and margins” and “Inventory management relating to our
  sales to our two-tier distribution channel is complex, and excess inventory may harm our gross margins.”
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  For information regarding risks relating to our international operations, see “Item 1A. Risk Factors,” including the risk factors entitled
  “Our operating results may be adversely affected by unfavorable economic and market conditions and the uncertain geopolitical
  environment;” “Entrance into new or developing markets exposes us to additional competition and will likely increase demands on our
  service and support operations;” “Due to the global nature of our operations, political or economic changes or other factors in a specific
  country or region could harm our operating results and financial condition;” “We are exposed to fluctuations in currency exchange
  rates that could negatively impact our financial results and cash flows;” and “Cyber-attacks, data breaches or malware may disrupt our
  operations, harm our operating results and financial condition, and damage our reputation or otherwise materially harm our business;
  and cyber-attacks or data breaches on our customers’ networks, or in cloud-based services provided by or enabled by us, could result in
  claims of liability against us, damage our reputation or otherwise materially harm our business,” among others.
  Our service offerings complement our products through a range of consulting, technical, project, quality, and software maintenance
  services, including 24-hour online and telephone support through technical assistance centers.
  Financing Arrangements
  We provide financing arrangements for certain qualified customers to build, maintain, and upgrade their networks. We believe
  customer financing is a competitive advantage in obtaining business, particularly for those customers involved in significant
  infrastructure projects. Our financing arrangements include the following:

  Leases:
   • Sales-type
   • Direct financing
   • Operating
  Loans
  Financed service contracts
  Channels financing arrangements
  End-user financing arrangements

  Acquisitions, Investments, and Alliances
  The markets in which we compete require a wide variety of technologies, products, and capabilities. Our growth strategy is based on
  the components of innovation, which we sometimes refer to as “build, buy, partner, invest, and co-develop.” This five-prong approach
  to how we innovate can be summarized as follows:

  Build                Working within Cisco, with the developer community, or with customers
  Buy                  Acquiring or divesting, depending on goals
  Partner              Strategically partnering to further build out the business
  Invest               Making investments in areas where technology is in its infancy or where there is no dominant technology
                       Developing new solutions with multi-party teams that may include customers, channel partners, startups,
  Co-develop           independent software vendors, and academics

  Acquisitions
  We have acquired many companies, and we expect to make future acquisitions. Mergers and acquisitions of high-technology
  companies are inherently risky, especially if the acquired company has yet to generate revenue. No assurance can be given that our
  previous or future acquisitions will be successful or will not materially adversely affect our financial condition or operating results.
  Prior acquisitions have resulted in a wide range of outcomes, from successful introduction of new products and technologies to an
  inability to do so. The risks associated with acquisitions are more fully discussed in “Item 1A. Risk Factors,” including the risk factor
  entitled “We have made and expect to continue to make acquisitions that could disrupt our operations and harm our operating results.”
  Investments in Privately Held Companies
  We make investments in privately held companies that develop technology or provide services that are complementary to our products
  or that provide strategic value. The risks associated with these investments are more fully discussed in “Item 1A. Risk Factors,”
  including the risk factor entitled “We are exposed to fluctuations in the market values of our portfolio investments and in interest rates;
  impairment of our investments could harm our earnings.”




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  Strategic Alliances
  We pursue strategic alliances with other companies in areas where collaboration can produce industry advancement and accelerate new
  markets. The objectives and goals of a strategic alliance can include one or more of the following: technology exchange, product
  development, joint sales and marketing, or new market creation. Companies with which we have added or expanded strategic alliances
  during fiscal 2021 and in recent years include Apple Inc., Equinix Inc., Google LLC, International Business Machines Corporation,
  Microsoft Corporation, Samsung Electronics Co., Ltd., and Amazon Web Services LLC, among others.
  Companies with which we have strategic alliances in some areas may be competitors in other areas, and in our view this trend may
  increase. The risks associated with our strategic alliances are more fully discussed in “Item 1A. Risk Factors,” including the risk factor
  entitled “If we do not successfully manage our strategic alliances, we may not realize the expected benefits from such alliances and we
  may experience increased competition or delays in product development.”
  Competition
  We compete in the networking and communications equipment markets, providing products and services designed to transport, and
  help secure data, voice, and video traffic across cloud, private and public networks and the Internet. These market factors represent a
  competitive threat to us. We compete with numerous vendors in each product category. The overall number of our competitors
  providing niche product solutions may increase. Also, the identity and composition of competitors may change as we increase our
  activity in newer product areas, and in key priority and growth areas. As we continue to expand globally, we may see new competition
  in different geographic regions. In particular, we have experienced price-focused competition from competitors in Asia, especially from
  China, and we anticipate this will continue.
  Our competitors (in each case relative to only some of our products or services) include: Amazon Web Services LLC; Arista Networks,
  Inc.; Broadcom Inc.; CommScope Holding Company, Inc.; Check Point Software Technologies Ltd.; CrowdStrike Holdings, Inc.; Dell
  Technologies Inc.; Dynatrace Inc.; F5 Networks, Inc.; FireEye, Inc.; Fortinet, Inc.; Hewlett-Packard Enterprise Company; Huawei
  Technologies Co., Ltd.; Juniper Networks, Inc.; Lenovo Group Limited; LogMeIn, Inc.; Microsoft Corporation; New Relic, Inc.; Nokia
  Corporation; Nutanix, Inc.; Palo Alto Networks, Inc.; RingCentral, Inc.; Ubiquiti Inc.; VMware, Inc.; Zoom Video Communications,
  Inc.; and Zscaler, Inc.; among others.
  Some of our competitors compete across many of our product lines, while others are primarily focused in a specific product area.
  Barriers to entry are relatively low, and new ventures to create products that do or could compete with our products are regularly
  formed. In addition, some of our competitors may have greater resources, including technical and engineering resources, than we do.
  As we expand into new markets, we will face competition not only from our existing competitors but also from other competitors,
  including existing companies with strong technological, marketing, and sales positions in those markets. We also sometimes face
  competition from resellers and distributors of our products. Companies with which we have strategic alliances in some areas may be
  competitors in other areas, and this trend may increase. For example, the enterprise data center is undergoing a fundamental
  transformation arising from the convergence of technologies, including computing, networking, storage, and software, that previously
  were segregated. Due to several factors, including the availability of highly scalable and general purpose microprocessors, application-
  specific integrated circuits (ASICs) offering advanced services, standards-based protocols, cloud computing and virtualization, the
  convergence of technologies within the enterprise data center is spanning multiple, previously independent, technology segments. Also,
  some of our current and potential competitors for enterprise data center business have made acquisitions, or announced new strategic
  alliances, designed to position them to provide end-to-end technology solutions for the enterprise data center. As a result of all of these
  developments, we face greater competition in the development and sale of enterprise data center technologies, including competition
  from entities that are among our long-term strategic alliance partners. Companies that are strategic alliance partners in some areas of
  our business may acquire or form alliances with our competitors, thereby reducing their business with us.
  The principal competitive factors in the markets in which we presently compete and may compete in the future include the ability to
  sell successful business outcomes; the ability to provide a broad range of networking and communications products and services;
  product performance; price; the ability to introduce new products, including providing continuous new customer value and products
  with price-performance advantages; the ability to reduce production costs; the ability to provide value-added features such as security,
  reliability, and investment protection; conformance to standards; market presence; the ability to provide financing; and disruptive
  technology shifts and new business models.
  We also face competition from customers to which we license or supply technology and suppliers from which we transfer technology.
  The inherent nature of networking requires interoperability. As such, we must cooperate and, at the same time, compete with many
  companies. Any inability to effectively manage these complicated relationships with customers, suppliers, and strategic alliance
  partners could have a material adverse effect on our business, operating results, and financial condition and accordingly affect our
  chances of success.

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  Research and Development
  We regularly introduce new products and features to address the requirements of our markets. We allocate our research and
  development budget among our product categories, which consist of Infrastructure Platforms, Applications, Security, and Other
  Product technologies. Our research and development expenditures are applied generally to all product areas, with specific areas of
  focus being identified from time to time. Recent areas of increased focus include our networking technologies (which encompasses
  switching, routing, and wireless technologies within Infrastructure Platforms), conferencing, security, and analytics products. Our
  expenditures for research and development costs were expensed as incurred.
  The industry in which we compete is subject to rapid technological developments, evolving standards, changes in customer
  requirements, and new product introductions and enhancements. As a result, our success depends, in part, on our ability, on a cost-
  effective and timely basis, to continue to enhance our existing products and to develop and introduce new products that improve
  performance and reduce total cost of ownership. To achieve these objectives, our management and engineering personnel work with
  customers to identify and respond to customer needs, as well as with other innovators of Internet networking products, including
  universities, laboratories, and corporations. We also expect to continue to make acquisitions and strategic investments, where
  appropriate, to provide us with access to new technologies. Nonetheless, there can be no assurance that we will be able to successfully
  develop products to address new customer requirements and technological changes or that those products will achieve market
  acceptance.
  Manufacturing
  We rely on contract manufacturers for our manufacturing needs. We presently use a variety of independent third-party companies to
  provide services related to printed-circuit board assembly, in-circuit test, product repair, and product assembly. Proprietary software in
  electronically programmable memory chips is used to configure products that meet customer requirements and to maintain quality
  control and security. The manufacturing process enables us to configure the hardware and software in unique combinations to meet a
  wide variety of individual customer requirements. The manufacturing process also uses automated testing equipment and burn-in
  procedures, as well as comprehensive inspection, testing, and statistical process controls, which are designed to help ensure the quality
  and reliability of our products. The manufacturing processes and procedures are generally certified to International Organization for
  Standardization 9001 standards.
  Our arrangements with contract manufacturers generally provide for quality, cost, and delivery requirements, as well as manufacturing
  process terms, such as continuity of supply; inventory management; flexibility regarding capacity, quality, and cost management;
  oversight of manufacturing; and conditions for use of our intellectual property. We have not entered into any significant long-term
  contracts with any manufacturing service provider. We generally have the option to renew arrangements on an as-needed basis. These
  arrangements generally do not commit us to purchase any particular amount or any quantities beyond amounts covered by orders or
  forecasts that we submit covering discrete periods of time.
  Patents, Intellectual Property, and Licensing
  We seek to establish and maintain our proprietary rights in our technology and products through the use of patents, copyrights,
  trademarks, and trade secret laws. We have a program to file applications for and obtain patents, copyrights, and trademarks in the
  United States and in selected foreign countries where we believe filing for such protection is appropriate. We also seek to maintain our
  trade secrets and confidential information by nondisclosure policies and through the use of appropriate confidentiality agreements. We
  have obtained a substantial number of patents and trademarks in the United States and in other countries. There can be no assurance,
  however, that the rights obtained can be successfully enforced against infringing products in every jurisdiction. Although we believe
  the protection afforded by our patents, copyrights, trademarks, and trade secrets has value, the rapidly changing technology in the
  networking industry and uncertainties in the legal process make our future success dependent primarily on the innovative skills,
  technological expertise, and management abilities of our employees rather than on the protection afforded by patent, copyright,
  trademark, and trade secret laws.
  Many of our products are designed to include software or other intellectual property licensed from third parties. While it may be
  necessary in the future to seek or renew licenses relating to various aspects of our products, we believe, based upon past experience and
  standard industry practice, that such licenses generally could be obtained on commercially reasonable terms. Nonetheless, there can be
  no assurance that the necessary licenses would be available on acceptable terms, if at all. Our inability to obtain certain licenses or
  other rights or to obtain such licenses or rights on favorable terms, or the need to engage in litigation regarding these matters, could
  have a material adverse effect on our business, operating results, and financial condition. Moreover, inclusion in our products of
  software or other intellectual property licensed from third parties on a nonexclusive basis can limit our ability to protect our proprietary
  rights in our products.


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  The industry in which we compete is characterized by rapidly changing technology, a large number of patents, and frequent claims and
  related litigation regarding patent and other intellectual property rights. There can be no assurance that our patents and other
  proprietary rights will not be challenged, invalidated, or circumvented; that others will not assert intellectual property rights to
  technologies that are relevant to us; or that our rights will give us a competitive advantage. In addition, the laws of some foreign
  countries may not protect our proprietary rights to the same extent as the laws of the United States. The risks associated with patents
  and intellectual property are more fully discussed in “Item 1A. Risk Factors,” including the risk factors entitled “Our proprietary rights
  may prove difficult to enforce,” “We may be found to infringe on intellectual property rights of others,” and “We rely on the
  availability of third-party licenses.”
  Environmental Sustainability
  Sustainability and protecting the environment are both top priorities for Cisco. We have set long-term goals to address the
  environmental impacts from our products and business operations.
  We strive to reduce the impacts of our operations and supply chain, help our customers decrease greenhouse gas (GHG) emissions, and
  support our communities experiencing direct effects of a changing climate by, among others:
      •    Continuing to invest in renewable energy, including investments in solar and wind energy;
      •    Designing our products and packaging for reuse, repair, recycling, and resource efficiency and managing our equipment for
           multiple lifecycles;
      •    Enhancing our Webex and other remote collaboration tools;
      •    Investing in projects to improve the efficiency of our offices, labs, and data centers worldwide;
      •    Working with our component suppliers, manufacturing partners, and logistic providers to reduce emissions and set targets for
           absolute GHG emissions reductions;
      •    Helping our employees to engage with events and opportunities to raise awareness and create a sense of community around
           sustainability; and
      •    Providing critical connectivity in the aftermath of natural disasters.
  Talent and Culture
  At Cisco, we value our people, our technology, and changing the world for the better with a focus on creating a more inclusive future.
  Our goal is to attract, retain, and develop talent in order to help our customers connect, secure and automate to accelerate their digital
  agility in a cloud-first world. Our relationship with our employees is one of mutual benefit, our employees bring talent and ingenuity to
  everything we do. In turn, we provide employees meaningful careers and development opportunities. As a testament to this, Cisco has
  been named as the number one place to work on the “World’s Best Workplaces List” by Great Places to Work and Fortune Magazine
  for 2019 and 2020.
  As of July 31, 2021, we had approximately 79,500 full-time employees and they are categorized as follows:




  We have a responsibility to support our employees through times of change and enable them to be their best. We do this by fostering a
  Conscious Culture. Living a Conscious Culture requires us to act with dignity, respect, fairness, and equity in each of our interactions
  with one another, building a culture that allows us to become a catalyst for social change. By intentionally creating and cultivating an
  inclusive work environment where employees can thrive, we believe Cisco is helping to bring about a better world.


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  Inclusion & Diversity
  Inclusion and diversity are core components in our Conscious Culture. Inclusivity is our strength and our priority. We want every
  employee to feel valued, respected, and heard. We are prioritizing inclusion and diversity across the company, recognizing that
  connecting people of all experiences and backgrounds allows us to innovate and collaborate. In order to continue accelerating diversity
  and finding extraordinary talent, we have designed a framework that includes: introducing new tools and technologies to help
  accurately map the talent market, creating job roles that attract highly qualified diverse candidates, and expanding the diversity within
  our interview panels.
  We currently have a total of 29 Inclusive Communities comprised of 11 Employee Resource Organizations and 18 Employee Networks
  supporting full-spectrum diversity globally, including gender, ethnicity, race, orientation, age, ability, veteran status, religion, culture,
  background, as well as varied experiences, strengths, and perspectives. These thriving communities continue to be a source of strength
  and support for employees, and they help to foster a more conscious culture by providing opportunities for proximity and learning.
  Cisco has signed the CEO Action for Diversity and Inclusion Pledge. The CEO Action for Diversity & Inclusion Pledge is a CEO-
  driven business commitment to drive measurable action and meaningful change in advancing diversity, equity and inclusion in the
  workplace. We are delivering on this pledge by accelerating full-spectrum diversity — including gender, age, race, ethnicity,
  orientation, ability, nationality, religion, veteran status, background, culture, experience, strengths and perspectives. At Cisco, it starts
  at the top: 46% of our Executive Leadership Team (ELT) are women and 54% are diverse in terms of gender or ethnicity.
  We publish certain gender diversity and ethnic diversity workforce data annually. Across our global company, we have driven broad
  improvements in overall workforce diversity. Based on our annual fiscal 2020 data, our global employee base was 27% female and
  73% male, and our U.S. employee base was comprised of the following ethnicities: 51.8% White/Caucasian, 36.5% Asian, 5.8%
  Hispanic/Latino, 4.1% African American/Black, 1.4% two or more races (Not Hispanic or Latino), and 0.4% additional groups
  (including American Indian, Alaska Native, Native Hawaiian or Other Pacific Islander).
  With respect to social justice, Cisco is taking a stand and partnering across the globe to multiply our positive impact throughout our
  communities. In September 2020, we announced our Social Justice Beliefs & Actions, which is our blueprint for how Cisco will show
  up when we see inequality and injustice in the world.
  This work is part of a plan for Cisco to drive transformational, generational impact for vulnerable communities. Our Inclusive Future
  Action Office helps drive progress and excellence in our strategic actions in this area, which are designed to address the broader
  ecosystem including our employees, partners, customers and suppliers.
  At present, our Inclusive Future Action Office is focused on driving impacts through our strategic actions in the African
  American/Black community, but these actions will be the blueprint for how we help address inequity in communities around the world
  in the future. We are creating actions that can be replicated and scaled and are designed to cover the full spectrum of diversity, inclusive
  of gender, generation, race, ethnicity, orientation, ability, nationality and background - the foundation of our Conscious Culture.
  Compensation and Benefits
  Our total compensation philosophy is designed to attract, reward & retain talent. It provides market competitive, performance-based
  compensation aligned with each employee’s contribution and impact to the value we drive to our customers, partners and stockholders.
  We reward and recognize our employees for effecting innovation, collaboration, profitability, and growth within our geographies,
  product lines, and functions.
  Cisco has always been committed to compensating our employees fairly and equitably. We are a founding signer of the White House
  Equal Pay Pledge and the Parity.org pledge, and we are leading the charge to make fair pay a reality for all employees through the
  Employers for Pay Equity Consortium. We have also introduced an innovative and inclusive framework that provides us powerful
  analytics to evaluate our complex compensation system. For example, by using these powerful analytics, we are able to test for pay
  parity on a regular basis, and when gaps are found, we strive to correct them.
  Health & Well-being
  We have an ongoing commitment to focus on the health, safety, and well-being of our employees. We provide our employees and their
  families high-quality, flexible and convenient benefits and resources for their physical, mental, and financial well-being. Since the start
  of the COVID-19 pandemic, employees have continually had to focus on how to balance careers and personal lives, all while managing
  their own physical, emotional, and financial health. During fiscal 2021, most of our global workforce was working from home. In
  addition, we are moving towards a hybrid work model, giving our employees the flexibility to work offsite or onsite Cisco locations.
  We developed a COVID-19 response and recovery strategy with a focus on both physical and mental health, recognizing the need to
  create an environment where employees can speak openly about

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  mental health. In fiscal 2021, we continued to offer employees “A Day for Me,” which were paid days off that allowed for each
  individual to recharge and rest.
  Employee Development
  We believe in open-ended, self-directed learning, understanding that each individual knows what skills and resources they need to
  succeed. We encourage employees to explore job roles outside of their daily work and encourage everyone to harness their strengths
  and improve the way we all work. Employees choose their own path and we support that choice by providing them tools and resources
  to help them achieve their career goals.
  Employee Engagement
  We believe that strong communication is key in our Conscious Culture. This communication includes regular, virtual all hands, which
  we refer to as a “Cisco Check-In,” and weekly team leader check-ins, which we refer to as a “Team Space Check-In.” Our regular
  virtual Cisco Check-Ins were initially launched with a focus on sharing medical information at the start of the COVID-19 pandemic.
  The Cisco Check-Ins have since evolved into a forum where we can discuss much more with our employees, from business updates to
  social justice to physical and mental health.
  In fiscal 2021, we have seen high level of employee engagement. For example, there were approximately 2 million Team Space Check-
  Ins by our employees in fiscal 2021, reflecting 85% of employees submitting Team Space Check-Ins. Employees also participate in our
  global Engagement Pulse Survey and the Real Deal Survey. These surveys allow our employees to provide confidential feedback on
  our culture, company strategy and trust in their direct leaders.
  CSR Impact Report
  Additional information regarding Cisco's activities related to its people and Corporate Social Responsibility (CSR), as well as our
  workforce diversity data, can be found in our CSR Impact Report and related supplemental information, which are located on our ESG
  Reporting Hub at https://www.cisco.com/c/m/en_us/about/csr/esg-hub.html. The contents of our CSR Impact Report and related
  supplemental information are not incorporated by reference into this Annual Report on Form 10-K or in any other report or document
  we file with the SEC.
  Information about our Executive Officers
  The following table shows the name, age, and position as of August 31, 2021 of each of our executive officers:
               Name                 Age                                       Position with the Company
  Charles H. Robbins                 55     Chair and Chief Executive Officer
  Gerri Elliott                      65     Executive Vice President and Chief Customer and Partner Officer
  R. Scott Herren                    59     Executive Vice President and Chief Financial Officer
  Maria Martinez                     63     Executive Vice President and Chief Operating Officer
  Deborah L. Stahlkopf               51     Executive Vice President and Chief Legal Officer

  Mr. Robbins serves as our Chief Executive Officer since July 2015, as a member of the Board of Directors since May 2015, and as
  Chair of the Board since December 2017. Mr. Robbins joined Cisco in December 1997, from which time until March 2002 he held a
  number of managerial positions within Cisco’s sales organization. Mr. Robbins was promoted to Vice President in March 2002,
  assuming leadership of Cisco’s U.S. channel sales organization. Additionally, in July 2005, Mr. Robbins assumed leadership of Cisco’s
  Canada channel sales organization. In December 2007, Mr. Robbins was promoted to Senior Vice President, U.S. Commercial, and, in
  August 2009 he was appointed Senior Vice President, U.S. Enterprise, Commercial and Canada. In July 2011, Mr. Robbins was named
  Senior Vice President, Americas. In October 2012, Mr. Robbins was promoted to Senior Vice President, Worldwide Field Operations,
  in which position he served until assuming the role of Chief Executive Officer. Mr. Robbins is also a member of the board of directors
  of BlackRock, Inc (since 2017).
  Ms. Elliott joined Cisco in April 2018 and serves as our Executive Vice President and Chief Customer and Partner Officer. Ms. Elliott
  is a former Executive Vice President of Juniper Networks, Inc. (“Juniper”), where she served as Executive Vice President and Chief
  Customer Officer from March 2013 to February 2014, Executive Vice President and Chief Sales Officer from July 2011 to March
  2013, and Executive Vice President, Strategic Alliances from June 2009 to July 2011. Before joining Juniper, Ms. Elliott held a series
  of senior executive positions with Microsoft Corporation (“Microsoft”) from 2001-2008, including as Corporate Vice President of
  Microsoft’s Industry Solutions Group, Worldwide Public Sector and North American Enterprise Sales organizations. Prior to joining
  Microsoft, Ms. Elliott spent 22 years at International Business Machines Corporation (“IBM”), where she held several senior executive
  positions both in the U.S. and internationally. Ms. Elliott is a member of the board of directors of Whirlpool Corporation (since 2014)
  and Marqeta, Inc. (since 2021).
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  Mr. Herren joined Cisco in December 2020 and serves as our Executive Vice President and Chief Financial Officer. Prior to joining
  Cisco, Mr. Herren served as Senior Vice President and Chief Financial Officer of Autodesk, Inc. (“Autodesk”) since November 2014.
  Prior to joining Autodesk, Mr. Herren served as Senior Vice President of Finance at Citrix Systems, Inc. (“Citrix”) from September
  2011 to October 2014, and in a variety of other leadership roles after joining Citrix in March 2000, including as Vice President and
  Managing Director for EMEA and Vice President and General Manager of Citrix’s virtualization systems group. Before joining Citrix,
  Mr. Herren spent over 15 years in senior strategy and financial positions at FedEx Corporation and IBM.
  Ms. Martinez joined Cisco in April 2018 and served as our Executive Vice President and Chief Customer Experience Officer until her
  appointment as our Executive Vice President and Chief Operating Officer in March 2021. Prior to joining Cisco, Ms. Martinez served
  in a variety of senior executive roles at salesforce.com, inc. (“Salesforce”), including as President, Global Customer Success and Latin
  America from March 2016 to April 2018; President, Sales and Customer Success from February 2013 to March 2016; Executive Vice
  President and Chief Growth Officer from February 2012 to February 2013; and as Executive Vice President, Customers for Life from
  February 2010 to February 2012. Ms. Martinez’s experience prior to Salesforce includes serving as Corporate Vice President of
  Worldwide Services at Microsoft, President and Chief Executive Officer of Embrace Networks, Inc. and various senior leadership roles
  at Motorola, Inc. and AT&T Inc./Bell Laboratories. Ms. Martinez is a member of the board of directors of McKesson Corporation
  (since 2019).
  Ms. Stahlkopf joined Cisco in August 2021 and serves as our Executive Vice President and Chief Legal Officer. Prior to joining Cisco,
  Ms. Stahlkopf spent 14 years at Microsoft, where she served most recently as Corporate Vice President, General Counsel and
  Corporate Secretary, Corporate, External and Legal Affairs from April 2018 to July 2021. Ms. Stahlkopf also served in other leadership
  roles at Microsoft, including as Vice President and Deputy General Counsel from December 2015 to April 2018 and as Associate
  General Counsel from December 2010 to December 2015. Prior to joining Microsoft, Ms. Stahlkopf practiced law at Perkins Coie LLP
  and Cooley Godward LLP.


  Item 1A.          Risk Factors

  Set forth below and elsewhere in this report and in other documents we file with the SEC are descriptions of the risks and uncertainties
  that could cause our actual results to differ materially from the results contemplated by the forward-looking statements contained in
  this report.
  Risks Related to our Business and Industry
  Our business, results of operations and financial condition have been adversely affected and could in the future be materially
  adversely affected by the COVID-19 pandemic.
  The COVID-19 pandemic and the resulting containment measures have caused economic and financial disruptions globally, including
  in most of the regions in which we sell our products and services and conduct our business operations. In the second half of fiscal
  2020, the COVID-19 pandemic had an impact on our financial results and business operations, with a significant impact in the third
  quarter of fiscal 2020 on our supply chain where we saw manufacturing challenges and component constraints. We continue to address
  these supply chain challenges and cost impacts, which we expect will continue at least through the first half of fiscal 2022 and
  potentially into the second half of fiscal 2022. The magnitude and duration of the disruption, its continuing impact on us, and resulting
  decline in global business activity is uncertain. These disruptions include the unprecedented actions taken to try to contain the
  pandemic such as travel bans and restrictions, business closures, and social distancing measures, such as quarantines and shelter-in-
  place orders.
  The COVID-19 pandemic and the responsive measures taken in many countries have adversely affected and could in the future
  materially adversely affect our business, results of operations and financial condition. Shelter-in-place orders and other measures,
  including work-from-home and other policies implemented to protect workers, has and could in the future impact our supply chain.
  Such disruptions may continue, or worsen, in the future. In addition, current and future restrictions or disruptions of transportation,
  such as reduced availability of air transport, port closures, and increased border controls or closures, can also impact our ability to meet
  customer demand and could materially adversely affect us. Our customers have also experienced, and may continue to experience,
  disruptions in their operations, which can result in delayed, reduced, or canceled orders, and increased collection risks, and which may
  adversely affect our results of operations. The COVID-19 pandemic may also result in long-term changes in customer needs for our
  products and services in various sectors, along with IT-related capital spending reductions, or shifts in spending focus, that could
  materially adversely affect us if we are unable to adjust our product and service offerings to match customer needs.
  The recent shift to a remote working environment also creates challenges. For example, governmental lockdowns, restrictions or new
  regulations has and could in the future impact the ability of our employees and vendors to work with the same speed and productivity
  in certain areas, even as other areas do not see negative impact. The extent and/or duration of ongoing workforce
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  restrictions and limitations could impact our ability to enhance, develop and support existing products and services, and hold product
  sales and marketing events to the extent we were able to previously. In addition, malefactors are seeking to use the COVID-19
  pandemic to launch new cyber-attacks. The COVID-19 pandemic has also led to increased disruption and volatility in capital markets
  and credit markets. The pandemic and resulting economic uncertainty could adversely affect our liquidity and capital resources in the
  future. The inputs into certain of our judgments, assumptions, and estimates considered the economic implications of the COVID-19
  pandemic on our critical and significant accounting estimates. The actual results that we experience may differ materially from our
  estimates. As the COVID-19 pandemic continues to develop, many of our estimates could require increased judgment and carry a
  higher degree of variability and volatility. As events continue to evolve our estimates may change materially in future periods.
  We are continuing to monitor the pandemic and take appropriate actions in accordance with the recommendations and requirements of
  relevant authorities. The extent of the impact of the COVID-19 pandemic on our operational and financial performance is currently
  uncertain and will depend on many factors outside our control, including, without limitation, the timing, extent, trajectory and duration
  of the pandemic, the development and availability of effective treatments and vaccines, the imposition of protective public safety
  measures, and the impact of the pandemic on the global economy. Potential negative impacts of these external factors include, but are
  not limited to, material adverse effects on demand for our products and services; our supply chain and sales and distribution channels;
  collectability of customer accounts; our ability to execute strategic plans; impairments; and our profitability and cost structure. To the
  extent the COVID-19 pandemic adversely affects our business, results of operations and financial condition, it may also have the effect
  of exacerbating the other risks discussed in this “Risk Factors” section.
  Our operating results may fluctuate in future periods, which may adversely affect our stock price.
  Our operating results have been in the past, and will continue to be, subject to quarterly and annual fluctuations as a result of numerous
  factors, some of which may contribute to more pronounced fluctuations in an uncertain global economic environment. These factors
  include:
         •   Fluctuations in demand for our products and services, especially with respect to service providers and Internet businesses, in
             part due to changes in the global economic environment
         •   Changes in sales and implementation cycles for our products and reduced visibility into our customers’ spending plans and
             associated revenue
         •   Our ability to maintain appropriate inventory levels and purchase commitments
         •   Price and product competition in the communications and networking industries, which can change rapidly due to
             technological innovation and different business models from various geographic regions
         •   The overall movement toward industry consolidation among both our competitors and our customers
         •   The introduction and market acceptance of new technologies and products, and our success in new and evolving markets,
             and in emerging technologies, as well as the adoption of new standards
         •   The transformation of our business to deliver more software and subscription offerings where revenue is recognized over
             time
         •   Variations in sales channels, product costs, mix of products sold, or mix of direct sales and indirect sales
         •   The timing, size, and mix of orders from customers
         •   Manufacturing and customer lead times
         •   Fluctuations in our gross margins, and the factors that contribute to such fluctuations
         •   The ability of our customers, channel partners, contract manufacturers and suppliers to obtain financing or to fund capital
             expenditures, especially during a period of global credit market disruption or in the event of customer, channel partner,
             contract manufacturer or supplier financial problems
         •   Actual events, circumstances, outcomes, and amounts differing from judgments, assumptions, and estimates used in
             determining the values of certain assets (including the amounts of related valuation allowances), liabilities, and other items
             reflected in our Consolidated Financial Statements
         •   How well we execute on our strategy and operating plans and the impact of changes in our business model that could result
             in significant restructuring charges
         •   Our ability to achieve targeted cost reductions
         •   Benefits anticipated from our investments
         •   Changes in tax laws or accounting rules, or interpretations thereof


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  As a consequence, operating results for a particular future period are difficult to predict, and, therefore, prior results are not necessarily
  indicative of results to be expected in future periods. Any of the foregoing factors, or any other factors discussed elsewhere herein,
  could have a material adverse effect on our business, results of operations, and financial condition that could adversely affect our stock
  price.
  Our operating results may be adversely affected by unfavorable economic and market conditions and the uncertain geopolitical
  environment.
  Challenging economic conditions worldwide have from time to time contributed, and may continue to contribute, to slowdowns in the
  communications and networking industries at large, as well as in specific segments and markets in which we operate, resulting in:
  reduced demand for our products as a result of continued constraints on IT-related capital spending by our customers, particularly
  service providers, and other customer markets as well; increased price competition for our products, not only from our competitors but
  also as a consequence of customers disposing of unutilized products; risk of excess and obsolete inventories; risk of supply constraints;
  risk of excess facilities and manufacturing capacity; and higher overhead costs as a percentage of revenue and higher interest expense.
  The global macroeconomic environment continues to be challenging and inconsistent, and is being significantly impacted by the
  COVID-19 pandemic. During fiscal 2020 and the first quarter of fiscal 2021, we continued to see a broad-based weakening in the
  global macroeconomic environment which impacted our commercial and enterprise markets. We also experienced continuing weakness
  in emerging countries, and we expect ongoing uncertainty in this market. Additionally, instability in the global credit markets, the
  impact of uncertainty regarding global central bank monetary policy, the instability in the geopolitical environment in many parts of the
  world including as a result of the United Kingdom “Brexit” withdrawal from the European Union, the current economic challenges in
  China, including global economic ramifications of Chinese economic difficulties, and other disruptions may continue to put pressure
  on global economic conditions. If global economic and market conditions, or economic conditions in key markets, remain uncertain or
  deteriorate further, we may experience material impacts on our business, operating results, and financial condition.
  Our operating results in one or more segments may also be affected by uncertain or changing economic conditions particularly
  germane to that segment or to particular customer markets within that segment. In addition, reports of certain intelligence gathering
  methods of the U.S. government could affect customers’ perception of the products of IT companies which design and manufacture
  products in the United States. Trust and confidence in us as an IT supplier are critical to the development and growth of our markets.
  Impairment of that trust, or foreign regulatory actions taken in response to reports of certain intelligence gathering methods of the U.S.
  government, could affect the demand for our products from customers outside of the United States and could have an adverse effect on
  our operating results.
  Our revenue for a particular period is difficult to predict, and a shortfall in revenue may harm our operating results.
  As a result of a variety of factors discussed in this report, our revenue for a particular quarter is difficult to predict, especially in light of
  a challenging and inconsistent global macroeconomic environment, the significant impacts of the COVID-19 pandemic, and related
  market uncertainty. Our revenue may grow at a slower rate than in past periods or decline as it did in the first quarter of fiscal 2021 and
  fiscal 2020, and in certain prior periods on a year-over-year basis. Our ability to meet financial expectations could also be adversely
  affected if the nonlinear sales pattern seen in some of our past quarters recurs in future periods. We have experienced periods of time
  during which shipments have exceeded net bookings or manufacturing issues have delayed shipments, leading to nonlinearity in
  shipping patterns. In addition to making it difficult to predict revenue for a particular period, nonlinearity in shipping can increase
  costs, because irregular shipment patterns result in periods of underutilized capacity and periods in which overtime expenses may be
  incurred, as well as in potential additional inventory management-related costs. In addition, to the extent that manufacturing issues and
  any related component shortages result in delayed shipments in the future, and particularly in periods in which our contract
  manufacturers are operating at higher levels of capacity, it is possible that revenue for a quarter could be adversely affected if such
  matters occur and are not remediated within the same quarter.
  The timing of large orders can also have a significant effect on our business and operating results from quarter to quarter. From time to
  time, we receive large orders that have a significant effect on our operating results in the period in which the order is recognized as
  revenue. The timing of such orders is difficult to predict, and the timing of revenue recognition from such orders may affect period to
  period changes in revenue. As a result, our operating results could vary materially from quarter to quarter based on the receipt of such
  orders and their ultimate recognition as revenue. Longer than normal manufacturing lead times in the past have caused, and in the
  future could cause, some customers to place the same or a similar order multiple times within our various sales channels and to cancel
  the duplicative orders upon shipment or receipt of the product, or to also place orders with other vendors with shorter manufacturing
  lead times. Such multiple ordering (along with other factors) or risk of order cancellation may cause difficulty in predicting our
  revenue. Further, our efforts to improve manufacturing lead-time performance may result in more variability and less predictability in
  our revenue and operating results. In addition, when facing

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  component supply-related challenges we have increased our efforts in procuring components in order to meet customer expectations,
  which in turn contribute to an increase in inventory and purchase commitments. For example, in fiscal 2021, we increased our
  inventory and purchase commitments in light of the supply chain challenges seen industrywide due to component shortages, caused in
  part by the COVID-19 pandemic. These increases in our inventory and purchase commitments to shorten lead times could also lead to
  significant excess and obsolete inventory charges if the demand for our products is less than our expectations. We plan our operating
  expense levels based primarily on forecasted revenue levels. These expenses and the impact of long-term commitments are relatively
  fixed in the short term. A shortfall in revenue could lead to operating results being below expectations because we may not be able to
  quickly reduce these fixed expenses in response to short-term business changes. Any of the above factors could have a material adverse
  impact on our operations and financial results.
  Supply chain issues, including financial problems of contract manufacturers or component suppliers, or a shortage of adequate
  component supply or manufacturing capacity that increase our costs or cause a delay in our ability to fulfill orders, could have an
  adverse impact on our business and operating results, and our failure to estimate customer demand properly may result in excess or
  obsolete component supply, which could adversely affect our gross margins.
  The fact that we do not own or operate the bulk of our manufacturing facilities and that we are reliant on our extended supply chain
  could have an adverse impact on the supply of our products and on our business and operating results. Financial problems of either
  contract manufacturers or component suppliers, reservation of manufacturing capacity at our contract manufacturers by other
  companies, and industry consolidation occurring within one or more component supplier markets, such as the semiconductor market, in
  each case, could either limit supply or increase costs.
  A reduction or interruption in supply, including disruptions on our global supply chain as a result of the COVID-19 pandemic or a
  significant natural disaster (including as a result of climate change); a significant increase in the price of one or more components; a
  failure to adequately authorize procurement of inventory by our contract manufacturers; a failure to appropriately cancel, reschedule, or
  adjust our requirements based on our business needs; or a decrease in demand for our products could materially adversely affect our
  business, operating results, and financial condition and could materially damage customer relationships. Furthermore, as a result of
  binding price or purchase commitments with suppliers, we may be obligated to purchase components at prices that are higher than
  those available in the current market. In the event that we become committed to purchase components at prices in excess of the current
  market price when the components are actually used, our gross margins could decrease. In addition, vendors may be under pressure to
  allocate product to certain customers for business, regulatory or political reasons, and/or demand changes in agreed pricing as a
  condition of supply. Although we have generally secured additional supply or taken other mitigation actions when significant
  disruptions have occurred, if similar situations occur in the future, they could have a material adverse effect on our business, results of
  operations, and financial condition.
  Our growth and ability to meet customer demands depend in part on our ability to obtain timely deliveries of parts from our suppliers
  and contract manufacturers. We have experienced component shortages in the past, including shortages caused by manufacturing
  process issues, that have affected our operations, including longer than normal lead times. There is currently a market shortage of
  semiconductor and other component supply which has affected, and could further affect, lead times, the cost of that supply, and our
  ability to meet customer demand for our products if we cannot secure sufficient supply in a timely manner. We expect these supply
  chain challenges and cost impacts to continue through at least the first half of fiscal 2022 and potentially into the second half of fiscal
  2022. Additionally, we may in the future experience a shortage of certain component parts as a result of our own manufacturing issues,
  manufacturing issues at our suppliers or contract manufacturers, capacity problems experienced by our suppliers or contract
  manufacturers including capacity or cost problems resulting from industry consolidation, or strong demand for those parts. Growth in
  the economy is likely to create greater pressures on us and our suppliers to accurately project overall component demand and
  component demands within specific product categories and to establish optimal component levels and manufacturing capacity,
  especially for labor-intensive components, components for which we purchase a substantial portion of the supply, or the re-ramping of
  manufacturing capacity for highly complex products. During periods of shortages or delays the price of components may increase, or
  the components may not be available at all, and we may also encounter shortages if we do not accurately anticipate our needs. We may
  not be able to secure enough components at reasonable prices or of acceptable quality to build new products in a timely manner in the
  quantities or configurations needed. Accordingly, our revenue and gross margins could suffer until other sources can be developed.
  Our operating results would also be adversely affected if, anticipating greater demand than actually develops, we commit to the
  purchase of more components than we need, which is more likely to occur in a period of demand uncertainties such as we are currently
  experiencing. There can be no assurance that we will not encounter these problems in the future. Although in many cases we use
  standard parts and components for our products, certain components are presently available only from a single source or limited
  sources, and a global economic downturn and related market uncertainty could negatively impact the availability of components from
  one or more of these sources, especially during times such as we have recently seen when there are supplier constraints based on labor
  and other actions taken during economic downturns. We may not be able to diversify
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  sources in a timely manner, which could harm our ability to deliver products to customers and seriously impact present and future
  sales.
  We believe that we may be faced with the following challenges in the future: new markets in which we participate may grow quickly,
  which may make it difficult to quickly obtain significant component capacity; as we acquire companies and new technologies, we may
  be dependent on unfamiliar supply chains or relatively small supply partners; and we face competition for certain components that are
  supply-constrained, from existing competitors, and companies in other markets.
  Manufacturing capacity and component supply constraints could continue to be significant issues for us. We purchase components
  from a variety of suppliers and use several contract manufacturers to provide manufacturing services for our products. During the
  normal course of business, in order to improve manufacturing lead-time performance and to help ensure adequate component supply,
  we enter into agreements with contract manufacturers and suppliers that either allow them to procure inventory based upon criteria as
  defined by us or that establish the parameters defining our requirements. In certain instances, these agreements allow us the option to
  cancel, reschedule, and adjust our requirements based on our business needs prior to firm orders being placed. When facing component
  supply-related challenges we have increased our efforts in procuring components in order to meet customer expectations, which in turn
  contributes to an increase in inventory and purchase commitments. For example, in fiscal 2021, we increased our inventory and
  purchase commitments in light of the supply chain challenges seen industrywide due to component shortages, caused in part by the
  COVID-19 pandemic. These increases in our inventory and purchase commitments to shorten lead times could also lead to significant
  excess and obsolete inventory charges if the demand for our products is less than our expectations. If we fail to anticipate customer
  demand properly, an oversupply of parts could result in excess or obsolete components that could adversely affect our gross margins.
  For additional information regarding our purchase commitments with contract manufacturers and suppliers, see Note 14 to the
  Consolidated Financial Statements.
  We expect gross margin to vary over time, and our level of product gross margin may not be sustainable.
  Our level of product gross margins declined in fiscal 2021 and have declined in certain prior periods on a year-over-year basis, and
  could decline in future periods due to adverse impacts from various factors, including:
         •   Changes in customer, geographic, or product mix, including mix of configurations within each product group
         •   Introduction of new products, including products with price-performance advantages, and new business models including
             the transformation of our business to deliver more software and subscription offerings
         •   Our ability to reduce production costs
         •   Entry into new markets or growth in lower margin markets, including markets with different pricing and cost structures,
             through acquisitions or internal development
         •   Sales discounts
         •   Increases in material, labor or other manufacturing-related costs (i.e. component costs, broker fees, expedited freight and
             overtime) or higher supply chain logistics costs, any of which could be significant, especially during periods of supply
             constraints for certain costs, such as those impacting the market for components, including semiconductors and memory
         •   Excess inventory, inventory holding charges, and obsolescence charges
         •   Changes in shipment volume
         •   The timing of revenue recognition and revenue deferrals
         •   Increased cost (including those caused by tariffs), loss of cost savings or dilution of savings due to changes in component
             pricing or charges incurred due to inventory holding periods if parts ordering does not correctly anticipate product demand
             or if the financial health of either contract manufacturers or suppliers deteriorates
         •   Lower than expected benefits from value engineering
         •   Increased price competition, including competitors from Asia, especially from China
         •   Changes in distribution channels
         •   Increased warranty or royalty costs
         •   Increased amortization of purchased intangible assets, especially from acquisitions
         •   How well we execute on our strategy and operating plans
  Changes in service gross margin may result from various factors such as changes in the mix between technical support services and
  advanced services, as well as the timing of technical support service contract initiations and renewals and the addition of personnel and
  other resources to support higher levels of service business in future periods.

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  Sales to the service provider market are especially volatile, and weakness in orders from this industry may harm our operating
  results and financial condition.
  Sales to the service provider market have been characterized by large and sporadic purchases, especially relating to our router sales and
  sales of certain other Infrastructure Platforms and Applications products, in addition to longer sales cycles. Service provider product
  orders decreased during the first quarter of fiscal 2021 and in certain prior periods, and at various times in the past, including in recent
  quarters, we have experienced significant weakness in product orders from service providers. Product orders from the service provider
  market could continue to decline and, as has been the case in the past, such weakness could persist over extended periods of time given
  fluctuating market conditions. Sales activity in this industry depends upon the stage of completion of expanding network
  infrastructures; the availability of funding; and the extent to which service providers are affected by regulatory, economic, and business
  conditions in the country of operations. Weakness in orders from this industry, including as a result of any slowdown in capital
  expenditures by service providers (which may be more prevalent during a global economic downturn, or periods of economic, political
  or regulatory uncertainty), could have a material adverse effect on our business, operating results, and financial condition. Such
  slowdowns may continue or recur in future periods. Orders from this industry could decline for many reasons other than the
  competitiveness of our products and services within their respective markets. For example, in the past, many of our service provider
  customers have been materially and adversely affected by slowdowns in the general economy, by overcapacity, by changes in the
  service provider market, by regulatory developments, and by constraints on capital availability, resulting in business failures and
  substantial reductions in spending and expansion plans. These conditions have materially harmed our business and operating results in
  the past, and could affect our business and operating results in any future period. Finally, service provider customers typically have
  longer implementation cycles; require a broader range of services, including design services; demand that vendors take on a larger
  share of risks; often require acceptance provisions, which can lead to a delay in revenue recognition; and expect financing from
  vendors. All these factors can add further risk to business conducted with service providers.
  Disruption of or changes in our distribution model could harm our sales and margins.
  If we fail to manage distribution of our products and services properly, or if our distributors’ financial condition or operations weaken,
  our revenue and gross margins could be adversely affected. A substantial portion of our products and services is sold through our
  channel partners, and the remainder is sold through direct sales. Our channel partners include systems integrators, service providers,
  other resellers, and distributors. Systems integrators and service providers typically sell directly to end users and often provide system
  installation, technical support, professional services, and other support services in addition to network equipment sales. Systems
  integrators also typically integrate our products into an overall solution, and a number of service providers are also systems integrators.
  Distributors stock inventory and typically sell to systems integrators, service providers, and other resellers. We refer to sales through
  distributors as our two-tier system of sales to the end customer. If sales through indirect channels increase, this may lead to greater
  difficulty in forecasting the mix of our products and, to a degree, the timing of orders from our customers.
  Historically, we have seen fluctuations in our gross margins based on changes in the balance of our distribution channels. There can be
  no assurance that changes in the balance of our distribution model in future periods would not have an adverse effect on our gross
  margins and profitability. Some factors could result in disruption of or changes in our distribution model, which could harm our sales
  and margins, including the following: competition with some of our channel partners, including through our direct sales, which may
  lead these channel partners to use other suppliers that do not directly sell their own products or otherwise compete with them; some of
  our channel partners may demand that we absorb a greater share of the risks that their customers may ask them to bear; some of our
  channel partners may have insufficient financial resources and may not be able to withstand changes and challenges in business
  conditions; and revenue from indirect sales could suffer if our distributors’ financial condition or operations weaken. In addition, we
  depend on our channel partners globally to comply with applicable regulatory requirements. To the extent that they fail to do so, that
  could have a material adverse effect on our business, operating results, and financial condition. Further, sales of our products outside of
  agreed territories can result in disruption to our distribution channels.
  The markets in which we compete are intensely competitive, which could adversely affect our achievement of revenue growth.
  The markets in which we compete are characterized by rapid change, converging technologies, and a migration to networking and
  communications solutions that offer relative advantages. These market factors represent a competitive threat to us. We compete with
  numerous vendors in each product category. The overall number of our competitors providing niche product solutions may increase.
  Also, the identity and composition of competitors may change as we increase our activity in newer product areas, and in key priority
  and growth areas. For example, as products related to network programmability, such as software defined networking (SDN) products,
  become more prevalent, we expect to face increased competition from companies that develop networking products based on
  commoditized hardware, referred to as “white box” hardware, to the extent customers decide to purchase those product offerings
  instead of ours. In addition, the growth in demand for technology


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  delivered as a service enables new competitors to enter the market. As we continue to expand globally, we may see new competition in
  different geographic regions. In particular, we have experienced price-focused competition from competitors in Asia, especially from
  China, and we anticipate this will continue. For information regarding our competitors, see the section entitled “Competition”
  contained in Item 1. Business of this report.
  Some of our competitors compete across many of our product lines, while others are primarily focused in a specific product area.
  Barriers to entry are relatively low, and new ventures to create products that do or could compete with our products are regularly
  formed. In addition, some of our competitors may have greater resources, including technical and engineering resources, than we do.
  As we expand into new markets, we will face competition not only from our existing competitors but also from other competitors,
  including existing companies with strong technological, marketing, and sales positions in those markets. We also sometimes face
  competition from resellers and distributors of our products. Companies with which we have strategic alliances in some areas may be
  competitors in other areas, and this trend may increase. For example, the enterprise data center is undergoing a fundamental
  transformation arising from the convergence of technologies, including computing, networking, storage, and software, that previously
  were segregated. Due to several factors, including the availability of highly scalable and general purpose microprocessors, ASICs
  offering advanced services, standards based protocols, cloud computing and virtualization, the convergence of technologies within the
  enterprise data center is spanning multiple, previously independent, technology segments. Also, some of our current and potential
  competitors for enterprise data center business have made acquisitions, or announced new strategic alliances, designed to position them
  to provide end-to-end technology solutions for the enterprise data center. As a result of all of these developments, we face greater
  competition in the development and sale of enterprise data center technologies, including competition from entities that are among our
  long-term strategic alliance partners. Companies that are strategic alliance partners in some areas of our business may acquire or form
  alliances with our competitors, thereby reducing their business with us.
  The principal competitive factors in the markets in which we presently compete and may compete in the future include the ability to
  sell successful business outcomes; the ability to provide a broad range of networking and communications products and services;
  product performance; price; the ability to introduce new products, including providing continuous new customer value and products
  with price-performance advantages; the ability to reduce production costs; the ability to provide value-added features such as security,
  reliability, and investment protection; conformance to standards; market presence; the ability to provide financing; and disruptive
  technology shifts and new business models.
  We also face competition from customers to which we license or supply technology and suppliers from which we transfer technology.
  The inherent nature of networking requires interoperability. As such, we must cooperate and at the same time compete with many
  companies. Any inability to effectively manage these complicated relationships with customers, suppliers, and strategic alliance
  partners could have a material adverse effect on our business, operating results, and financial condition and accordingly affect our
  chances of success.
  If we do not successfully manage our strategic alliances, we may not realize the expected benefits from such alliances, and we may
  experience increased competition or delays in product development.
  We have several strategic alliances with large and complex organizations and other companies with which we work to offer
  complementary products and services and, in the past, have established a joint venture to market services associated with our Cisco
  Unified Computing System products. These arrangements are generally limited to specific projects, the goal of which is generally to
  facilitate product compatibility and adoption of industry standards. There can be no assurance we will realize the expected benefits
  from these strategic alliances or from the joint venture. If successful, these relationships may be mutually beneficial and result in
  industry growth. However, alliances carry an element of risk because, in most cases, we must compete in some business areas with a
  company with which we have a strategic alliance and, at the same time, cooperate with that company in other business areas. Also, if
  these companies fail to perform or if these relationships fail to materialize as expected, we could suffer delays in product development
  or other operational difficulties. Joint ventures can be difficult to manage, given the potentially different interests of joint venture
  partners.
  Inventory management relating to our sales to our two-tier distribution channel is complex, and excess inventory may harm our
  gross margins.
  We must manage inventory relating to sales to our distributors effectively, because inventory held by them could affect our results of
  operations. Our distributors may increase orders during periods of product shortages, cancel orders if their inventory is too high, or
  delay orders in anticipation of new products. They also may adjust their orders in response to the supply of our products and the
  products of our competitors that are available to them, and in response to seasonal fluctuations in end-user demand. Our distributors are
  generally given business terms that allow them to return a portion of inventory, receive credits for changes in selling price, and
  participate in various cooperative marketing programs. Inventory management remains an area of focus as we balance the need to
  maintain strategic inventory levels to ensure competitive lead times against the risk of inventory obsolescence because of rapidly
  changing technology and customer requirements. When facing component supply-related
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  challenges, we have increased our efforts in procuring components in order to meet customer expectations. If we ultimately determine
  that we have excess inventory, we may have to reduce our prices and write down inventory, which in turn could result in lower gross
  margins.
  We depend upon the development of new products and services, and enhancements to existing products and services, and if we fail
  to predict and respond to emerging technological trends and customers’ changing needs, our operating results and market share
  may suffer.
  The markets for our products and services are characterized by rapidly changing technology, evolving industry standards, new product
  and service introductions, and evolving methods of building and operating networks. Our operating results depend on our ability to
  develop and introduce new products and services into existing and emerging markets and to reduce the production costs of existing
  products. If customers do not purchase and/or renew our offerings our business could be harmed. The COVID-19 pandemic may also
  result in long-term changes in customer needs for our products and services in various sectors, along with IT-related capital spending
  reductions, or shifts in spending focus, that could materially adversely affect us if we are unable to adjust our product and service
  offerings to match customer needs.
  The process of developing new technology, including more programmable, flexible and virtual networks, and technology related to
  other market transitions— such as security, digital transformation and IoT, and cloud— is complex and uncertain, and if we fail to
  accurately predict customers’ changing needs and emerging technological trends our business could be harmed. We must commit
  significant resources, including the investments we have been making in our strategic priorities to developing new products and
  services before knowing whether our investments will result in products and services the market will accept. In particular, if our model
  of the evolution of networking does not emerge as we believe it will, or if the industry does not evolve as we believe it will, or if our
  strategy for addressing this evolution is not successful, many of our strategic initiatives and investments may be of no or limited value.
  For example, if we do not introduce products related to network programmability, such as software-defined-networking products, in a
  timely fashion, or if product offerings in this market that ultimately succeed are based on technology, or an approach to technology, that
  differs from ours, such as, for example, networking products based on “white box” hardware, our business could be harmed. Similarly,
  our business could be harmed if we fail to develop, or fail to develop in a timely fashion, offerings to address other transitions, or if the
  offerings addressing these other transitions that ultimately succeed are based on technology, or an approach to technology, different
  from ours. In addition, our business could be adversely affected in periods surrounding our new product introductions if customers
  delay purchasing decisions to qualify or otherwise evaluate the new product offerings. We have also been transforming our business to
  move from selling individual products and services to selling products and services integrated into architectures and solutions, and we
  are seeking to meet the evolving needs of customers which include offering our products and solutions in the manner in which
  customers wish to consume them. As a part of this transformation, we continue to make changes to how we are organized and how we
  build and deliver our technology, including changes in our business models with customers. If our strategy for addressing our customer
  needs, or the architectures and solutions we develop do not meet those needs, or the changes we are making in how we are organized
  and how we build and deliver or technology is incorrect or ineffective, our business could be harmed.
  Furthermore, we may not execute successfully on our vision or strategy because of challenges with regard to product planning and
  timing, technical hurdles that we fail to overcome in a timely fashion, or a lack of appropriate resources. This could result in
  competitors, some of which may also be our strategic alliance partners, providing those solutions before we do and loss of market
  share, revenue, and earnings. In addition, the growth in demand for technology delivered as a service enables new competitors to enter
  the market. The success of new products and services depends on several factors, including proper new product and service definition,
  component costs, timely completion and introduction of these products and services, differentiation of new products and services from
  those of our competitors, and market acceptance of these products and services. There can be no assurance that we will successfully
  identify new product and services opportunities, develop and bring new products and services to market in a timely manner, or achieve
  market acceptance of our products and services or that products, services and technologies developed by others will not render our
  products, services or technologies obsolete or noncompetitive. The products and technologies in our other product categories and key
  priority and growth areas may not prove to have the market success we anticipate, and we may not successfully identify and invest in
  other emerging or new products and services.
  Changes in industry structure and market conditions could lead to charges related to discontinuances of certain of our products or
  businesses, asset impairments and workforce reductions or restructurings.
  In response to changes in industry and market conditions, we may be required to strategically realign our resources and to consider
  restructuring, disposing of, or otherwise exiting businesses. Any resource realignment, or decision to limit investment in or dispose of
  or otherwise exit businesses, may result in the recording of special charges, such as inventory and technology-related write-offs,
  workforce reduction or restructuring costs, charges relating to consolidation of excess facilities, or claims from third parties who were
  resellers or users of discontinued products. Our estimates with respect to the useful life or ultimate recoverability of our carrying basis
  of assets, including purchased intangible assets, could change as a result of such
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  assessments and decisions. Although in certain instances our supply agreements allow us the option to cancel, reschedule, and adjust
  our requirements based on our business needs prior to firm orders being placed, our loss contingencies may include liabilities for
  contracts that we cannot cancel with contract manufacturers and suppliers. Further, our estimates relating to the liabilities for excess
  facilities are affected by changes in real estate market conditions. Additionally, we are required to perform goodwill impairment tests
  on an annual basis and between annual tests in certain circumstances, and future goodwill impairment tests may result in a charge to
  earnings. We initiated a restructuring plan in the first quarter of fiscal 2021, which included a voluntary early retirement program, and
  which has now been substantially completed. Our business may not be more efficient or effective than prior to implementation of the
  plan. Our restructuring activities, including any related charges and the impact of the related headcount restructurings, could have a
  material adverse effect on our business, operating results, and financial condition.
  Over the long term we intend to invest in engineering, sales, service and marketing activities, and in key priority and growth areas,
  and these investments may achieve delayed, or lower than expected, benefits which could harm our operating results.
  While we intend to focus on managing our costs and expenses, over the long term, we also intend to invest in personnel and other
  resources related to our engineering, sales, service and marketing functions as we realign and dedicate resources on key priority and
  growth areas, such as Security and Applications, and we also intend to focus on maintaining leadership in Infrastructure Platforms and
  in Services. We are likely to recognize the costs associated with these investments earlier than some of the anticipated benefits, and the
  return on these investments may be lower, or may develop more slowly, than we expect. If we do not achieve the benefits anticipated
  from these investments (including if our selection of areas for investment does not play out as we expect), or if the achievement of
  these benefits is delayed, our operating results may be adversely affected.
  We have made and expect to continue to make acquisitions that could disrupt our operations and harm our operating results.
  Our growth depends upon market growth, our ability to enhance our existing products, and our ability to introduce new products on a
  timely basis. We intend to continue to address the need to develop new products and enhance existing products through acquisitions of
  other companies, product lines, technologies, and personnel. Acquisitions involve numerous risks, including the following:
         •   Difficulties in integrating the operations, systems, technologies, products, and personnel of the acquired companies,
             particularly companies with large and widespread operations and/or complex products
         •   Diversion of management’s attention from normal daily operations of the business and the challenges of managing larger
             and more widespread operations resulting from acquisitions
         •   Potential difficulties in completing projects associated with in-process research and development intangibles
         •   Difficulties in entering markets in which we have no or limited direct prior experience and where competitors in such
             markets have stronger market positions
         •   Initial dependence on unfamiliar supply chains or relatively small supply partners
         •   Insufficient revenue to offset increased expenses associated with acquisitions
         •   The potential loss of key employees, customers, distributors, vendors and other business partners of the companies we
             acquire following and continuing after announcement of acquisition plans
  Acquisitions may also cause us to:
         •   Issue common stock that would dilute our current stockholders’ percentage ownership
         •   Use a substantial portion of our cash resources, or incur debt
         •   Significantly increase our interest expense, leverage and debt service requirements if we incur additional debt to pay for an
             acquisition
         •   Assume liabilities
         •   Record goodwill and intangible assets that are subject to impairment testing on a regular basis and potential periodic
             impairment charges
         •   Incur amortization expenses related to certain intangible assets
         •   Incur tax expenses related to the effect of acquisitions on our legal structure
         •   Incur large write-offs and restructuring and other related expenses
         •   Become subject to intellectual property or other litigation



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  Mergers and acquisitions of high-technology companies are inherently risky and subject to many factors outside of our control, and no
  assurance can be given that our previous or future acquisitions will be successful and will not materially adversely affect our business,
  operating results, or financial condition. Failure to manage and successfully integrate acquisitions could materially harm our business
  and operating results. Prior acquisitions have resulted in a wide range of outcomes, from successful introduction of new products and
  technologies to a failure to do so. Even when an acquired company has already developed and marketed products, there can be no
  assurance that product enhancements will be made in a timely fashion or that pre-acquisition due diligence will have identified all
  possible issues that might arise with respect to such products. In addition, our effective tax rate for future periods is uncertain and could
  be impacted by mergers and acquisitions. Risks related to new product development also apply to acquisitions.
  Entrance into new or developing markets exposes us to additional competition and will likely increase demands on our service and
  support operations.
  As we focus on new market opportunities and key priority and growth areas, we will increasingly compete with large
  telecommunications equipment suppliers as well as startup companies. Several of our competitors may have greater resources,
  including technical and engineering resources, than we do. Additionally, as customers in these markets complete infrastructure
  deployments, they may require greater levels of service, support, and financing than we have provided in the past, especially in
  emerging countries. Demand for these types of service, support, or financing contracts may increase in the future. There can be no
  assurance that we can provide products, service, support, and financing to effectively compete for these market opportunities. Further,
  entry into other markets has subjected and will subject us to additional risks, particularly to those markets, including the effects of
  general market conditions and reduced consumer confidence. For example, as we add direct selling capabilities globally to meet
  changing customer demands, we will face increased legal and regulatory requirements.
  Industry consolidation may lead to increased competition and may harm our operating results.
  There is a continuing trend toward industry consolidation in our markets. We expect this trend to continue as companies attempt to
  strengthen or hold their market positions in an evolving industry and as companies are acquired or are unable to continue operations.
  For example, some of our current and potential competitors for enterprise data center business have made acquisitions, or announced
  new strategic alliances, designed to position them with the ability to provide end-to-end technology solutions for the enterprise data
  center. Companies that are strategic alliance partners in some areas of our business may acquire or form alliances with our competitors,
  thereby reducing their business with us. We believe that industry consolidation may result in stronger competitors that are better able to
  compete as sole-source vendors for customers. This could lead to more variability in our operating results and could have a material
  adverse effect on our business, operating results, and financial condition. Furthermore, particularly in the service provider market, rapid
  consolidation will lead to fewer customers, with the effect that loss of a major customer could have a material impact on results not
  anticipated in a customer marketplace composed of more numerous participants.
  Product quality problems could lead to reduced revenue, gross margins, and net income.
  We produce highly complex products that incorporate leading-edge technology, including both hardware and software. Software
  typically contains bugs that can unexpectedly interfere with expected operations. There can be no assurance that our pre-shipment
  testing programs will be adequate to detect all defects, either ones in individual products or ones that could affect numerous shipments,
  which might interfere with customer satisfaction, reduce sales opportunities, or affect gross margins. From time to time, we have had to
  replace certain components and provide remediation in response to the discovery of defects or bugs in products that we had shipped.
  There can be no assurance that such remediation, depending on the product involved, would not have a material impact. An inability to
  cure a product defect could result in the failure of a product line, temporary or permanent withdrawal from a product or market,
  damage to our reputation, inventory costs, or product reengineering expenses, any of which could have a material impact on our
  revenue, margins, and net income.
  Due to the global nature of our operations, political or economic changes or other factors in a specific country or region could
  harm our operating results and financial condition.
  We conduct significant sales and customer support operations in countries around the world. As such, our growth depends in part on
  our increasing sales into emerging countries. We also depend on non-U.S. operations of our contract manufacturers, component
  suppliers and distribution partners. Our business in emerging countries in the aggregate experienced a decline in orders in the first half
  of fiscal 2021 and in certain prior periods. We continue to assess the sustainability of any improvements in our business in these
  countries and there can be no assurance that our investments in these countries will be successful. Our future results could be
  materially adversely affected by a variety of political, economic or other factors relating to our operations inside and outside the United
  States, any or all of which could have a material adverse effect on our operating results and financial condition, including the
  following: impacts from global central bank monetary policy; issues related to the political relationship between the United States and
  other countries that can affect regulatory matters, affect the willingness of customers in those countries to purchase products from
  companies headquartered in the United States or affect our ability to
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  procure components if a government body were to deny us access to those components; government-related disruptions or shutdowns;
  the challenging and inconsistent global macroeconomic environment; foreign currency exchange rates; political or social unrest;
  economic instability or weakness or natural disasters in a specific country or region, including economic challenges in China and
  global economic ramifications of Chinese economic difficulties; instability as a result of Brexit; environmental protection regulations
  (including new laws and regulations related to climate change), trade protection measures such as tariffs, and other legal and regulatory
  requirements, some of which may affect our ability to import our products to, export our products from, or sell our products in various
  countries or affect our ability to procure components; political considerations that affect service provider and government spending
  patterns; health or similar issues, including pandemics or epidemics such as the COVID-19 pandemic which could continue to affect
  customer purchasing decisions; difficulties in staffing and managing international operations; and adverse tax consequences, including
  imposition of withholding or other taxes on our global operations.
  We are exposed to the credit risk of some of our customers and to credit exposures in weakened markets, which could result in
  material losses.
  Most of our sales are on an open credit basis, with typical payment terms of 30 days in the United States and, because of local customs
  or conditions, longer in some markets outside the United States. Beyond our open credit arrangements, we have also experienced
  demands for customer financing and facilitation of leasing arrangements. Our loan financing arrangements may include not only
  financing the acquisition of our products and services but also providing additional funds for other costs associated with network
  installation and integration of our products and services. Our exposure to the credit risks relating to our financing activities may
  increase if our customers are adversely affected by a global economic downturn or periods of economic uncertainty. There can be no
  assurance that programs we have in place to monitor and mitigate credit risks will be effective. In the past, there have been significant
  bankruptcies among customers both on open credit and with loan or lease financing arrangements, particularly among Internet
  businesses and service providers, causing us to incur economic or financial losses. There can be no assurance that additional losses will
  not be incurred. Although these losses have not been material to date, future losses, if incurred, could harm our business and have a
  material adverse effect on our operating results and financial condition. Additionally, to the degree that turmoil in the credit markets
  makes it more difficult for some customers to obtain financing, those customers’ ability to pay could be adversely impacted, which in
  turn could have a material adverse impact on our business, operating results, and financial condition.
  We are exposed to fluctuations in the market values of our portfolio investments and in interest rates; impairment of our
  investments could harm our earnings.
  We maintain an investment portfolio of various holdings, types, and maturities. Our portfolio includes available-for-sale debt
  investments and equity investments, the values of which are subject to market price volatility. If such investments suffer market price
  declines, as we experienced with some of our investments in the past, we may recognize in earnings the decline in the fair value of our
  investments below their cost basis. Our privately held investments are subject to risk of loss of investment capital. These investments
  are inherently risky because the markets for the technologies or products they have under development are typically in the early stages
  and may never materialize. We could lose our entire investment in these companies. For information regarding the market risks
  associated with the fair value of portfolio investments and interest rates, refer to the section titled “Quantitative and Qualitative
  Disclosures About Market Risk.”
  We are exposed to fluctuations in currency exchange rates that could negatively impact our financial results and cash flows.
  Because a significant portion of our business is conducted outside the United States, we face exposure to adverse movements in foreign
  currency exchange rates, including emerging market currencies which can have extreme currency volatility. An increase in the value of
  the dollar could increase the real cost to our customers of our products in those markets outside the United States where we sell in
  dollars and a weakened dollar could increase the cost of local operating expenses and procurement of raw materials to the extent that
  we must purchase components in foreign currencies. These exposures may change over time as business practices evolve, and they
  could have a material adverse impact on our financial results and cash flows.
  Failure to retain and recruit key personnel would harm our ability to meet key objectives.
  Our success has always depended in large part on our ability to attract and retain highly skilled technical, managerial, sales, and
  marketing personnel. Competition for these personnel is intense, especially in the Silicon Valley area of Northern California. Stock
  incentive plans are designed to reward employees for their long-term contributions and provide incentives for them to remain with us.
  Volatility or lack of positive performance in our stock price or equity incentive awards, or changes to our overall compensation
  program, including our stock incentive program, resulting from the management of share dilution and share-based compensation
  expense or otherwise, may also adversely affect our ability to retain key employees. As a result of one or more of these factors, we may
  increase our hiring in geographic areas outside the United States, which could subject us to additional geopolitical and exchange rate
  risk. The loss of services of any of our key personnel; the inability to retain and attract qualified personnel in the future; or delays in
  hiring required personnel, particularly engineering and sales personnel,
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  could make it difficult to meet key objectives, such as timely and effective product introductions. In addition, companies in our
  industry whose employees accept positions with competitors frequently claim that competitors have engaged in improper hiring
  practices. We have received these claims in the past and may receive additional claims to this effect in the future.
  Adverse resolution of litigation or governmental investigations may harm our operating results or financial condition.
  We are a party to lawsuits in the normal course of our business. Litigation can be expensive, lengthy, and disruptive to normal business
  operations. Moreover, the results of complex legal proceedings are difficult to predict. An unfavorable resolution of lawsuits or
  governmental investigations could have a material adverse effect on our business, operating results, or financial condition. For
  additional information regarding certain of the matters in which we are involved, see Note 14 to the Consolidated Financial Statements,
  subsection (f) “Legal Proceedings.”
  Our operating results may be adversely affected and damage to our reputation may occur due to production and sale of counterfeit
  versions of our products.
  As is the case with leading products around the world, our products are subject to efforts by third parties to produce counterfeit
  versions of our products. While we work diligently with law enforcement authorities in various countries to block the manufacture of
  counterfeit goods and to interdict their sale, and to detect counterfeit products in customer networks, and have succeeded in prosecuting
  counterfeiters and their distributors, resulting in fines, imprisonment and restitution to us, there can be no guarantee that such efforts
  will succeed. While counterfeiters often aim their sales at customers who might not have otherwise purchased our products due to lack
  of verifiability of origin and service, such counterfeit sales, to the extent they replace otherwise legitimate sales, could adversely affect
  our operating results.
  Changes in our provision for income taxes or adverse outcomes resulting from examination of our income tax returns could
  adversely affect our results.
  Our provision for income taxes is subject to volatility and could be adversely affected by earnings being lower than anticipated in
  countries that have lower tax rates and higher than anticipated in countries that have higher tax rates; by changes in the valuation of our
  deferred tax assets and liabilities; by changes to foreign-derived intangible income, global intangible low-tax income and base erosion
  and anti-abuse tax laws, regulations, or interpretations thereof; by expiration of or lapses in tax incentives; by transfer pricing
  adjustments, including the effect of acquisitions on our legal structure; by tax effects of nondeductible compensation; by tax costs
  related to intercompany realignments; by changes in accounting principles; or by changes in tax laws and regulations, treaties, or
  interpretations thereof, including changes to the taxation of earnings of our foreign subsidiaries, the deductibility of expenses
  attributable to foreign income, and the foreign tax credit rules. Significant judgment is required to determine the recognition and
  measurement attribute prescribed in the accounting guidance for uncertainty in income taxes. The Organisation for Economic Co-
  operation and Development (OECD), an international association comprised of 38 countries, including the United States, has made
  changes and is contemplating additional changes to numerous long-standing tax principles. There can be no assurance that these
  changes and any contemplated changes if finalized, once adopted by countries, will not have an adverse impact on our provision for
  income taxes. Further, as a result of certain of our ongoing employment and capital investment actions and commitments, our income
  in certain countries was subject to reduced tax rates. Our failure to meet these commitments could adversely impact our provision for
  income taxes. In addition, we are subject to the continuous examination of our income tax returns by the Internal Revenue Service and
  other tax authorities. We regularly assess the likelihood of adverse outcomes resulting from these examinations to determine the
  adequacy of our provision for income taxes. There can be no assurance that the outcomes from these continuous examinations will not
  have an adverse effect on our operating results and financial condition.
  Our business and operations are especially subject to the risks of earthquakes, floods, and other natural catastrophic events
  (including as a result of global climate change).
  Our corporate headquarters, including certain of our research and development operations are located in the Silicon Valley area of
  Northern California, a region known for seismic activity. Additionally, a certain number of our facilities are located near rivers that
  have experienced flooding in the past. Also certain of our suppliers and logistics centers are located in regions that have been or may be
  affected by earthquake, tsunami and flooding activity which in the past has disrupted, and in the future could disrupt, the flow of
  components and delivery of products. In addition, global climate change may result in significant natural disasters occurring more
  frequently or with greater intensity, such as drought, wildfires, storms, sea-level rise, and flooding. A significant natural disaster, such
  as an earthquake, a hurricane, volcano, flood or a wildfire, could have a material adverse impact on our business, operating results, and
  financial condition.
  Terrorism and other events may harm our business, operating results and financial condition.
  The continued threat of terrorism and heightened security and military action in response to this threat, or any future acts of terrorism,
  may cause further disruptions to the economies of the United States and other countries and create further uncertainties or otherwise
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  materially harm our business, operating results, and financial condition. Likewise, events such as loss



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  of infrastructure and utilities services such as energy, transportation, or telecommunications could have similar negative impacts. To the
  extent that such disruptions or uncertainties result in delays or cancellations of customer orders or the manufacture or shipment of our
  products, our business, operating results, and financial condition could be materially and adversely affected.
  There can be no assurance that our operating results and financial condition will not be adversely affected by our incurrence of
  debt.
  As of the end of fiscal 2021, we have senior unsecured notes outstanding in an aggregate principal amount of $11.5 billion that mature
  at specific dates from calendar year 2021 through 2040. We have also established a commercial paper program under which we may
  issue short-term, unsecured commercial paper notes on a private placement basis up to a maximum aggregate amount outstanding at
  any time of $10.0 billion, and we had no commercial paper notes outstanding under this program as of July 31, 2021. There can be no
  assurance that our incurrence of this debt or any future debt will be a better means of providing liquidity to us than would our use of
  our existing cash resources. Further, we cannot be assured that our maintenance of this indebtedness or incurrence of future
  indebtedness will not adversely affect our operating results or financial condition. In addition, changes by any rating agency to our
  credit rating can negatively impact the value and liquidity of both our debt and equity securities, as well as the terms upon which we
  may borrow under our commercial paper program or future debt issuances.
  Risks Related to Intellectual Property
  Our proprietary rights may prove difficult to enforce.
  We generally rely on patents, copyrights, trademarks, and trade secret laws to establish and maintain proprietary rights in our
  technology and products. Although we have been issued numerous patents and other patent applications are currently pending, there
  can be no assurance that any of these patents or other proprietary rights will not be challenged, invalidated, or circumvented or that our
  rights will, in fact, provide competitive advantages to us. Furthermore, many key aspects of networking technology are governed by
  industrywide standards, which are usable by all market entrants. In addition, there can be no assurance that patents will be issued from
  pending applications or that claims allowed on any patents will be sufficiently broad to protect our technology. In addition, the laws of
  some foreign countries may not protect our proprietary rights to the same extent as do the laws of the United States. The outcome of
  any actions taken in these foreign countries may be different than if such actions were determined under the laws of the United States.
  Although we are not dependent on any individual patents or group of patents for particular segments of the business for which we
  compete, if we are unable to protect our proprietary rights to the totality of the features (including aspects of products protected other
  than by patent rights) in a market, we may find ourselves at a competitive disadvantage to others who need not incur the substantial
  expense, time, and effort required to create innovative products that have enabled us to be successful.
  We may be found to infringe on intellectual property rights of others.
  Third parties, including customers, have in the past and may in the future assert claims or initiate litigation related to exclusive patent,
  copyright, trademark, and other intellectual property rights to technologies and related standards that are relevant to us. These
  assertions have increased over time as a result of our growth and the general increase in the pace of patent claims assertions,
  particularly in the United States. Because of the existence of a large number of patents in the networking field, the secrecy of some
  pending patents, and the rapid rate of issuance of new patents, it is not economically practical or even possible to determine in advance
  whether a product or any of its components infringes or will infringe on the patent rights of others. The asserted claims and/or initiated
  litigation can include claims against us or our manufacturers, suppliers, or customers, alleging infringement of their proprietary rights
  with respect to our existing or future products or components of those products. Regardless of the merit of these claims, they can be
  time-consuming, result in costly litigation and diversion of technical and management personnel, or require us to develop a non-
  infringing technology or enter into license agreements. Where claims are made by customers, resistance even to unmeritorious claims
  could damage customer relationships. There can be no assurance that licenses will be available on acceptable terms and conditions, if at
  all, or that our indemnification by our suppliers will be adequate to cover our costs if a claim were brought directly against us or our
  customers. Furthermore, because of the potential for high court awards that are not necessarily predictable, it is not unusual to find
  even arguably unmeritorious claims settled for significant amounts. If any infringement or other intellectual property claim made
  against us by any third party is successful, if we are required to indemnify a customer with respect to a claim against the customer, or if
  we fail to develop non-infringing technology or license the proprietary rights on commercially reasonable terms and conditions, our
  business, operating results, and financial condition could be materially and adversely affected. For additional information regarding our
  indemnification obligations, see Note 14(e) to the Consolidated Financial Statements contained in this report. Our exposure to risks
  associated with the use of intellectual property may be increased as a result of acquisitions, as we have a lower level of visibility into
  the development process with respect to such technology or the care taken to safeguard against infringement risks. Further, in the



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  past, third parties have made infringement and similar claims after we have acquired technology that had not been asserted prior to our
  acquisition.
  We rely on the availability of third-party licenses.
  Many of our products are designed to include software or other intellectual property licensed from third parties. It may be necessary in
  the future to seek or renew licenses relating to various aspects of these products. There can be no assurance that the necessary licenses
  would be available on acceptable terms, if at all. The inability to obtain certain licenses or other rights or to obtain such licenses or
  rights on favorable terms, or the need to engage in litigation regarding these matters, could have a material adverse effect on our
  business, operating results, and financial condition. Moreover, the inclusion in our products of software or other intellectual property
  licensed from third parties on a nonexclusive basis could limit our ability to protect our proprietary rights in our products.
  Risks Related to Cybersecurity and Regulations
  Cyber-attacks, data breaches or malware may disrupt our operations, harm our operating results and financial condition, and
  damage our reputation or otherwise materially harm our business; and cyber-attacks or data breaches on our customers’ networks,
  or in cloud-based services provided by or enabled by us, could result in claims of liability against us, damage our reputation or
  otherwise materially harm our business.
  We experience cyber-attacks and other attempts to gain unauthorized access to our systems on a regular basis, and we anticipate
  continuing to be subject to such attempts. Despite our implementation of security measures, (i) our products and services, and (ii) the
  servers, data centers, and cloud-based solutions on which our and third-party data is stored, are vulnerable to cyber-attacks, data
  breaches, malware, and disruptions from unauthorized access, tampering or other theft or misuse, including by employees, malicious
  actors or inadvertent error. Such events have and could in the future compromise or disrupt access to or the operation of our products,
  services, and networks or those of our customers, or result in the information stored on our systems or those of our customers being
  improperly accessed, processed, disclosed, lost or stolen. We have not to date experienced a material event; however, the occurrence of
  any such event in the future could subject us to liability to our customers, suppliers, business partners and others, give rise to legal
  and/or regulatory action, could damage our reputation or otherwise materially harm our business, and could have a material adverse
  effect on our business, operating results, and financial condition. Efforts to limit the ability of malicious actors to disrupt the operations
  of the Internet or undermine our own security efforts may be costly to implement and may not be successful. Breaches of security in
  our customers’ networks, or in cloud-based services provided by or enabled by us, regardless of whether the breach is attributable to a
  vulnerability in our products or services, could result in claims of liability against us, damage our reputation or otherwise materially
  harm our business.
  Vulnerabilities and critical security defects, prioritization decisions regarding remedying vulnerabilities or security defects, failure
  of third-party providers to remedy vulnerabilities or security defects, or customers not deploying security releases or deciding not to
  upgrade products, services or solutions could result in claims of liability against us, damage our reputation, or otherwise materially
  harm our business.
  The products and services we sell to customers, and our cloud-based solutions, inevitably contain vulnerabilities or critical security
  defects which have not been remedied and cannot be disclosed without compromising security. We also make prioritization decisions in
  determining which vulnerabilities or security defects to fix and the timing of these fixes. Customers may also need to test security
  releases before they can be deployed which can delay implementation. In addition, we rely on third-party providers of software and
  cloud-based services, and we cannot control the rate at which they remedy vulnerabilities. When customers do not deploy specific
  releases, or decide not to upgrade to the latest versions of our products, services or cloud-based solutions containing the release, they
  may be left vulnerable. Vulnerabilities and critical security defects, prioritization errors in remedying vulnerabilities or security defects,
  failure of third-party providers to remedy vulnerabilities or security defects, or customers not deploying specific releases or deciding
  not to upgrade products, services or solutions could result in claims of liability against us, damage our reputation or otherwise
  materially harm our business.
  Our business, operating results and financial condition could be materially harmed by regulatory uncertainty applicable to our
  products and services.
  Changes in regulatory requirements applicable to the industries in which we operate, in the United States and in other countries, could
  materially affect the sales of our products and services. In particular, changes in telecommunications regulations could impact our
  service provider customers’ purchase of our products and offers, and they could also impact sales of our own regulated offers. In
  addition, evolving legal requirements restricting or controlling the collection, processing, or cross-border transmission of data,
  including regulation of cloud-based services, could materially affect our customers’ ability to use, and our ability to sell, our products
  and offers. Additional areas of uncertainty that could impact sales of our products and offers include laws and regulations related to
  encryption technology, environmental sustainability (including climate change), export control,
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  product certification, and national security controls applicable to our supply chain. For example, new laws and regulations in response
  to climate change could result in increased energy efficiency for our products and increased compliance and energy costs. Changes in
  regulatory requirements in any of these areas could have a material adverse effect on our business, operating results, and financial
  condition.
  Risks Related to Ownership of Our Stock
  Our stock price may be volatile.
  Historically, our common stock has experienced substantial price volatility, particularly as a result of variations between our actual
  financial results and the published expectations of analysts and as a result of announcements by our competitors and us. Furthermore,
  speculation in the press or investment community about our strategic position, financial condition, results of operations, business,
  security of our products, or significant transactions can cause changes in our stock price. In addition, the stock market has experienced
  extreme price and volume fluctuations that have affected the market price of many technology companies, in particular, and that have
  often been unrelated to the operating performance of these companies. These factors, as well as general economic and political
  conditions and the announcement of proposed and completed acquisitions or other significant transactions, or any difficulties
  associated with such transactions, by us or our current or potential competitors, may materially adversely affect the market price of our
  common stock in the future. Additionally, volatility, lack of positive performance in our stock price or changes to our overall
  compensation program, including our stock incentive program, may adversely affect our ability to retain key employees, virtually all of
  whom are compensated, in part, based on the performance of our stock price.


  Item 1B.          Unresolved Staff Comments

  None.


  Item 2.           Properties

  Our corporate headquarters are located at an owned site in San Jose, California, in the United States of America. The locations of our
  headquarters by geographic segment are as follows:

                     Americas                                    EMEA                                            APJC
             San Jose, California, USA                    Amsterdam, Netherlands                               Singapore

   In addition to our headquarters site, we own additional sites in the United States, which include facilities in the surrounding areas of
   San Jose, California; Research Triangle Park, North Carolina; Richardson, Texas; and Lawrenceville, Georgia. We also own land for
   expansion in some of these locations. In addition, we lease office space in many U.S. locations.
   Outside the United States our operations are conducted primarily in leased sites. Other significant sites (in addition to the two non-
   U.S. headquarters locations) are located in Australia, Belgium, Canada, China, Germany, India, Japan, Mexico, Poland, and the
   United Kingdom.
   We believe that our existing facilities, including both owned and leased, are in good condition and suitable for the conduct of our
   business.


  Item 3.           Legal Proceedings

  For a description of pending legal proceedings in which we are involved, see Note 14 “Commitments and Contingencies - (f) Legal
  Proceedings” of the Notes to Consolidated Financial Statements included in Item 8 of this Annual Report on Form 10-K, which is
  incorporated herein by reference.


  Item 4.           Mine Safety Disclosures

  Not applicable.


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                                                                      PART II
  Item 5. Market for Registrant’s Common Equity, Related Stockholder Matters, and Issuer Purchases of Equity Securities

   (a)     Cisco common stock is traded on the Nasdaq Global Select Market under the symbol CSCO. There were 36,408 registered
           stockholders as of September 3, 2021.
   (b)     None.
   (c)     Issuer purchases of equity securities (in millions, except per-share amounts):
                                                                                                                              Approximate Dollar
                                                                                                                                Value of Shares
                                                            Total                                Total Number of Shares          That May Yet
                                                          Number of                               Purchased as Part of           Be Purchased
                                                           Shares           Average Price Paid    Publicly Announced          Under the Plans or
  Period                                                  Purchased             per Share          Plans or Programs              Programs
  May 2, 2021 to May 29, 2021                                      5    $               52.50                         5   $                8,477
  May 30, 2021 to June 26, 2021                                    4    $               53.50                         4   $                8,240
  June 27, 2021 to July 31, 2021                                   6    $               53.82                         6   $                7,940
  Total                                                           15    $               53.30                        15

  On September 13, 2001, we announced that our Board of Directors had authorized a stock repurchase program. As of July 31, 2021,
  the remaining authorized amount for stock repurchases under this program is approximately $7.9 billion with no termination date.
  For the majority of restricted stock units granted, the number of shares issued on the date the restricted stock units vest is net of shares
  withheld to meet applicable tax withholding requirements. Although these withheld shares are not issued or considered common stock
  repurchases under our stock repurchase program and therefore are not included in the preceding table, they are treated as common
  stock repurchases in our financial statements as they reduce the number of shares that would have been issued upon vesting (see Note
  15 to the Consolidated Financial Statements).




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  Stock Performance Graph
  The information contained in this Stock Performance Graph section shall not be deemed to be “soliciting material” or “filed” or
  incorporated by reference in future filings with the SEC, or subject to the liabilities of Section 18 of the Securities Exchange Act of
  1934, as amended (the “Exchange Act”), except to the extent that Cisco specifically incorporates it by reference into a document filed
  under the Securities Act of 1933, as amended, or the Exchange Act.
  The following graph shows a five-year comparison of the cumulative total stockholder return on Cisco common stock with the
  cumulative total returns of the S&P 500 Index, and the S&P Information Technology Index. The graph tracks the performance of a
  $100 investment in the Company’s common stock and in each of the indexes (with the reinvestment of all dividends) on the date
  specified. Stockholder returns over the indicated period are based on historical data and should not be considered indicative of future
  stockholder returns.

                             Comparison of 5-Year Cumulative Total Return Among Cisco Systems, Inc.,
                                 the S&P 500 Index, and the S&P Information Technology Index




                                            July 2016        July 2017            July 2018        July 2019        July 2020        July 2021
  Cisco Systems, Inc.                   $       100.00   $       106.89       $       149.02   $       203.37   $       172.26   $        212.11
  S&P 500                               $       100.00   $       116.13       $       134.99   $       147.86   $       160.26   $        222.51
  S&P Information Technology            $       100.00   $       130.17       $       168.84   $       196.81   $       254.67   $        374.44




  Item 6.           [Reserved]




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  Item 7.           Management’s Discussion and Analysis of Financial Condition and Results of Operations

  Forward-Looking Statements
  This Annual Report on Form 10-K, including this Management’s Discussion and Analysis of Financial Condition and Results of
  Operations, contains forward-looking statements regarding future events and our future results that are subject to the safe harbors
  created under the Securities Act of 1933, as amended (the “Securities Act”) and the Securities Exchange Act of 1934, as amended (the
  “Exchange Act”). All statements other than statements of historical facts are statements that could be deemed forward-looking
  statements. These statements are based on current expectations, estimates, forecasts, and projections about the industries in which we
  operate and the beliefs and assumptions of our management. Words such as “expects,” “anticipates,” “targets,” “goals,” “projects,”
  “intends,” “plans,” “believes,” “momentum,” “seeks,” “estimates,” “continues,” “endeavors,” “strives,” “may,” variations of such
  words, and similar expressions are intended to identify such forward-looking statements. In addition, any statements that refer to
  projections of our future financial performance, our anticipated growth and trends in our businesses, future responses to and effects of
  the COVID-19 pandemic, and other characterizations of future events or circumstances are forward-looking statements. Readers are
  cautioned that these forward-looking statements are only predictions and are subject to risks, uncertainties, and assumptions that are
  difficult to predict, including those under “Part I, Item 1A. Risk Factors,” and elsewhere herein. Therefore, actual results may differ
  materially and adversely from those expressed in any forward-looking statements. We undertake no obligation to revise or update any
  forward-looking statements for any reason.

  OVERVIEW
  Cisco designs and sells a broad range of technologies that power the Internet. We are integrating our platforms across networking,
  security, collaboration, applications and the cloud. These platforms are designed to help our customers manage more users, devices and
  things connecting to their networks. This will enable us to provide customers with a highly secure, intelligent platform for their digital
  business.
  A summary of our results is as follows (in millions, except percentages and per-share amounts):
                                                  Three Months Ended                                      Years Ended
                                      July 31, 2021 July 25, 2020       Variance          July 31, 2021   July 25, 2020    Variance
  Revenue                             $   13,126      $   12,154               8%         $   49,818      $   49,301             1%
  Gross margin percentage                   63.6 %          63.2 %           0.4 pts            64.0 %          64.3 %        (0.3) pts
  Research and development            $    1,713      $    1,565               9%         $    6,549      $    6,347             3%
  Sales and marketing                 $    2,448      $    2,218             10 %         $    9,259      $    9,169             1%
  General and administrative          $      521      $      494               5%         $    2,152      $    1,925            12 %
  Total R&D, sales and marketing,
  general and administrative          $    4,682   $       4,277               9%    $        17,960   $      17,441             3%
  Total as a percentage of revenue          35.7 %          35.2 %           0.5 pts            36.1 %          35.4 %         0.7 pts
  Amortization of purchased
  intangible assets included in
  operating expenses                  $       79      $       33            139 %         $     215       $     141             52 %
  Restructuring and other charges
  included in operating expenses      $        8      $      127            (94)%         $     886       $     481             84 %
  Operating income as a percentage
  of revenue                                27.2 %          26.7 %           0.5    pts        25.8 %           27.6 %        (1.8)    pts
  Interest and other income (loss),
  net                                 $      160   $          59            171 %     $          429   $         350           23 %
  Income tax percentage                     19.4 %          20.3 %          (0.9) pts           20.1 %          19.7 %         0.4 pts
  Net income                          $    3,009   $       2,636              14 %    $       10,591   $      11,214            (6)%
  Net income as a percentage of
  revenue                                   22.9 %          21.7 %           1.2 pts           21.3 %           22.7 %        (1.4) pts
  Earnings per share—diluted          $     0.71   $        0.62             15 %    $         2.50   $         2.64            (5)%




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  Fiscal 2021 Compared with Fiscal 2020
  In fiscal 2021, we delivered growth in revenue in a very challenging environment. As customers have accelerated their digitization and
  cloud investments stemming from the COVID-19 pandemic, we focused on executing and innovating to support and assist that
  transition. In the second half of fiscal 2021, we began to see customers prepare for office re-openings and hybrid work by increasing
  investments in their technologies. Total revenue increased by 1% compared with fiscal 2020. Our product revenue reflected growth in
  Security, partially offset by declines in Applications. Infrastructure Platforms was flat. We continued to make progress in the transition
  of our business model delivering increased software and subscriptions. We remain focused on accelerating innovation across our
  portfolio, and we believe that we have made continued progress on our strategic priorities. We continue to operate in a challenging
  macroeconomic and highly competitive environment. While the overall environment remains uncertain, we continue to aggressively
  invest in priority areas with the objective of driving profitable growth over the long term.
  Within total revenue, product revenue was flat and service revenue increased by 4%. Fiscal 2021 had 53 weeks, compared with 52
  weeks in fiscal 2020, thus our results for fiscal 2021 reflect an extra week compared with fiscal 2020. We estimate that a majority of
  our revenue increase was attributable to the extra week. In fiscal 2021, total software revenue was $15.0 billion across all product areas
  and service, an increase of 7%. Within total software revenue, subscription revenue increased 15%. Total gross margin decreased by
  0.3 percentage points. Product gross margin decreased by 0.2 percentage points, due to lower productivity benefits largely driven by
  ongoing costs related to supply chain constraints. The effect of pricing erosion was moderate. We have partnered with several of our
  key suppliers utilizing our volume purchasing and extending supply coverage, including revising supplier arrangements, to address
  supply chain challenges. As a percentage of revenue, research and development, sales and marketing, and general and administrative
  expenses, collectively, increased by 0.7 percentage points. The total impact associated with the extra week on our cost of sales and
  operating expenses was approximately $150 million (excluding the impact of share-based compensation expense). Operating income as
  a percentage of revenue decreased by 1.8 percentage points. We incurred restructuring and other charges of $886 million, which
  resulted in a decrease of 6% in net income and a decrease of 5% in diluted earnings per share.
  In terms of our geographic segments, revenue from the Americas decreased by $0.1 billion, EMEA revenue increased by $0.3 billion
  and revenue in our APJC segment increased by $0.4 billion. The “BRICM” countries experienced a product revenue decline of 6% in
  the aggregate, driven by a decrease in product revenue across each of the BRICM countries with the exception of India.
  From a customer market standpoint, we experienced product revenue growth in the public sector and service provider markets partially
  offset by declines in the enterprise and commercial markets. As fiscal 2021 progressed, we saw improvement in business momentum in
  our customer markets, which we believe was related to an improving global macroeconomic environment.
  From a product category perspective, total product revenue was flat year over year, driven by growth in revenue in Security of 7%,
  offset by a product revenue decline in Applications of 1%. Infrastructure Platforms was flat.



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  Fourth Quarter Snapshot
  For the fourth quarter of fiscal 2021, as compared with the fourth quarter of fiscal 2020, total revenue increased by 8%. Within total
  revenue, product revenue increased by 10% and service revenue increased by 3%. With regard to our geographic segment performance,
  on a year-over-year basis, revenue in the Americas, EMEA and APJC increased by 8%, 6% and 13%, respectively. From a product
  category perspective, we experienced product revenue growth in Infrastructure Platforms and Security, offset by declines in
  Applications. Total gross margin increased by 0.4 percentage points, driven by productivity benefits, and to a lesser extent, favorable
  product mix, partially offset by pricing erosion. As a percentage of revenue, research and development, sales and marketing, and
  general and administrative expenses collectively increased by 0.5 percentage points. Operating income as a percentage of revenue
  increased by 0.5 percentage points. Net income increased by 14% and diluted earnings per share increased by 15%.
  COVID-19 Pandemic Response Summary
  During this extraordinary time, our priority has been supporting our employees, customers, partners and communities, while
  positioning Cisco for the future. The pandemic has driven organizations across the globe to digitize their operations and support remote
  workforces at a faster speed and greater scale than ever before. We remain focused on providing the technology and solutions our
  customers need to accelerate their digital organizations. The actions we have taken and are taking include:
  Employees
      •    Most of our global workforce is working from home.
      •    Seamless transition to work from home with a long-standing flexible work policy, and we build the technologies that allow
           organizations to stay connected, secure and productive.
      •    For the remainder who must be in the office to perform their roles, we are focused on their health and safety, and are taking all
           of the necessary precautions.
  Customer and Partners
      •    Provided a variety of free offers and trials for our Webex and security technologies as they dramatically shifted entire
           workforces to be remote.
  Communities
      •    Committed significant funds to support both global and local pandemic response efforts.
      •    Provided technology and financial support for non-profits, first responders, and governments.
      •    Donated personal protective equipment to hospital workers including N95 masks and face shields 3D-printed by Cisco
           volunteers around the world.
  We are moving towards a hybrid work model, giving our employees the flexibility to work offsite or at onsite Cisco locations.
  Strategy and Priorities
  As our customers add billions of new connections to their enterprises, and as more applications move to a multicloud environment, the
  network becomes even more critical. Our customers are navigating change at an unprecedented pace and our mission is to shape the
  future of the Internet by inspiring new possibilities for them by helping transform their infrastructure, expand applications and
  analytics, address their security needs, and empower their teams. We believe that our customers are looking for outcomes that are data-
  driven and provide meaningful business value through automation, security, and analytics across private, hybrid, and multicloud
  environments. Our strategy is to help our customers connect, secure, and automate in order to accelerate their digital agility in a cloud-
  first world.
  For a full discussion of our strategy and priorities, see “Item 1. Business.”
  Other Key Financial Measures
  The following is a summary of our other key financial measures for fiscal 2021 compared with fiscal 2020 (in millions):

                                                                                                   Fiscal 2021            Fiscal 2020
  Cash and cash equivalents and investments                                                          $24,518                $29,419
  Cash provided by operating activities                                                              $15,454                $15,426
  Deferred revenue                                                                                   $22,164                $20,446
  Repurchases of common stock—stock repurchase program                                               $2,902                 $2,619
  Dividends paid                                                                                     $6,163                 $6,016
  Inventories                                                                                        $1,559                 $1,282

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  CRITICAL ACCOUNTING ESTIMATES
  The preparation of financial statements and related disclosures in conformity with accounting principles generally accepted in the
  United States requires us to make judgments, assumptions and estimates that affect the amounts reported in the Consolidated Financial
  Statements and accompanying notes. Note 2 to the Consolidated Financial Statements describes the significant accounting policies and
  methods used in the preparation of the Consolidated Financial Statements. The accounting policies described below are significantly
  affected by critical accounting estimates. Such accounting policies require significant judgments, assumptions, and estimates used in
  the preparation of the Consolidated Financial Statements, and actual results could differ materially from the amounts reported based on
  these policies.
  The inputs into certain of our judgments, assumptions and estimates considered the economic implications of the COVID-19 pandemic
  on our critical and significant accounting estimates. The COVID-19 pandemic did not have a material impact on our significant
  judgments, assumptions and estimates that are reflected in our results for fiscal 2021. These estimates include: goodwill and identified
  purchased intangible assets and income taxes, among other items. The actual results that we experience may differ materially from our
  estimates. As the COVID-19 pandemic continues, many of our estimates could require increased judgment and carry a higher degree of
  variability and volatility. As events continue to evolve our estimates may change materially in future periods.
  Revenue Recognition
  We enter into contracts with customers that can include various combinations of products and services which are generally distinct and
  accounted for as separate performance obligations. As a result, our contracts may contain multiple performance obligations. We
  determine whether arrangements are distinct based on whether the customer can benefit from the product or service on its own or
  together with other resources that are readily available and whether our commitment to transfer the product or service to the customer
  is separately identifiable from other obligations in the contract. We classify our hardware, perpetual software licenses, and SaaS as
  distinct performance obligations. Term software licenses represent multiple obligations, which include software licenses and software
  maintenance. In transactions where we deliver hardware or software, we are typically the principal and we record revenue and costs of
  goods sold on a gross basis.
  We recognize revenue upon transfer of control of promised goods or services in a contract with a customer in an amount that reflects
  the consideration we expect to receive in exchange for those products or services. Transfer of control occurs once the customer has the
  contractual right to use the product, generally upon shipment, electronic delivery (or when the software is available for download by
  the customer), or once title and risk of loss has transferred to the customer. Transfer of control can also occur over time for software
  maintenance and services as the customer receives the benefit over the contract term. Our hardware and perpetual software licenses are
  distinct performance obligations where revenue is recognized upfront upon transfer of control. Term software licenses include multiple
  performance obligations where the term licenses are recognized upfront upon transfer of control, with the associated software
  maintenance revenue recognized ratably over the contract term as services and software updates are provided. SaaS arrangements do
  not include the right for the customer to take possession of the software during the term, and therefore have one distinct performance
  obligation which is satisfied over time with revenue recognized ratably over the contract term as the customer consumes the services.
  On our product sales, we record consideration from shipping and handling on a gross basis within net product sales. We record our
  revenue net of any associated sales taxes.
  Revenue is allocated among these performance obligations in a manner that reflects the consideration that we expect to be entitled to
  for the promised goods or services based on standalone selling prices (SSP). SSP is estimated for each distinct performance obligation
  and judgment may be required in their determination. The best evidence of SSP is the observable price of a product or service when we
  sell the goods separately in similar circumstances and to similar customers. In instances where SSP is not directly observable, we
  determine SSP using information that may include market conditions and other observable inputs.
  We assess relevant contractual terms in our customer contracts to determine the transaction price. We apply judgment in identifying
  contractual terms and determining the transaction price as we may be required to estimate variable consideration when determining the
  amount of revenue to recognize. Variable consideration includes potential contractual penalties and various rebate, cooperative
  marketing and other incentive programs that we offer to our distributors, channel partners and customers. When determining the
  amount of revenue to recognize, we estimate the expected usage of these programs, applying the expected value or most likely estimate
  and update the estimate at each reporting period as actual utilization becomes available. We also consider the customers' right of return
  in determining the transaction price, where applicable. If actual credits received by distributors under these programs were to deviate
  significantly from our estimates, which are based on historical experience, our revenue could be adversely affected.
  See Note 3 to the Consolidated Financial Statements for more details.




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  Loss Contingencies
  We are subject to the possibility of various losses arising in the ordinary course of business. We consider the likelihood of the
  incurrence of a liability, as well as our ability to reasonably estimate the amount of loss, in determining loss contingencies. An
  estimated loss contingency is accrued when it is probable that a liability has been incurred and the amount of loss can be reasonably
  estimated. We regularly evaluate information available to us to determine whether such accruals should be made or adjusted and
  whether new accruals are required.
  Third parties, including customers, have in the past and may in the future assert claims or initiate litigation related to exclusive patent,
  copyright, trademark, and other intellectual property rights to technologies and related standards that are relevant to us. These
  assertions have increased over time as a result of our growth and the general increase in the pace of patent claims assertions,
  particularly in the United States. If any infringement or other intellectual property claim made against us by any third party is
  successful, or if we fail to develop non-infringing technology or license the proprietary rights on commercially reasonable terms and
  conditions, our business, operating results, and financial condition could be materially and adversely affected.
  Goodwill and Purchased Intangible Asset Impairments
  Our methodology for allocating the purchase price relating to purchase acquisitions is determined through established valuation
  techniques. Goodwill represents a residual value as of the acquisition date, which in most cases results in measuring goodwill as an
  excess of the purchase consideration transferred plus the fair value of any noncontrolling interest in the acquired company over the fair
  value of net assets acquired, including contingent consideration. We perform goodwill impairment tests on an annual basis in the fourth
  fiscal quarter and between annual tests in certain circumstances for each reporting unit. The assessment of fair value for goodwill and
  purchased intangible assets is based on factors that market participants would use in an orderly transaction in accordance with the new
  accounting guidance for the fair value measurement of nonfinancial assets.
  In response to changes in industry and market conditions, we could be required to strategically realign our resources and consider
  restructuring, disposing of, or otherwise exiting businesses, which could result in an impairment of goodwill. There was no impairment
  of goodwill in fiscal 2021, 2020, and 2019. For the annual impairment testing in fiscal 2021, the excess of the fair value over the
  carrying value for each of our reporting units was $80.3 billion for the Americas, $73.0 billion for EMEA, and $33.2 billion for APJC.
  During the fourth quarter of fiscal 2021, we performed a sensitivity analysis for goodwill impairment with respect to each of our
  respective reporting units and determined that a hypothetical 10% decline in the fair value of each reporting unit would not result in an
  impairment of goodwill for any reporting unit.
  The fair value of acquired technology and patents, as well as acquired technology under development, is determined at acquisition date
  primarily using the income approach, which discounts expected future cash flows to present value. The discount rates used in the
  present value calculations are typically derived from a weighted-average cost of capital analysis and then adjusted to reflect risks
  inherent in the development lifecycle as appropriate. We consider the pricing model for products related to these acquisitions to be
  standard within the high-technology communications industry, and the applicable discount rates represent the rates that market
  participants would use for valuation of such intangible assets.
  We make judgments about the recoverability of purchased intangible assets with finite lives whenever events or changes in
  circumstances indicate that an impairment may exist. Recoverability of purchased intangible assets with finite lives is measured by
  comparing the carrying amount of the asset to the future undiscounted cash flows the asset is expected to generate. We review
  indefinite-lived intangible assets for impairment annually or whenever events or changes in circumstances indicate that the asset might
  be impaired. If the asset is considered to be impaired, the amount of any impairment is measured as the difference between the carrying
  value and the fair value of the impaired asset. Assumptions and estimates about future values and remaining useful lives of our
  purchased intangible assets are complex and subjective. They can be affected by a variety of factors, including external factors such as
  industry and economic trends, and internal factors such as changes in our business strategy and our internal forecasts. Our ongoing
  consideration of all the factors described previously could result in impairment charges in the future, which could adversely affect our
  net income.
  Income Taxes
  We are subject to income taxes in the United States and numerous foreign jurisdictions. Our effective tax rates differ from the statutory
  rate, primarily due to the tax impact of state taxes, foreign operations, R&D tax credits, foreign-derived intangible income deductions,
  global intangible low-taxed income, tax audit settlements, nondeductible compensation, international realignments, and transfer pricing
  adjustments. Our effective tax rate was 20.1%, 19.7%, and 20.2% in fiscal 2021, 2020, and 2019, respectively.



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  Significant judgment is required in evaluating our uncertain tax positions and determining our provision for income taxes. Although we
  believe our reserves are reasonable, no assurance can be given that the final tax outcome of these matters will not be different from that
  which is reflected in our historical income tax provisions and accruals. We adjust these reserves in light of changing facts and
  circumstances, such as the closing of a tax audit or the refinement of an estimate. To the extent that the final tax outcome of these
  matters is different than the amounts recorded, such differences will impact the provision for income taxes in the period in which such
  determination is made. The provision for income taxes includes the impact of reserve provisions and changes to reserves that are
  considered appropriate, as well as the related net interest and penalties.
  Significant judgment is also required in determining any valuation allowance recorded against deferred tax assets. In assessing the need
  for a valuation allowance, we consider all available evidence, including past operating results, estimates of future taxable income, and
  the feasibility of tax planning strategies. In the event that we change our determination as to the amount of deferred tax assets that can
  be realized, we will adjust our valuation allowance with a corresponding impact to the provision for income taxes in the period in
  which such determination is made.
  Our provision for income taxes is subject to volatility and could be adversely impacted by earnings being lower than anticipated in
  countries that have lower tax rates and higher than anticipated in countries that have higher tax rates; by changes in the valuation of our
  deferred tax assets and liabilities; by changes to foreign-derived intangible income deduction, global intangible low-tax income and
  base erosion and anti-abuse tax laws, regulations, or interpretations thereof; by expiration of or lapses in tax incentives; by transfer
  pricing adjustments, including the effect of acquisitions on our legal structure; by tax effects of nondeductible compensation; by tax
  costs related to intercompany realignments; by changes in accounting principles; or by changes in tax laws and regulations, treaties, or
  interpretations thereof, including changes to the taxation of earnings of our foreign subsidiaries, the deductibility of expenses
  attributable to foreign income, and the foreign tax credit rules. Significant judgment is required to determine the recognition and
  measurement attributes prescribed in the accounting guidance for uncertainty in income taxes. The Organisation for Economic Co-
  operation and Development (OECD), an international association comprised of 38 countries, including the United States, has made
  changes and is contemplating additional changes to numerous long-standing tax principles. There can be no assurance that these
  changes and any contemplated changes if finalized, once adopted by countries, will not have an adverse impact on our provision for
  income taxes. As a result of certain of our ongoing employment and capital investment actions and commitments, our income in certain
  countries was subject to reduced tax rates. Our failure to meet these commitments could adversely impact our provision for income
  taxes. In addition, we are subject to the continuous examination of our income tax returns by the Internal Revenue Service (IRS) and
  other tax authorities. We regularly assess the likelihood of adverse outcomes resulting from these examinations to determine the
  adequacy of our provision for income taxes. There can be no assurance that the outcomes from these continuous examinations will not
  have an adverse impact on our operating results and financial condition.




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  RESULTS OF OPERATIONS
  A discussion regarding our financial condition and results of operations for fiscal 2021 compared to fiscal 2020 is presented below. A
  discussion regarding our financial condition and results of operations for fiscal 2020 compared to fiscal 2019 can be found under Item
  7 in our Annual Report on Form 10-K for the fiscal year ended July 25, 2020, filed with the SEC on September 3, 2020.
  Revenue
  The following table presents the breakdown of revenue between product and service (in millions, except percentages):
                                                                         Years Ended                                 2021 vs. 2020
                                                                                                             Variance in       Variance in
                                                   July 31, 2021         July 25, 2020     July 27, 2019      Dollars            Percent
  Revenue:
   Product                                     $           36,014   $         35,978   $        39,005   $            36               —%
   Percentage of revenue                                     72.3 %             73.0 %            75.1 %
   Service                                                 13,804             13,323            12,899               481                 4%
   Percentage of revenue                                     27.7 %             27.0 %            24.9 %
        Total                                  $           49,818   $         49,301   $        51,904   $           517                 1%

  We manage our business primarily on a geographic basis, organized into three geographic segments. Our revenue, which includes
  product and service for each segment, is summarized in the following table (in millions, except percentages):
                                                                          Years Ended                                2021 vs. 2020
                                                                                                             Variance in       Variance in
                                                       July 31, 2021     July 25, 2020     July 27, 2019      Dollars            Percent
  Revenue:
   Americas                                        $        29,161   $        29,291   $        30,927   $          (130)               —%
   Percentage of revenue                                      58.5 %            59.4 %            59.6 %
   EMEA                                                     12,951            12,659            13,100               292                 2%
   Percentage of revenue                                      26.0 %            25.7 %            25.2 %
   APJC                                                      7,706             7,352             7,877               354                 5%
   Percentage of revenue                                      15.5 %            14.9 %            15.2 %
         Total                                     $        49,818   $        49,301   $        51,904   $           517                 1%

  Amounts may not sum and percentages may not recalculate due to rounding.
  Total revenue in fiscal 2021 increased by 1% compared with fiscal 2020. Product revenue was flat and service revenue increased by
  4%. Our total revenue reflected growth in EMEA and APJC. Americas was flat. Product revenue for the emerging countries of
  BRICM, in the aggregate, experienced a 6% product revenue decline, with decreases in each of these countries with the exception of
  India.
  In addition to the impact of macroeconomic factors, including the IT spending environment and the level of spending by government
  entities, revenue by segment in a particular period may be significantly impacted by several factors related to revenue recognition,
  including the complexity of transactions such as multiple performance obligations; the mix of financing arrangements provided to
  channel partners and customers; and final acceptance of the product, system, or solution, among other factors. In addition, certain
  customers tend to make large and sporadic purchases, and the revenue related to these transactions may also be affected by the timing
  of revenue recognition, which in turn would impact the revenue of the relevant segment.




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  Product Revenue by Segment
  The following table presents the breakdown of product revenue by segment (in millions, except percentages):
                                                                        Years Ended                                 2021 vs. 2020
                                                                                                            Variance in       Variance in
                                                     July 31, 2021     July 25, 2020      July 27, 2019      Dollars            Percent
  Product revenue:
   Americas                                      $        20,688   $        21,006   $         22,754   $          (318)              (2)%
   Percentage of product revenue                            57.5 %            58.4 %             58.3 %
   EMEA                                                    9,805             9,647             10,246               158                 2%
   Percentage of product revenue                            27.2 %            26.8 %             26.3 %
   APJC                                                    5,521             5,326              6,005               195                 4%
   Percentage of product revenue                            15.3 %            14.8 %             15.4 %
       Total                                     $        36,014   $        35,978   $         39,005   $            36               —%

  Amounts may not sum and percentages may not recalculate due to rounding.
  Americas
  Product revenue in the Americas segment decreased by 2%. The product revenue decrease was driven by declines in the enterprise and
  commercial markets, partially offset by growth in the public sector and service provider markets. From a country perspective, product
  revenue decreased by 1% in the United States, 18% in Mexico, and 9% in Brazil, partially offset by a product revenue increase of 4%
  in Canada.
  EMEA
  The increase in product revenue in the EMEA segment of 2% was driven by growth in the service provider and public sector markets,
  partially offset by declines in the commercial and enterprise markets. Product revenue from emerging countries within EMEA
  decreased by 7%, and product revenue for the remainder of the EMEA segment, which primarily consists of countries in Western
  Europe, increased by 4%. From a country perspective, product revenue increased by 4% in Germany, partially offset by declines in the
  United Kingdom and France by 1% and 2%, respectively.
  APJC
  Product revenue in the APJC segment increased by 4%, driven by growth in the public sector, service provider and enterprise markets,
  partially offset by declines in the commercial market. From a country perspective, product revenue increased in Japan, Australia and
  India by 11%, 6% and 3%, respectively, partially offset by a decline of 4% in China.




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  Product Revenue by Category
  In addition to the primary view on a geographic basis, we also prepare financial information related to product categories and customer
  markets for various purposes. We report our product revenue in the following categories: Infrastructure Platforms, Applications,
  Security, and Other Products.
  The following table presents product revenue by category (in millions, except percentages):
                                                                            Years Ended                                      2021 vs. 2020
                                                                                                                    Variance in        Variance in
                                                        July 31, 2021       July 25, 2020       July 27, 2019        Dollars             Percent
  Product revenue:
   Infrastructure Platforms                         $         27,109    $         27,219    $         30,184    $          (110)               —%
   Applications                                                5,504               5,568               5,803                (64)               (1)%
   Security                                                    3,382               3,158               2,822                224                 7%
   Other Products                                                 19                  33                 196                (14)              (43)%
       Total                                        $         36,014    $         35,978    $         39,005    $            36                 —%

  Amounts may not sum and percentages may not recalculate due to rounding. Prior period amounts have been reclassified to conform to
  the current period’s presentation.
  Infrastructure Platforms
  The Infrastructure Platforms product category represents our core networking offerings related to switching, routing, wireless, and the
  data center. Infrastructure Platforms revenue was flat compared to fiscal 2020, with growth in routing and wireless, offset by declines
  in switching and data center. This was the product area most impacted by the COVID-19 pandemic environment in the first half of
  fiscal 2021. Switching revenue declined in both campus switching and data center switching, although we had strong revenue growth
  in our Catalyst 9000 Series, Meraki switching offerings and Nexus 9000 Series. We experienced an increase in sales of routing
  products, with growth primarily in the service provider market. Wireless had strong growth driven by our Meraki and WiFi-6 products.
  Revenue from data center declined driven by continued market contraction impacting primarily our servers products.
  Applications
  The Applications product category includes our collaboration offerings (unified communications, Cisco TelePresence and
  conferencing) as well as IoT and AppDynamics analytics software offerings. Revenue in our Applications product category decreased
  by 1%, or $64 million, with a decline in Unified Communications and Cisco TelePresence partially offset by double digit growth in IoT
  software offerings and growth in Webex.
  Security
  Revenue in our Security product category increased 7%, or $224 million. Revenue from our cloud security portfolio reflected strong
  double-digit growth and continued momentum with our Duo and Umbrella offerings.




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  Service Revenue by Segment
  The following table presents the breakdown of service revenue by segment (in millions, except percentages):
                                                                                  Years Ended                                       2021 vs. 2020
                                                                                                                            Variance in       Variance in
                                                            July 31, 2021        July 25, 2020         July 27, 2019         Dollars            Percent
  Service revenue:
   Americas                                             $         8,472      $          8,285      $         8,173      $           187                 2%
        Percentage of service revenue                               61.4 %                62.2 %               63.4 %
        EMEA                                                      3,146                 3,012                2,854                  134                 4%
        Percentage of service revenue                               22.8 %                22.6 %               22.1 %
        APJC                                                      2,186                 2,026                1,872                  160                 8%
        Percentage of service revenue                               15.8 %                15.2 %               14.5 %
           Total                                        $        13,804      $         13,323      $        12,899      $           481                 4%

  Amounts may not sum and percentages may not recalculate due to rounding.
  Service revenue increased 4%, driven by growth in our maintenance business and solution support offerings. Service revenue increased
  across all geographic segments. Service revenue benefited from the extra week in fiscal 2021.


  Gross Margin
  The following table presents the gross margin for products and services (in millions, except percentages):
                                                              AMOUNT                                                    PERCENTAGE
  Years Ended                           July 31, 2021        July 25, 2020       July 27, 2019     July 31, 2021         July 25, 2020       July 27, 2019
  Gross margin:
      Product                           $     22,714        $      22,779    $         24,142               63.1 %               63.3 %              61.9 %
      Service                                  9,180                8,904               8,524               66.5 %               66.8 %              66.1 %
               Total                    $     31,894        $      31,683    $         32,666               64.0 %               64.3 %              62.9 %

  Product Gross Margin
  The following table summarizes the key factors that contributed to the change in product gross margin percentage from fiscal 2020 to
  fiscal 2021:
                                                                                                                                             Product
                                                                                                                                           Gross Margin
                                                                                                                                            Percentage
  Fiscal 2020                                                                                                                                        63.3 %
  Productivity (1)                                                                                                                                    0.8 %
  Product pricing                                                                                                                                    (1.2)%
  Mix of products sold                                                                                                                                0.6 %
  Legal and indemnification charge                                                                                                                   (0.1)%
  Others                                                                                                                                             (0.3)%
  Fiscal 2021                                                                                                                                        63.1 %

  (1)
    Productivity includes overall manufacturing-related costs, such as component costs, warranty expense, provision for inventory, freight, logistics,
  shipment volume, and other items not categorized elsewhere.
  Product gross margin decreased by 0.2 percentage points driven by pricing erosion, partially offset by favorable product mix and lower
  productivity benefits. The effect of pricing erosion was moderate driven by typical market factors and impacted each of our geographic
  segments. Productivity improvements were adversely impacted by ongoing costs related to supply chain constraints. The favorable mix
  was driven by changes in the proportion of products sold from each of our product categories.
  During fiscal 2021, we continued to manage through supply chain challenges seen industry wide due to component shortages, caused
  in part by the COVID-19 pandemic. These challenges resulted in increased costs (i.e. component costs, broker fees,

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  expedited freight and overtime) which had a negative impact on product gross margin, and extended lead times to us and our
  customers. We have partnered with several of our key suppliers utilizing our volume purchasing and extending supply coverage,
  including revising supplier arrangements, to address supply chain challenges. We believe these actions will enable us to optimize our
  access to critical components, including semiconductors. We expect these supply chain challenges to continue through at least the first
  half of fiscal 2022 and potentially into the second half of fiscal 2022.
  Productivity improvements were driven by memory cost savings and other cost reductions including value engineering efforts (e.g.
  component redesign, board configuration, test processes and transformation processes) and continued operational efficiency in
  manufacturing operations.
  Service Gross Margin
  Our service gross margin percentage decreased by 0.3 percentage points primarily due to higher headcount-related and delivery costs,
  partially offset by higher sales volume and to a lesser extent, favorable mix of service offerings.
  Our service gross margin normally experiences some fluctuations due to various factors such as the timing of contract initiations in our
  renewals, our strategic investments in headcount, and the resources we deploy to support the overall service business. Other factors
  include the mix of service offerings, as the gross margin from our advanced services is typically lower than the gross margin from
  technical support services.
  Gross Margin by Segment
  The following table presents the total gross margin for each segment (in millions, except percentages):
                                                                   AMOUNT                                                       PERCENTAGE
   Years Ended                                July 31, 2021       July 25, 2020       July 27, 2019        July 31, 2021         July 25, 2020         July 27, 2019
   Gross margin:
    Americas                        $                19,499 $            19,547 $            20,338                 66.9 %                66.7 %                65.8 %
    EMEA                                              8,466               8,304               8,457                 65.4 %                65.6 %                64.6 %
    APJC                                              4,949               4,688               4,683                 64.2 %                63.8 %                59.5 %
    Segment total                                    32,914              32,538              33,479                 66.1 %                66.0 %                64.5 %
    Unallocated corporate items (1)                  (1,020)               (855)               (813)
       Total                        $                31,894 $            31,683 $            32,666                 64.0 %                64.3 %                62.9 %
  (1)
     The unallocated corporate items include the effects of amortization and impairments of acquisition-related intangible assets, share-based compensation expense,
  significant litigation settlements and other contingencies, charges related to asset impairments and restructurings, and certain other charges. We do not allocate these
  items to the gross margin for each segment because management does not include such information in measuring the performance of the operating segments.

  Amounts may not sum and percentages may not recalculate due to rounding.
  We experienced a gross margin percentage increase in our Americas segment due to favorable product mix and productivity
  improvements, partially offset by pricing erosion.
  Gross margin in our EMEA segment decreased due to pricing erosion, partially offset by productivity improvements and, to a lesser
  extent, favorable product mix. Lower service gross margin also contributed to the decrease in the gross margin in this geographic
  segment.
  The APJC segment gross margin percentage increase was due to productivity improvements and favorable product mix, partially offset
  by pricing erosion.
  The gross margin percentage for a particular segment may fluctuate, and period-to-period changes in such percentages may or may not
  be indicative of a trend for that segment.




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  Research and Development (“R&D”), Sales and Marketing, and General and Administrative (“G&A”) Expenses
  R&D, sales and marketing, and G&A expenses are summarized in the following table (in millions, except percentages):
                                                                          Years Ended                                             2021 vs. 2020
                                                                                                                          Variance in       Variance in
                                                     July 31, 2021        July 25, 2020           July 27, 2019            Dollars            Percent
  Research and development                       $         6,549      $         6,347         $         6,577         $           202                  3%
  Percentage of revenue                                      13.1 %               12.9 %                  12.7 %
  Sales and marketing                                      9,259                9,169                   9,571                      90                  1%
  Percentage of revenue                                      18.6 %               18.6 %                  18.4 %
  General and administrative                               2,152                1,925                   1,827                     227                 12 %
  Percentage of revenue                                       4.3 %                3.9 %                   3.5 %
       Total                                     $        17,960      $        17,441         $        17,975         $           519                  3%
       Percentage of revenue                                 36.1 %               35.4 %                  34.6 %

  Fiscal 2021 had an extra week compared to fiscal 2020. The extra week in fiscal 2021 contributed to the increase in headcount-related
  expenses in our R&D, sales and marketing, and G&A expenses.
  R&D Expenses
  R&D expenses increased due to higher headcount-related expenses, higher share-based compensation expense, higher acquisition-
  related costs and higher contracted services spending, partially offset by lower discretionary spending.
  We continue to invest in R&D in order to bring a broad range of products to market in a timely fashion. If we believe that we are
  unable to enter a particular market in a timely manner with internally developed products, we may purchase or license technology from
  other businesses, or we may partner with or acquire businesses as an alternative to internal R&D.
  Sales and Marketing Expenses
  Sales and marketing expenses increased primarily due to higher headcount-related expenses, higher contracted services spending and
  higher share-based compensation expense, partially offset by lower discretionary spending.
  G&A Expenses
  G&A expenses increased due to the impact from the gain recognized on the sale of property in fiscal 2020 and higher headcount-
  related expenses.
  Effect of Foreign Currency
  In fiscal 2021, foreign currency fluctuations, net of hedging, increased the combined R&D, sales and marketing, and G&A expenses by
  approximately $214 million, or 1.2%, compared with fiscal 2020.
  Amortization of Purchased Intangible Assets
  The following table presents the amortization of purchased intangible assets (in millions):
  Years Ended                                                                                 July 31, 2021           July 25, 2020          July 27, 2019
  Amortization of purchased intangible assets:
     Cost of sales                                                                        $               716     $               659    $             624
     Operating expenses                                                                                   215                     141                  150
          Total                                                                           $               931     $               800    $             774

  The increase in amortization of purchased intangible assets was due largely to the amortization of purchased intangibles from our
  recent acquisitions.



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  Restructuring and Other Charges
  The following table presents restructuring and other charges (in millions):
  Years Ended                                                                              July 31, 2021       July 25, 2020          July 27, 2019
  Restructuring and other charges included in operating expenses                       $             886   $               481   $              322

  In the first quarter of fiscal 2021, we initiated a restructuring plan, which included a voluntary early retirement program, in order to
  realign the organization and enable further investment in key priority areas. The total pretax charges are estimated to be approximately
  $900 million. In connection with this restructuring plan, we incurred charges of $881 million during fiscal 2021. We substantially
  completed the Fiscal 2021 Plan in fiscal 2021 and do not expect any remaining charges related to this plan to be material. We estimate
  the Fiscal 2021 Plan will generate cost savings of approximately $1.0 billion on an annualized basis.
  We incurred total restructuring and other charges of $886 million in fiscal 2021. We incurred charges of $881 million related to the
  restructuring plan initiated during fiscal 2021 and the remainder of which was related to the restructuring plan announced during fiscal
  2020.
  Operating Income
  The following table presents our operating income and our operating income as a percentage of revenue (in millions, except
  percentages):
  Years Ended                                                                        July 31, 2021         July 25, 2020             July 27, 2019
  Operating income                                                              $           12,833   $            13,620   $               14,219
  Operating income as a percentage of revenue                                                 25.8 %                27.6 %                   27.4 %

  Operating income decreased by 6%, and as a percentage of revenue operating income decreased by 1.8 percentage points. These
  changes resulted primarily from: higher restructuring and other charges and a gross margin percentage decrease (driven by pricing
  erosion, partially offset by productivity improvements and product mix), partially offset by a revenue increase.


  Interest and Other Income (Loss), Net
  Interest Income (Expense), Net The following table summarizes interest income and interest expense (in millions):
                                                                                           Years Ended                               2021 vs. 2020
                                                                                                                                        Variance
                                                                     July 31, 2021         July 25, 2020       July 27, 2019           in Dollars
  Interest income                                                $             618 $                  920 $            1,308 $                 (302)
  Interest expense                                                            (434)                  (585)              (859)                   151
       Interest income (expense), net                            $             184 $                  335 $              449 $                 (151)

  Interest income decreased driven by lower interest rates and lower average balances of cash and available-for-sale debt investments.
  The decrease in interest expense was driven by a lower average debt balance and the impact of lower effective interest rates.



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  Other Income (Loss), Net The components of other income (loss), net, are summarized as follows (in millions):
                                                                                       Years Ended                           2021 vs. 2020
                                                                                                                                Variance
                                                                     July 31, 2021     July 25, 2020     July 27, 2019         in Dollars
  Gains (losses) on investments, net:
      Available-for-sale debt investments                        $              53 $              42 $              (13) $              11
      Marketable equity investments                                              6                (5)                (3)                11
      Privately held investments                                               266                95                  6                171
           Net gains (losses) on investments                                   325               132                (10)               193
  Other gains (losses), net                                                    (80)             (117)               (87)                37
                 Other income (loss), net                        $             245 $              15 $              (97) $             230

  The change in net gains (losses) on available-for-sale debt investments was primarily attributable to higher realized gains as a result of
  market conditions, and the timing of sales of these investments. The change in net gains (losses) on marketable equity investments was
  attributable to market value fluctuations and the timing of recognition of gains and losses. The change in net gains (losses) on privately
  held investments was primarily due to higher net unrealized gains and lower impairment charges, partially offset by lower realized
  gains. The change in other gains (losses), net was primarily driven by lower donation expense and favorable impacts from our equity
  derivatives, partially offset by unfavorable impacts from foreign exchange.
  Provision for Income Taxes
  The provision for income taxes resulted in an effective tax rate of 20.1% for fiscal 2021, compared with 19.7% for fiscal 2020. The net
  0.4 percentage points increase in the effective tax rate was primarily due to a decrease in the tax benefit from foreign income taxed at
  other than U.S. rates, offset by an increase in foreign-derived intangible income deduction and a decrease in state taxes.
  For a full reconciliation of our effective tax rate to the U.S. federal statutory rate of 21% and for further explanation of our provision
  for income taxes, see Note 18 to the Consolidated Financial Statements.




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  LIQUIDITY AND CAPITAL RESOURCES
  The following sections discuss the effects of changes in our balance sheet, our capital allocation strategy including stock repurchase
  program and dividends, our contractual obligations, and certain other commitments and activities on our liquidity and capital resources.
  Balance Sheet and Cash Flows
  Cash and Cash Equivalents and Investments The following table summarizes our cash and cash equivalents and investments (in
  millions):
                                                                                                                                   Increase
                                                                                         July 31, 2021       July 25, 2020        (Decrease)
  Cash and cash equivalents                                                          $           9,175   $          11,809   $           (2,634)
  Available-for-sale debt investments                                                           15,206              17,610               (2,404)
  Marketable equity securities                                                                     137                  —                   137
     Total                                                                           $          24,518   $          29,419   $           (4,901)

  The net decrease in cash and cash equivalents and investments from fiscal 2020 to fiscal 2021 was primarily driven by net cash paid for
  acquisitions and divestitures of $7.0 billion, cash returned to stockholders in the form of repurchases of common stock of $2.9 billion
  under the stock repurchase program and cash dividends of $6.2 billion, net decrease in debt of $3.0 billion, net increase in restricted
  cash of $0.8 billion, and capital expenditures of $0.7 billion. These uses of cash were partially offset by cash provided by operating
  activities of $15.5 billion.
  In addition to cash requirements in the normal course of business, we have approximately $0.7 billion of the U.S. transition tax on
  accumulated earnings for foreign subsidiaries and $2.5 billion of long-term debt outstanding at July 31, 2021 that will mature within
  the next 12 months from the balance sheet date. See further discussion of liquidity and future payments under “Contractual
  Obligations” and “Liquidity and Capital Resource Requirements” below.
  We maintain an investment portfolio of various holdings, types, and maturities. We classify our investments as short-term investments
  based on their nature and their availability for use in current operations. We believe the overall credit quality of our portfolio is strong,
  with our cash equivalents and our available-for-sale debt investment portfolio consisting primarily of high quality investment-grade
  securities. We believe that our strong cash and cash equivalents and investments position is critical at this time of uncertainty due to the
  COVID-19 pandemic and allows us to use our cash resources for strategic investments to gain access to new technologies, for
  acquisitions, for customer financing activities, for working capital needs, and for the repurchase of shares of common stock and
  payment of dividends as discussed below.
  Securities Lending We periodically engage in securities lending activities with certain of our available-for-sale debt investments. These
  transactions are accounted for as a secured lending of the securities, and the securities are typically loaned only on an overnight basis.
  We require collateral equal to at least 102% of the fair market value of the loaned security and that the collateral be in the form of cash
  or liquid, high-quality assets. We engage in these secured lending transactions only with highly creditworthy counterparties, and the
  associated portfolio custodian has agreed to indemnify us against collateral losses. We did not experience any losses in connection with
  the secured lending of securities during the periods presented.
  Free Cash Flow and Capital Allocation As part of our capital allocation strategy, we intend to return a minimum of 50% of our free
  cash flow annually to our stockholders through cash dividends and repurchases of common stock.
  We define free cash flow as net cash provided by operating activities less cash used to acquire property and equipment. The following
  table reconciles our net cash provided by operating activities to free cash flow (in millions):
  Years Ended                                                                            July 31, 2021       July 25, 2020       July 27, 2019
  Net cash provided by operating activities                                          $          15,454 $            15,426 $             15,831
  Acquisition of property and equipment                                                           (692)               (770)                (909)
  Free cash flow                                                                     $          14,762 $            14,656 $             14,922

  We expect that cash provided by operating activities may fluctuate in future periods as a result of a number of factors, including
  fluctuations in our operating results, the rate at which products are shipped during the quarter (which we refer to as shipment linearity),
  the timing and collection of accounts receivable and financing receivables, inventory and supply chain management, deferred revenue
  and the timing and amount of tax and other payments. For additional discussion, see “Part I, Item 1A. Risk Factors” in this report.

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  We consider free cash flow to be a liquidity measure that provides useful information to management and investors because of our
  intent to return a stated percentage of free cash flow to stockholders in the form of dividends and stock repurchases. We further regard
  free cash flow as a useful measure because it reflects cash that can be used to, among other things, invest in our business, make
  strategic acquisitions, repurchase common stock, and pay dividends on our common stock, after deducting capital investments. A
  limitation of the utility of free cash flow as a measure of financial performance and liquidity is that the free cash flow does not
  represent the total increase or decrease in our cash balance for the period. In addition, we have other required uses of cash, including
  repaying the principal of our outstanding indebtedness. Free cash flow is not a measure calculated in accordance with U.S. generally
  accepted accounting principles and should not be regarded in isolation or as an alternative for net cash provided by operating activities
  or any other measure calculated in accordance with such principles, and other companies may calculate free cash flow in a different
  manner than we do.
  The following table summarizes the dividends paid and stock repurchases (in millions, except per-share amounts):
                                          DIVIDENDS                        STOCK REPURCHASE PROGRAM                               TOTAL
                                                                                Weighted-Average
  Years Ended                      Per Share        Amount           Shares       Price per Share Amount                          Amount
  July 31, 2021                $         1.46   $        6,163             64    $               45.48   $           2,902   $          9,065
  July 25, 2020                $         1.42   $        6,016             59    $               44.36   $           2,619   $          8,635
  July 27, 2019                $         1.36   $        5,979            418    $               49.22   $          20,577   $         26,556

  Any future dividends are subject to the approval of our Board of Directors.
  The remaining authorized amount for stock repurchases under this program is approximately $7.9 billion, with no termination date.
  Accounts Receivable, Net The following table summarizes our accounts receivable, net (in millions):
                                                                                                                                  Increase
                                                                                         July 31, 2021       July 25, 2020       (Decrease)
  Accounts receivable, net                                                           $           5,766   $           5,472   $             294

  Our accounts receivable net, as of July 31, 2021 increased by approximately 5% compared with the end of fiscal 2020.
  Inventory Supply Chain The following table summarizes our inventories (in millions):
                                                                                                                                  Increase
                                                                                         July 31, 2021       July 25, 2020       (Decrease)
  Inventories                                                                        $           1,559   $           1,282   $             277

  Inventory as of July 31, 2021 increased by 22% from our inventory balance at the end of fiscal 2020. The increase in inventory was
  primarily due to an increase in raw materials, partially offset by a decrease in finished goods.
  We purchase components from a variety of suppliers and use several contract manufacturers to provide manufacturing services for our
  products. During the normal course of business, in order to manage manufacturing lead times and help ensure adequate component
  supply, we enter into agreements with contract manufacturers and suppliers that allow them to procure inventory based upon criteria as
  defined by us or that establish the parameters defining our requirements and our commitment to securing manufacturing capacity.
  Our purchase commitments are for short-term product manufacturing requirements as well as for commitments to suppliers to secure
  manufacturing capacity. Certain of our purchase commitments with contract manufacturers and suppliers relate to arrangements to
  secure long-term supply and pricing for certain product components for multi-year periods. A significant portion of our reported
  purchase commitments arising from these agreements are firm, noncancelable, and unconditional commitments. In certain instances,
  these agreements allow us the option to cancel, reschedule, and adjust our requirements based on our business needs prior to firm
  orders being placed. We believe our inventory and purchase commitments are in line with our current demand forecasts.



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  The following table summarizes our purchase commitments with contract manufacturers and suppliers (in millions):
  Commitments by Period                                                                                 July 31, 2021               July 25, 2020
  Less than 1 year                                                                                  $             6,903     $                 3,994
  1 to 3 years                                                                                                    1,806                         412
  3 to 5 years                                                                                                    1,545                          —
       Total                                                                                        $            10,254     $                 4,406

  The increase in purchase commitments with contract manufacturers and suppliers compared with the end of fiscal 2020 was due to
  arrangements to secure long-term supply and pricing for certain product components for multi-year periods. We have partnered with
  several of our key suppliers utilizing our volume purchasing and extending supply coverage, including revising supplier arrangements,
  to address supply chain challenges.
  Inventory and supply chain management remain areas of focus as we balance the need to maintain supply chain flexibility to help
  ensure competitive lead times with the risk of inventory obsolescence because of rapidly changing technology and customer
  requirements. We believe the amount of our inventory and purchase commitments is appropriate for our revenue levels.
  Financing Receivables and Guarantees The following table summarizes our financing receivables (in millions):
                                                                                                                                       Increase
                                                                                        July 31, 2021       July 25, 2020             (Decrease)
  Lease receivables, net                                                            $           1,697   $           2,088       $              (391)
  Loan receivables, net                                                                         5,117               5,856                      (739)
  Financed service contracts, net                                                               2,450               2,821                      (371)
    Total, net                                                                      $           9,264   $          10,765       $            (1,501)

  Financing Receivables Our financing arrangements include leases, loans, and financed service contracts. Lease receivables include
  sales-type leases. Arrangements related to leases are generally collateralized by a security interest in the underlying assets. Our loan
  receivables include customer financing for purchases of our hardware, software and services and also may include additional funds for
  other costs associated with network installation and integration of our products and services. We also provide financing to certain
  qualified customers for long-term service contracts, which primarily relate to technical support services. The majority of the revenue
  from these financed service contracts is deferred and is recognized ratably over the period during which the services are performed.
  Financing receivables decreased by 14%.
  Financing Guarantees In the normal course of business, third parties may provide financing arrangements to our customers and
  channel partners under financing programs. The financing arrangements to customers provided by third parties are related to leases and
  loans and typically have terms of up to three years. In some cases, we provide guarantees to third parties for these lease and loan
  arrangements. The financing arrangements to channel partners consist of revolving short-term financing provided by third parties, with
  payment terms generally ranging from 60 to 90 days. In certain instances, these financing arrangements result in a transfer of our
  receivables to the third party. The receivables are derecognized upon transfer, as these transfers qualify as true sales, and we receive
  payments for the receivables from the third party based on our standard payment terms.
  The volume of channel partner financing was $26.7 billion, $26.9 billion, and $29.6 billion in fiscal 2021, 2020, and 2019,
  respectively. These financing arrangements facilitate the working capital requirements of the channel partners, and in some cases, we
  guarantee a portion of these arrangements. The balance of the channel partner financing subject to guarantees was $1.3 billion and $1.1
  billion as of July 31, 2021 and July 25, 2020, respectively. We could be called upon to make payments under these guarantees in the
  event of nonpayment by the channel partners or end-user customers. Historically, our payments under these arrangements have been
  immaterial. Where we provide a guarantee, we defer the revenue associated with the channel partner and end-user financing
  arrangement in accordance with revenue recognition policies, or we record a liability for the fair value of the guarantees. In either case,
  the deferred revenue is recognized as revenue when the guarantee is removed. As of July 31, 2021, the total maximum potential future
  payments related to these guarantees was approximately $160 million, of which approximately $21 million was recorded as deferred
  revenue.




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  Borrowings
  Senior Notes The following table summarizes the principal amount of our senior notes (in millions):
                                                                               Maturity Date               July 31, 2021       July 25, 2020
  Senior notes:
   Fixed-rate notes:
      2.20%                                                          February 28, 2021                 $              —    $           2,500
      2.90%                                                          March 4, 2021                                    —                  500
      1.85%                                                          September 20, 2021                            2,000               2,000
      3.00%                                                          June 15, 2022                                   500                 500
      2.60%                                                          February 28, 2023                               500                 500
      2.20%                                                          September 20, 2023                              750                 750
      3.625%                                                         March 4, 2024                                 1,000               1,000
      3.50%                                                          June 15, 2025                                   500                 500
      2.95%                                                          February 28, 2026                               750                 750
      2.50%                                                          September 20, 2026                            1,500               1,500
      5.90%                                                          February 15, 2039                             2,000               2,000
      5.50%                                                          January 15, 2040                              2,000               2,000
          Total                                                                                        $          11,500   $          14,500

  Interest is payable semiannually on each class of the senior fixed-rate notes, each of which is redeemable by us at any time, subject to a
  make-whole premium. We were in compliance with all debt covenants as of July 31, 2021.
  Our $2.0 billion senior fixed-rate notes with a maturity date of September 20, 2021 were redeemed on August 20, 2021, pursuant to our
  par call redemption option. The redemption price was equal to 100% of the principal amount plus any accrued and unpaid interest to,
  but excluding, August 20, 2021.
  Commercial Paper We have a short-term debt financing program in which up to $10.0 billion is available through the issuance of
  commercial paper notes. We use the proceeds from the issuance of commercial paper notes for general corporate purposes. We had no
  commercial paper outstanding as of July 31, 2021 and July 25, 2020.
  Credit Facility On May 13, 2021, we entered into a 5-year credit agreement with certain institutional lenders that provides for a $3.0
  billion unsecured revolving credit facility that is scheduled to expire on May 13, 2026. The credit agreement is structured as an
  amendment and restatement of our 364-day credit agreement which would have terminated on May 14, 2021. As of July 31, 2021, we
  were in compliance with the required interest coverage ratio and the other covenants, and we had not borrowed any funds under the
  credit agreement. Any advances under the 5-year credit agreement will accrue interest at rates that are equal to, based on certain
  conditions, either (a) with respect to loans in U.S. dollars, (i) LIBOR or (ii) the Base Rate (to be defined as the highest of (x) the Bank
  of America prime rate, (y) the Federal Funds rate plus 0.50% and (z) a daily rate equal to one-month LIBOR plus 1.0%), (b) with
  respect to loans in Euros, EURIBOR, (c) with respect to loans in Yen, TIBOR and (d) with respect to loans in Pounds Sterling, SONIA
  plus a credit spread adjustment, plus a margin that is based on our senior debt credit ratings as published by Standard & Poor’s
  Financial Services, LLC and Moody’s Investors Service, Inc., provided that in no event will the interest rate be less than 0.0%. We will
  pay a quarterly commitment fee during the term of the 5-year credit agreement which may vary depending on our senior debt credit
  ratings. In addition, the 5-year credit agreement incorporates certain sustainability-linked metrics. Specifically, our applicable interest
  rate and commitment fee are subject to upward or downward adjustments if we achieve, or fail to achieve, certain specified targets
  based on two key performance indicator metrics: (i) social impact and (ii) foam reduction. We may also, upon the agreement of either
  the then-existing lenders or additional lenders not currently parties to the agreement, increase the commitments under the credit facility
  by up to an additional $2.0 billion and, at our option, extend the maturity of the facility for an additional year up to two times. The
  credit agreement requires that we comply with certain covenants, including that we maintain an interest coverage ratio as defined in the
  agreement.



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  Remaining Performance Obligations The following table presents the breakdown of remaining performance obligations (in millions):
                                                                                                                                          Increase
                                                                                           July 31, 2021       July 25, 2020             (Decrease)
   Product                                                                         $              13,270   $           11,261     $             2,009
   Service                                                                                        17,623               17,093                     530
       Total                                                                       $              30,893   $           28,354     $             2,539

  Total remaining performance obligations increased 9% in fiscal 2021. Remaining performance obligations for product and service
  increased 18% and 3%, respectively, compared to fiscal 2020.
  Deferred Revenue The following table presents the breakdown of deferred revenue (in millions):
                                                                                                                                         Increase
                                                                                       July 31, 2021           July 25, 2020            (Decrease)
  Product                                                                          $              9,416    $            7,895    $              1,521
  Service                                                                                        12,748                12,551                     197
     Total                                                                         $             22,164    $           20,446    $              1,718
  Reported as:
   Current                                                                         $             12,148    $           11,406    $                742
   Noncurrent                                                                                    10,016                 9,040                     976
      Total                                                                        $             22,164    $           20,446    $              1,718

  Total deferred revenue increased 8% in fiscal 2021. The increase in deferred product revenue of 19% was primarily due to increased
  deferrals related to our recurring software offerings. The increase in deferred service revenue was driven by the impact of contract
  renewals, partially offset by amortization of deferred service revenue.
  Contractual Obligations
  The impact of contractual obligations on our liquidity and capital resources in future periods should be analyzed in conjunction with
  the factors that impact our cash flows from operations discussed previously. In addition, we plan for and measure our liquidity and
  capital resources through an annual budgeting process. The following table summarizes our contractual obligations at July 31, 2021 (in
  millions):
                                                                                            PAYMENTS DUE BY PERIOD
                                                                                       Less than 1                                         More than 5
  July 31, 2021                                                          Total            Year     1 to 3 Years 3 to 5 Years                 Years
  Operating leases                                                   $     1,245       $         355   $         474    $        197      $          219
  Purchase commitments with contract manufacturers and
  suppliers                                                              10,254                6,903           1,806            1,545               —
  Other purchase obligations                                              1,074                  584             336               96               58
  Senior notes                                                           11,500                2,500           2,250            1,250            5,500
  Transition tax payable                                                  6,910                  727           2,091            4,092               —
  Other long-term liabilities                                             1,428                   —              291              160              977
      Total by period                                                $   32,411        $      11,069   $       7,248    $       7,340     $      6,754
  Other long-term liabilities (uncertainty in the timing of future
  payments)                                                               2,490
           Total                                                     $   34,901

  Operating Leases For more information on our operating leases, see Note 8 to the Consolidated Financial Statements.
  Purchase Commitments with Contract Manufacturers and Suppliers We purchase components from a variety of suppliers and use
  several contract manufacturers to provide manufacturing services for our products. Our purchase commitments are for short-term
  product manufacturing requirements as well as for commitments to suppliers to secure manufacturing capacity. Certain of our purchase
  commitments with contract manufacturers and suppliers relate to arrangements to secure long-term pricing for certain product
  components for multi-year periods. A significant portion of our reported estimated purchase


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  commitments arising from these agreements are firm, noncancelable, and unconditional commitments. We record a liability for firm,
  noncancelable, and unconditional purchase commitments for quantities in excess of our future demand forecasts consistent with the
  valuation of our excess and obsolete inventory. See further discussion in “Inventory Supply Chain.”
  Other Purchase Obligations Other purchase obligations represent an estimate of all contractual obligations in the ordinary course of
  business, other than operating leases and commitments with contract manufacturers and suppliers, for which we have not received the
  goods or services. Purchase orders are not included in the preceding table as they typically represent our authorization to purchase
  rather than binding contractual purchase obligations.
  Long-Term Debt The amount of long-term debt in the preceding table represents the principal amount of the respective debt
  instruments. See Note 12 to the Consolidated Financial Statements.
  Transition Tax Payable Transition tax payable represents future cash tax payments associated with the one-time U.S. transition tax on
  accumulated earnings of foreign subsidiaries as a result of the Tax Cuts and Jobs Act (“the Tax Act”). See Note 18 to the Consolidated
  Financial Statements.
  Other Long-Term Liabilities Other long-term liabilities primarily include noncurrent income taxes payable, accrued liabilities for
  deferred compensation, deferred tax liabilities, and certain other long-term liabilities. Due to the uncertainty in the timing of future
  payments, our noncurrent income taxes payable of approximately $2.4 billion and deferred tax liabilities of $134 million were
  presented as one aggregated amount in the total column on a separate line in the preceding table. Noncurrent income taxes payable
  include uncertain tax positions. See Note 18 to the Consolidated Financial Statements.
  Other Commitments
  In connection with our acquisitions, we have agreed to pay certain additional amounts contingent upon the achievement of certain
  agreed-upon technology, development, product, or other milestones or the continued employment with us of certain employees of the
  acquired entities. See Note 14 to the Consolidated Financial Statements.
  We also have certain funding commitments primarily related to our privately held investments, some of which may be based on the
  achievement of certain agreed-upon milestones, and some of which are required to be funded on demand. The funding commitments
  were $0.2 billion and $0.3 billion as of July 31, 2021 and July 25, 2020, respectively.
  Off-Balance Sheet Arrangements
  We consider our investments in unconsolidated variable interest entities to be off-balance sheet arrangements. In the ordinary course of
  business, we have privately held investments and provide financing to certain customers. Certain of these investments are considered to
  be variable interest entities. We evaluate on an ongoing basis our privately held investments and customer financings, and we have
  determined that as of July 31, 2021 there were no material unconsolidated variable interest entities.
  On an ongoing basis, we reassess our privately held investments and customer financings to determine if they are variable interest
  entities and if we would be regarded as the primary beneficiary pursuant to the applicable accounting guidance. As a result of this
  ongoing assessment, we may be required to make additional disclosures or consolidate these entities. Because we may not control these
  entities, we may not have the ability to influence these events.
  We provide financing guarantees, which are generally for various third-party financing arrangements extended to our channel partners
  and end-user customers. We could be called upon to make payments under these guarantees in the event of nonpayment by the channel
  partners or end-user customers. See the previous discussion of these financing guarantees under “Financing Receivables and
  Guarantees.”
  Liquidity and Capital Resource Requirements
  While the COVID-19 pandemic has not materially impacted our liquidity and capital resources to date, it has led to increased
  disruption and volatility in capital markets and credit markets. The pandemic and resulting economic uncertainty could adversely affect
  our liquidity and capital resources in the future. Based on past performance and current expectations, we believe our cash and cash
  equivalents, investments, cash generated from operations, and ability to access capital markets and committed credit lines will satisfy,
  through at least the next 12 months, our liquidity requirements, both in total and domestically, including the following: working capital
  needs, capital expenditures, investment requirements, stock repurchases, cash dividends, contractual obligations, commitments,
  principal and interest payments on debt, pending acquisitions, future customer financings, and other liquidity requirements associated
  with our operations. There are no other transactions, arrangements, or relationships with unconsolidated entities or other persons that
  are reasonably likely to materially affect the liquidity and the availability of, as well as our requirements for, capital resources.



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  Item 7A.          Quantitative and Qualitative Disclosures About Market Risk

  Our financial position is exposed to a variety of risks, including interest rate risk, equity price risk, and foreign currency exchange risk.
  We have seen an increase in these risks and related uncertainties with increased volatility in the financial markets in the current
  environment with the COVID-19 pandemic.
  Interest Rate Risk
  Available-for-Sale Debt Investments We maintain an investment portfolio of various holdings, types, and maturities. Our primary
  objective for holding available-for-sale debt investments is to achieve an appropriate investment return consistent with preserving
  principal and managing risk. At any time, a sharp rise in market interest rates could have a material adverse impact on the fair value of
  our available-for-sale debt investment portfolio. Conversely, declines in interest rates as has also happened recently, including the
  impact from lower credit spreads, could have a material adverse impact on interest income for our investment portfolio. We may utilize
  derivative instruments designated as hedging instruments to achieve our investment objectives. We had no outstanding hedging
  instruments for our available-for-sale debt investments as of July 31, 2021. Our available-for-sale debt investments are held for
  purposes other than trading. Our available-for-sale debt investments are not leveraged as of July 31, 2021. We monitor our interest rate
  and credit risks, including our credit exposures to specific rating categories and to individual issuers. We believe the overall credit
  quality of our portfolio is strong.
  The following tables present the hypothetical fair values of our available-for-sale debt investments, including the hedging effects when
  applicable, as a result of selected potential market decreases and increases in interest rates. The market changes reflect immediate
  hypothetical parallel shifts in the yield curve of plus or minus 50 basis points (BPS), plus 100 BPS, and plus 150 BPS. The
  hypothetical fair values as of July 31, 2021 and July 25, 2020 are as follows (in millions):
                                                 VALUATION OF SECURITIES                                    VALUATION OF SECURITIES
                                                 GIVEN AN INTEREST RATE                                      GIVEN AN INTEREST RATE
                                                DECREASE OF X BASIS POINTS            FAIR VALUE           INCREASE OF X BASIS POINTS
                                                                                     AS OF JULY 31,
                                             (150 BPS)     (100 BPS)     (50 BPS)        2021            50 BPS       100 BPS       150 BPS
  Available-for-sale debt investments        $15,537       $15,427       $15,317        $15,206         $15,096       $14,986      $14,875

                                                 VALUATION OF SECURITIES                                    VALUATION OF SECURITIES
                                                 GIVEN AN INTEREST RATE                                      GIVEN AN INTEREST RATE
                                                DECREASE OF X BASIS POINTS             FAIR VALUE          INCREASE OF X BASIS POINTS
                                                                                      AS OF JULY 25,
                                             (150 BPS)     (100 BPS)     (50 BPS)         2020           50 BPS       100 BPS       150 BPS
  Available-for-sale debt investments        $17,877       $17,788       $17,699        $17,610         $17,522       $17,433      $17,344

  Financing Receivables As of July 31, 2021, our financing receivables had a carrying value of $9.3 billion, compared with $10.8 billion
  as of July 25, 2020. As of July 31, 2021, a hypothetical 50 BPS increase or decrease in market interest rates would change the fair
  value of our financing receivables by a decrease or increase of approximately $0.1 billion, respectively.
  Debt As of July 31, 2021, we had $11.5 billion in principal amount of senior fixed-rate notes outstanding. The carrying amount of the
  senior notes was $11.5 billion, and the related fair value based on market prices was $13.7 billion. As of July 31, 2021, a hypothetical
  50 BPS increase or decrease in market interest rates would change the fair value of the fixed-rate debt, excluding the $2.0 billion of
  hedged debt, by a decrease or increase of approximately $0.4 billion, respectively. However, this hypothetical change in interest rates
  would not impact the interest expense on the fixed-rate debt that is not hedged.
  Equity Price Risk
  Marketable Equity Investments The fair value of our marketable equity investments is subject to market price volatility. We hold equity
  securities for strategic purposes or to diversify our overall investment portfolio. These equity securities are held for purposes other than
  trading. As of July 31, 2021, the total fair value of our investments in marketable equity securities was $137 million. We had no
  outstanding marketable equity securities as of July 25, 2020.
  Privately Held Investments These investments are recorded in other assets in our Consolidated Balance Sheets. As of July 31, 2021, the
  total carrying amount of our investments in privately held investments was $1.5 billion, compared with $1.3 billion at July 25, 2020.
  Some of these companies in which we invested are in the startup or development stages. These investments are inherently risky
  because the markets for the technologies or products these companies are developing are typically in the early stages and may never
  materialize. We could lose our entire investment in these companies. Our evaluation of privately held investments is based on the
  fundamentals of the businesses invested in, including, among other factors, the nature of their technologies and potential for financial
  return.
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  Foreign Currency Exchange Risk
  Our foreign exchange forward contracts outstanding at fiscal year-end are summarized in U.S. dollar equivalents as follows (in
  millions):
                                                                            July 31, 2021                              July 25, 2020
                                                                 Notional Amount          Fair Value        Notional Amount        Fair Value
  Forward contracts:
      Purchased                                                 $          2,441   $               (14) $            2,441    $                  1
      Sold                                                      $          1,698   $                12 $             1,874    $                  4

  At July 31, 2021 and July 25, 2020, we had no option contracts outstanding.
  We conduct business globally in numerous currencies. The direct effect of foreign currency fluctuations on revenue has not been
  material because our revenue is primarily denominated in U.S. dollars. However, if the U.S. dollar strengthens relative to other
  currencies, such strengthening could have an indirect effect on our revenue to the extent it raises the cost of our products to non-U.S.
  customers and thereby reduces demand. A weaker U.S. dollar could have the opposite effect. However, the precise indirect effect of
  currency fluctuations is difficult to measure or predict because our revenue is influenced by many factors in addition to the impact of
  such currency fluctuations.
  Approximately 70% of our operating expenses are U.S.-dollar denominated. In fiscal 2021, foreign currency fluctuations, net of
  hedging, increased our combined R&D, sales and marketing, and G&A expenses by approximately $214 million, or 1.2%, as compared
  with fiscal 2020. To reduce variability in operating expenses and service cost of sales caused by non-U.S.-dollar denominated operating
  expenses and costs, we may hedge certain forecasted foreign currency transactions with currency options and forward contracts. These
  hedging programs are not designed to provide foreign currency protection over long time horizons. In designing a specific hedging
  approach, we consider several factors, including offsetting exposures, significance of exposures, costs associated with entering into a
  particular hedge instrument, and potential effectiveness of the hedge. The gains and losses on foreign exchange contracts mitigate the
  effect of currency movements on our operating expenses and service cost of sales.
  We also enter into foreign exchange forward and option contracts to reduce the short-term effects of foreign currency fluctuations on
  receivables and payables that are denominated in currencies other than the functional currencies of the entities. The market risks
  associated with these foreign currency receivables and payables relate primarily to variances from our forecasted foreign currency
  transactions and balances. We do not enter into foreign exchange forward or option contracts for speculative purposes.



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  Report of Independent Registered Public Accounting Firm
  To the Board of Directors and Stockholders of Cisco Systems, Inc.
  Opinions on the Financial Statements and Internal Control over Financial Reporting
  We have audited the accompanying consolidated balance sheets of Cisco Systems, Inc. and its subsidiaries (the “Company”) as of
  July 31, 2021 and July 25, 2020, and the related consolidated statements of operations, comprehensive income, equity and cash flows
  for each of the three years in the period ended July 31, 2021, including the related notes and schedule of valuation and qualifying
  accounts for each of the three years in the period ended July 31, 2021 appearing under Item 15 (collectively referred to as the
  “consolidated financial statements”). We also have audited the Company's internal control over financial reporting as of July 31, 2021,
  based on criteria established in Internal Control - Integrated Framework (2013) issued by the Committee of Sponsoring Organizations
  of the Treadway Commission (COSO).
  In our opinion, the consolidated financial statements referred to above present fairly, in all material respects, the financial position of
  the Company as of July 31, 2021 and July 25, 2020, and the results of its operations and its cash flows for each of the three years in the
  period ended July 31, 2021 in conformity with accounting principles generally accepted in the United States of America. Also in our
  opinion, the Company maintained, in all material respects, effective internal control over financial reporting as of July 31, 2021, based
  on criteria established in Internal Control - Integrated Framework (2013) issued by the COSO.
  Changes in Accounting Principles
  As discussed in Note 2 to the consolidated financial statements, the Company changed the manner in which it accounts for leases in
  2020 and the manner in which it accounts for revenue from contracts with customers in 2019.
  Basis for Opinions
  The Company's management is responsible for these consolidated financial statements, for maintaining effective internal control over
  financial reporting, and for its assessment of the effectiveness of internal control over financial reporting, included in the
  accompanying Management’s Report on Internal Control over Financial Reporting. Our responsibility is to express opinions on the
  Company’s consolidated financial statements and on the Company's internal control over financial reporting based on our audits. We
  are a public accounting firm registered with the Public Company Accounting Oversight Board (United States) (PCAOB) and are
  required to be independent with respect to the Company in accordance with the U.S. federal securities laws and the applicable rules and
  regulations of the Securities and Exchange Commission and the PCAOB.
  We conducted our audits in accordance with the standards of the PCAOB. Those standards require that we plan and perform the audits
  to obtain reasonable assurance about whether the consolidated financial statements are free of material misstatement, whether due to
  error or fraud, and whether effective internal control over financial reporting was maintained in all material respects.
  Our audits of the consolidated financial statements included performing procedures to assess the risks of material misstatement of the
  consolidated financial statements, whether due to error or fraud, and performing procedures that respond to those risks. Such
  procedures included examining, on a test basis, evidence regarding the amounts and disclosures in the consolidated financial
  statements. Our audits also included evaluating the accounting principles used and significant estimates made by management, as well
  as evaluating the overall presentation of the consolidated financial statements. Our audit of internal control over financial reporting
  included obtaining an understanding of internal control over financial reporting, assessing the risk that a material weakness exists, and
  testing and evaluating the design and operating effectiveness of internal control based on the assessed risk. Our audits also included
  performing such other procedures as we considered necessary in the circumstances. We believe that our audits provide a reasonable
  basis for our opinions.
  Definition and Limitations of Internal Control over Financial Reporting
  A company’s internal control over financial reporting is a process designed to provide reasonable assurance regarding the reliability of
  financial reporting and the preparation of financial statements for external purposes in accordance with generally accepted accounting
  principles. A company’s internal control over financial reporting includes those policies and procedures that (i) pertain to the
  maintenance of records that, in reasonable detail, accurately and fairly reflect the transactions and dispositions of the assets of the
  company; (ii) provide reasonable assurance that transactions are recorded as necessary to permit preparation of financial statements in
  accordance with generally accepted accounting principles, and that receipts and expenditures of the company are being made only in
  accordance with authorizations of management and directors of the company; and (iii) provide reasonable assurance regarding
  prevention or timely detection of unauthorized acquisition, use, or disposition of the company’s assets that could have a material effect
  on the financial statements.
  Because of its inherent limitations, internal control over financial reporting may not prevent or detect misstatements. Also, projections
  of any evaluation of effectiveness to future periods are subject to the risk that controls may become inadequate because of changes in
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  conditions, or that the degree of compliance with the policies or procedures may deteriorate.


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  Critical Audit Matters
  The critical audit matter communicated below is a matter arising from the current period audit of the consolidated financial statements
  that was communicated or required to be communicated to the audit committee and that (i) relates to accounts or disclosures that are
  material to the consolidated financial statements and (ii) involved our especially challenging, subjective, or complex judgments. The
  communication of critical audit matters does not alter in any way our opinion on the consolidated financial statements, taken as a
  whole, and we are not, by communicating the critical audit matter below, providing a separate opinion on the critical audit matter or on
  the accounts or disclosures to which it relates.
  Revenue recognition — identification of contractual terms in certain customer arrangements
  As described in Note 2 to the consolidated financial statements, management assesses relevant contractual terms in its customer
  arrangements to determine the transaction price and recognizes revenue upon transfer of control of the promised goods or services in an
  amount that reflects the consideration the Company expects to receive in exchange for those products or services. Management applies
  judgment in determining the transaction price which is dependent on the contractual terms. In order to determine the transaction price,
  management may be required to estimate variable consideration when determining the amount of revenue to recognize. For the year
  ended July 31, 2021, the Company’s total revenue was $49.8 billion.
  The principal considerations for our determination that performing procedures relating to the identification of contractual terms in
  certain customer arrangements is a critical audit matter are the significant judgment by management in identifying contractual terms
  due to the volume and customized nature of the Company’s customer arrangements. This in turn led to significant auditor judgment and
  effort in performing procedures to evaluate whether the contractual terms used in the determination of the transaction price and the
  timing of revenue recognition were appropriately identified and determined by management.
  Addressing the matter involved performing procedures and evaluating audit evidence in connection with forming our overall opinion
  on the consolidated financial statements. These procedures included testing the effectiveness of controls relating to the revenue
  recognition process, including those related to the identification of contractual terms in customer arrangements that impact the
  determination of the transaction price and revenue recognition. These procedures also included, among others, (i) testing the
  completeness and accuracy of management’s identification of the contractual terms by examining customer arrangements on a test
  basis, and (ii) testing management’s process for determining the appropriate amount and timing of revenue recognition based on the
  contractual terms identified in the customer arrangements.



  /s/ PricewaterhouseCoopers LLP
  San Jose, California
  September 9, 2021
  We have served as the Company’s auditor since 1988.




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  Reports of Management

  Statement of Management's Responsibility
  Cisco’s management has always assumed full accountability for maintaining compliance with our established financial accounting
  policies and for reporting our results with objectivity and the highest degree of integrity. It is critical for investors and other users of the
  Consolidated Financial Statements to have confidence that the financial information that we provide is timely, complete, relevant, and
  accurate. Management is responsible for the fair presentation of Cisco’s Consolidated Financial Statements, prepared in accordance
  with accounting principles generally accepted in the United States of America, and has full responsibility for their integrity and
  accuracy.
  Management, with oversight by Cisco’s Board of Directors, has established and maintains a strong ethical climate so that our affairs are
  conducted to the highest standards of personal and corporate conduct. Management also has established an effective system of internal
  controls. Cisco’s policies and practices reflect corporate governance initiatives that are compliant with the listing requirements of
  Nasdaq and the corporate governance requirements of the Sarbanes-Oxley Act of 2002.
  We are committed to enhancing stockholder value and fully understand and embrace our fiduciary oversight responsibilities. We are
  dedicated to ensuring that our high standards of financial accounting and reporting, as well as our underlying system of internal
  controls, are maintained. Our culture demands integrity, and we have the highest confidence in our processes, our internal controls and
  our people, who are objective in their responsibilities and who operate under the highest level of ethical standards.

  Management's Report on Internal Control over Financial Reporting
  Management is responsible for establishing and maintaining adequate internal control over financial reporting for Cisco. Internal
  control over financial reporting is a process designed to provide reasonable assurance regarding the reliability of financial reporting and
  the preparation of financial statements for external purposes in accordance with generally accepted accounting principles. Internal
  control over financial reporting includes those policies and procedures that (i) pertain to the maintenance of records that in reasonable
  detail accurately and fairly reflect the transactions and dispositions of the assets of the Company; (ii) provide reasonable assurance that
  transactions are recorded as necessary to permit preparation of financial statements in accordance with generally accepted accounting
  principles and that receipts and expenditures of the Company are being made only in accordance with authorizations of management
  and directors of the Company; and (iii) provide reasonable assurance regarding prevention or timely detection of unauthorized
  acquisition, use, or disposition of the Company’s assets that could have a material effect on the financial statements.
  Because of its inherent limitations, internal control over financial reporting may not prevent or detect misstatements. Also, projections
  of any evaluation of effectiveness to future periods are subject to the risk that controls may become inadequate because of changes in
  conditions or that the degree of compliance with the policies or procedures may deteriorate.
  Management (with the participation of the principal executive officer and principal financial officer) conducted an evaluation of the
  effectiveness of Cisco’s internal control over financial reporting based on the framework in Internal Control—Integrated Framework
  (2013) issued by the Committee of Sponsoring Organizations of the Treadway Commission. Based on this evaluation, management
  concluded that Cisco’s internal control over financial reporting was effective as of July 31, 2021. PricewaterhouseCoopers LLP, an
  independent registered public accounting firm, has audited the effectiveness of Cisco’s internal control over financial reporting and has
  issued a report on Cisco’s internal control over financial reporting, which is included in their report on the preceding pages.


  /S/ CHARLES H. ROBBINS                                                     /S/ R. SCOTT HERREN
  Charles H. Robbins                                                         R. Scott Herren
  Chair and Chief Executive Officer                                          Executive Vice President and Chief Financial Officer
  September 9, 2021                                                          September 9, 2021




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                                                         CISCO SYSTEMS, INC.
                                                       Consolidated Balance Sheets
                                                       (in millions, except par value)
                                                                                                     July 31, 2021       July 25, 2020
  ASSETS
  Current assets:
      Cash and cash equivalents                                                                  $           9,175   $           11,809
      Investments                                                                                           15,343               17,610
      Accounts receivable, net of allowance
      of $109 at July 31, 2021 and $143 at July 25, 2020                                                     5,766                5,472
      Inventories                                                                                            1,559                1,282
      Financing receivables, net                                                                             4,380                5,051
      Other current assets                                                                                   2,889                2,349
           Total current assets                                                                             39,112               43,573
  Property and equipment, net                                                                                2,338                2,453
  Financing receivables, net                                                                                 4,884                5,714
  Goodwill                                                                                                  38,168               33,806
  Purchased intangible assets, net                                                                           3,619                1,576
  Deferred tax assets                                                                                        4,360                3,990
  Other assets                                                                                               5,016                3,741
           TOTAL ASSETS                                                                          $          97,497   $           94,853
  LIABILITIES AND EQUITY
  Current liabilities:
      Short-term debt                                                                            $           2,508   $            3,005
      Accounts payable                                                                                       2,362                2,218
      Income taxes payable                                                                                     801                  839
      Accrued compensation                                                                                   3,818                3,122
      Deferred revenue                                                                                      12,148               11,406
      Other current liabilities                                                                              4,620                4,741
           Total current liabilities                                                                        26,257               25,331
  Long-term debt                                                                                             9,018               11,578
  Income taxes payable                                                                                       8,538                8,837
  Deferred revenue                                                                                          10,016                9,040
  Other long-term liabilities                                                                                2,393                2,147
           Total liabilities                                                                                56,222               56,933
  Commitments and contingencies (Note 14)
  Equity:
      Cisco stockholders’ equity:
      Preferred stock, $0.001 par value: 5 shares authorized; none issued and outstanding                       —                    —
      Common stock and additional paid-in capital, $0.001 par value: 20,000 shares authorized;
      4,217 and 4,237 shares issued and outstanding at July 31, 2021 and July 25, 2020,
      respectively                                                                                          42,346               41,202
      Accumulated deficit                                                                                     (654)              (2,763)
      Accumulated other comprehensive loss                                                                    (417)                (519)
           Total equity                                                                                     41,275               37,920
           TOTAL LIABILITIES AND EQUITY                                                          $          97,497 $             94,853

  See Notes to Consolidated Financial Statements.



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                                                         CISCO SYSTEMS, INC.
                                                 Consolidated Statements of Operations
                                                  (in millions, except per-share amounts)
  Years Ended                                                                          July 31, 2021       July 25, 2020        July 27, 2019
  REVENUE:
      Product                                                                      $          36,014   $          35,978    $           39,005
      Service                                                                                 13,804              13,323                12,899
           Total revenue                                                                      49,818              49,301                51,904
  COST OF SALES:
      Product                                                                                 13,300              13,199                14,863
      Service                                                                                  4,624               4,419                 4,375
           Total cost of sales                                                                17,924              17,618                19,238
  GROSS MARGIN                                                                                31,894              31,683                32,666
  OPERATING EXPENSES:
      Research and development                                                                 6,549               6,347                 6,577
      Sales and marketing                                                                      9,259               9,169                 9,571
      General and administrative                                                               2,152               1,925                 1,827
      Amortization of purchased intangible assets                                                215                 141                   150
      Restructuring and other charges                                                            886                 481                   322
           Total operating expenses                                                           19,061              18,063                18,447
  OPERATING INCOME                                                                            12,833              13,620                14,219
      Interest income                                                                            618                 920                 1,308
      Interest expense                                                                          (434)               (585)                 (859)
      Other income (loss), net                                                                   245                  15                   (97)
           Interest and other income (loss), net                                                 429                 350                   352
  INCOME BEFORE PROVISION FOR INCOME TAXES                                                    13,262              13,970                14,571
  Provision for income taxes                                                                   2,671               2,756                 2,950
       NET INCOME                                                                  $          10,591 $            11,214 $              11,621

  Net income per share:
   Basic                                                                           $            2.51   $             2.65   $             2.63
   Diluted                                                                         $            2.50   $             2.64   $             2.61
  Shares used in per-share calculation:
   Basic                                                                                       4,222               4,236                 4,419
    Diluted                                                                                    4,236               4,254                 4,453

  See Notes to Consolidated Financial Statements.



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                                                       CISCO SYSTEMS, INC.
                                           Consolidated Statements of Comprehensive Income
                                                              (in millions)
   Years Ended                                                                           July 31, 2021        July 25, 2020           July 27, 2019
   Net income                                                                      $            10,591    $          11,214       $            11,621
    Available-for-sale investments:
       Change in net unrealized gains and losses, net of tax benefit (expense) of
       $46, $(84), and $(101) for fiscal 2021, 2020, and 2019, respectively                        (95)                 336                      459
       Net (gains) losses reclassified into earnings, net of tax expense (benefit)
       of $15, $21, and $6 for fiscal 2021, 2020, and 2019, respectively                           (38)                 (21)                      19
                                                                                                  (133)                 315                      478
     Cash flow hedging instruments:
       Change in unrealized gains and losses, net of tax benefit (expense) of
       $(4), $0, and $0 for fiscal 2021, 2020, and 2019, respectively                               16                        7                    —
       Net (gains) losses reclassified into earnings, net of tax (benefit) expense
       of $3, $0, and $0 for fiscal 2021, 2020, and 2019, respectively                             (11)                       1                    (3)
                                                                                                     5                        8                    (3)
    Net change in cumulative translation adjustment and actuarial gains and
    losses, net of tax benefit (expense) of $(2), $(5), and $15 for fiscal 2021,
    2020, and 2019, respectively                                                                   230                  (50)                     (250)
   Other comprehensive income                                                                      102                  273                       225
   Comprehensive income                                                              $          10,693    $          11,487 $                  11,846

   See Notes to Consolidated Financial Statements.




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                                                          CISCO SYSTEMS, INC.
                                                    Consolidated Statements of Cash Flows
                                                                 (in millions)
  Years Ended                                                                              July 31, 2021       July 25, 2020       July 27, 2019
  Cash flows from operating activities:
       Net income                                                                          $     10,591    $         11,214    $           11,621
       Adjustments to reconcile net income to net cash provided by operating activities:
            Depreciation, amortization, and other                                                 1,862               1,808                 1,897
            Share-based compensation expense                                                      1,761               1,569                 1,570
            Provision (benefit) for receivables                                                      (6)                 93                    40
            Deferred income taxes                                                                  (384)                (38)                 (350)
            (Gains) losses on divestitures, investments and other, net                             (354)               (138)                  (24)
       Change in operating assets and liabilities, net of effects of acquisitions and
       divestitures:
            Accounts receivable                                                                    (107)               (107)                 (84)
            Inventories                                                                            (244)                 84                  131
            Financing receivables                                                                 1,577                (797)                (249)
            Other assets                                                                           (797)                 96                 (955)
            Accounts payable                                                                        (53)                141                   87
            Income taxes, net                                                                      (549)               (322)                 312
            Accrued compensation                                                                    643                 (78)                 277
            Deferred revenue                                                                      1,560               2,011                1,407
            Other liabilities                                                                       (46)               (110)                 151
                        Net cash provided by operating activities                                15,454              15,426               15,831
  Cash flows from investing activities:
       Purchases of investments                                                                  (9,328)             (9,212)              (2,416)
       Proceeds from sales of investments                                                         3,373               5,631                7,388
       Proceeds from maturities of investments                                                    8,409               7,975               12,928
       Acquisitions, net of cash and cash equivalents acquired and divestitures                  (7,038)               (327)              (2,175)
       Purchases of investments in privately held companies                                        (175)               (190)                (148)
       Return of investments in privately held companies                                            194                 224                  159
       Acquisition of property and equipment                                                       (692)               (770)                (909)
       Proceeds from sales of property and equipment                                                 28                 179                   22
       Other                                                                                        (56)                (10)                 (12)
                        Net cash (used in) provided by investing activities                      (5,285)              3,500               14,837
  Cash flows from financing activities:
       Issuances of common stock                                                                    643                 655                   640
       Repurchases of common stock - repurchase program                                          (2,877)             (2,659)              (20,717)
       Shares repurchased for tax withholdings on vesting of restricted stock units                (636)               (727)                 (862)
       Short-term borrowings, original maturities of 90 days or less, net                            (5)             (3,470)                3,446
       Issuances of debt                                                                             —                   —                  2,250
       Repayments of debt                                                                        (3,000)             (6,720)               (6,780)
       Dividends paid                                                                            (6,163)             (6,016)               (5,979)
       Other                                                                                         (1)                 51                   113
                        Net cash used in financing activities                                   (12,039)            (18,886)              (27,889)
  Net increase (decrease) in cash, cash equivalents, and restricted cash                         (1,870)                 40                 2,779
  Cash, cash equivalents, and restricted cash, beginning of fiscal year                          11,812              11,772                 8,993
  Cash, cash equivalents, and restricted cash, end of fiscal year                          $      9,942 $            11,812 $              11,772

  Supplemental cash flow information:
  Cash paid for interest                                                                   $        438    $             603   $              892
  Cash paid for income taxes, net                                                          $      3,604    $           3,116   $            2,986
  See Notes to Consolidated Financial Statements.


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                                                          CISCO SYSTEMS, INC.
                                                     Consolidated Statements of Equity
                                                    (in millions, except per-share amounts)
                                                                              Common Stock             Retained       Accumulated
                                                            Shares of               and                Earnings          Other
                                                            Common              Additional           (Accumulated    Comprehensive
                                                             Stock            Paid-In Capital           Deficit)     Income (Loss)    Total Equity
  BALANCE AT JULY 28, 2018                                      4,614     $           42,820     $          1,233    $        (849) $       43,204
  Net income                                                                                               11,621                           11,621
  Other comprehensive income (loss)                                                                                            225             225
  Issuance of common stock                                         71                     640                                                  640
  Repurchase of common stock                                     (418)                 (3,902)            (16,675)                         (20,577)
  Shares repurchased for tax withholdings on vesting of
  restricted stock units                                          (17)                   (862)                                               (862)
  Cash dividends declared ($1.36 per common share)                                                         (5,979)                         (5,979)
  Effect of adoption of accounting standards                                                                3,897             (168)         3,729
  Share-based compensation                                                             1,570                                                1,570
  BALANCE AT JULY 27, 2019                                      4,250     $           40,266     $         (5,903) $          (792) $      33,571
  Net income                                                                                               11,214                          11,214
  Other comprehensive income (loss)                                                                                            273            273
  Issuance of common stock                                         61                     655                                                 655
  Repurchase of common stock                                      (59)                   (561)             (2,058)                         (2,619)
  Shares repurchased for tax withholdings on vesting of
  restricted stock units                                          (15)                   (727)                                               (727)
  Cash dividends declared ($1.42 per common share)                                                         (6,016)                         (6,016)
  Share-based compensation                                                             1,569                                                1,569
  BALANCE AT JULY 25, 2020                                      4,237     $           41,202     $         (2,763) $          (519) $      37,920
  Net income                                                                                               10,591                          10,591
  Other comprehensive income (loss)                                                                                            102            102
  Issuance of common stock                                         58                     643                                                 643
  Repurchase of common stock                                      (64)                   (625)             (2,277)                         (2,902)
  Shares repurchased for tax withholdings on vesting
  of restricted stock units                                       (14)                   (636)                                               (636)
  Cash dividends declared ($1.46 per common share)                                                         (6,166)                         (6,166)
  Effect of adoption of accounting standard                                                                   (38)                            (38)
  Share-based compensation                                                             1,761                                                1,761
  Other                                                                                    1                   (1)                             —
  BALANCE AT JULY 31, 2021                                      4,217     $           42,346     $           (654) $          (417) $      41,275

  See Notes to Consolidated Financial Statements.




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                                                         CISCO SYSTEMS, INC.
                                                Notes to Consolidated Financial Statements

  1.   Basis of Presentation
  The fiscal year for Cisco Systems, Inc. (the “Company,” “Cisco,” “we,” “us,” or “our”) is the 52 or 53 weeks ending on the last
  Saturday in July. Fiscal 2021 was a 53-week fiscal year, and each of fiscal 2020 and fiscal 2019 were 52-week fiscal years. The
  Consolidated Financial Statements include our accounts and those of our subsidiaries. All intercompany accounts and transactions have
  been eliminated. We conduct business globally and are primarily managed on a geographic basis in the following three geographic
  segments: the Americas; Europe, Middle East, and Africa (EMEA); and Asia Pacific, Japan, and China (APJC).
  At our annual meeting of shareholders held on December 10, 2020, shareholders voted to approve changing our state of incorporation
  from California to Delaware. The reincorporation became effective January 25, 2021.
  Our consolidated financial statements include our accounts and entities consolidated under the variable interest and voting models. The
  noncontrolling interests attributed to these investments, if any, are presented as a separate component from our equity in the equity
  section of the Consolidated Balance Sheets. The share of earnings attributable to the noncontrolling interests are not presented
  separately in the Consolidated Statements of Operations as these amounts are not material for any of the fiscal periods presented.
  Certain reclassifications have been made to the amounts for prior years in order to conform to the current year’s presentation. We have
  evaluated subsequent events through the date that the financial statements were issued.


  2.   Summary of Significant Accounting Policies
  (a) Cash and Cash Equivalents We consider all highly liquid investments purchased with an original or remaining maturity of three
  months or less at the date of purchase to be cash equivalents. Cash and cash equivalents are maintained with various financial
  institutions.
  (b) Available-for-Sale Debt Investments We classify our investments in fixed income securities as available-for-sale debt investments.
  Our available-for-sale debt investments primarily consist of U.S. government, U.S. government agency, corporate debt, and U.S.
  agency mortgage-backed securities. These available-for-sale debt investments are primarily held in the custody of a major financial
  institution. A specific identification method is used to determine the cost basis of available-for-sale debt investments sold. These
  investments are recorded in the Consolidated Balance Sheets at fair value. Unrealized gains and losses on these investments are
  included as a separate component of accumulated other comprehensive income (AOCI), net of tax. We classify our investments as
  current based on the nature of the investments and their availability for use in current operations.
  (c) Equity Instruments Our equity investments are accounted for as follows:
       •   Marketable equity securities have readily determinable fair value (RDFV) that are measured and recorded at fair value
           through income.
       •   Non-marketable equity securities do not have RDFV and are measured using a measurement alternative recorded at cost less
           any impairment, plus or minus changes resulting from qualifying observable price changes. For certain of these securities, we
           have elected to apply the net asset value (NAV) practical expedient. The NAV is the estimated fair value of these investments.
       •   Equity method investments are securities we do not control, but are able to exert significant influence over the investee. These
           investments are measured at cost less any impairment, plus or minus our share of equity method investee income or loss.
  (d) Impairments of Investments For our available-for-sale debt securities in an unrealized loss position, we determine whether a credit
  loss exists. In this assessment, among other factors, we consider the extent to which the fair value is less than the amortized cost, any
  changes to the rating of the security by a rating agency, and adverse conditions specifically related to the security. If factors indicate a
  credit loss exists, an allowance for credit loss is recorded to other income (loss), net, limited by the amount that the fair value is less
  than the amortized cost basis. The amount of fair value change relating to all other factors will be recognized in other comprehensive
  income (OCI).
  We hold non-marketable equity and other investments (“privately held investments”) which are included in other assets in the
  Consolidated Balance Sheets. We monitor these investments for impairments and make reductions in carrying values if we determine
  that an impairment charge is required based primarily on the financial condition and near-term prospects of these companies.



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  (e) Inventories Inventories are stated at the lower of cost or net realizable value. Cost is computed using standard cost, which
  approximates actual cost, on a first-in, first-out basis. We provide inventory write-downs based on excess and obsolete inventories
  determined primarily by future demand forecasts. The write-down is measured as the difference between the cost of the inventory and
  market based upon assumptions about future demand and charged to the provision for inventory, which is a component of cost of sales.
  At the point of the loss recognition, a new, lower cost basis for that inventory is established, and subsequent changes in facts and
  circumstances do not result in the restoration or increase in that newly established cost basis. In addition, we record a liability for firm,
  noncancelable, and unconditional purchase commitments with contract manufacturers and suppliers for quantities in excess of our
  future demand forecasts consistent with our valuation of excess and obsolete inventory.
  (f) Allowance for Accounts Receivable, Contract Assets and Financing Receivables We estimate our allowances for credit losses
  using relevant available information from internal and external sources, related to past events, current conditions and reasonable and
  supportable forecasts. Historical credit loss experience provides the basis for the estimation of expected credit losses. When assessing
  for credit losses, we determine collectibility by pooling our assets with similar characteristics.
  The allowances for credit losses are each measured on a collective basis when similar risk characteristics exist. Our internal credit risk
  ratings are categorized as 1 through 10, with the lowest credit risk rating representing the highest quality. Our assets within each
  internal credit risk rating share similar risk characteristics and therefore are assessed as one portfolio segment for credit loss. Assets
  that do not share risk characteristics are evaluated on an individual basis. The allowances for credit losses are each measured by
  multiplying the exposure probability of default, the probability the asset will default within a given time frame, by the loss given
  default rate, the percentage of the asset not expected to be collected due to default, based on the pool of assets.
  Probability of default rates are published quarterly by third-party credit agencies. Adjustments to our internal credit risk ratings may
  take into account including, but not limited to, various customer-specific factors, the potential sovereign risk of the geographic
  locations in which the customer is operating and macroeconomic conditions. These factors are updated regularly or when facts and
  circumstances indicate that an update is deemed necessary.
  (g) Financing Receivables and Guarantees We provide financing arrangements, including leases, financed service contracts, and loans,
  for certain qualified end-user customers to build, maintain, and upgrade their networks. Lease receivables primarily represent sales-
  type and direct-financing leases. Leases have on average a four-year term and are usually collateralized by a security interest in the
  underlying assets. Loan receivables include customers financing purchases of our hardware, software and services and also may
  include additional funds for other costs associated with network installation and integration of our products and services. Loan
  receivables have terms of three years on average. Financed service contracts typically have terms of one year to three years and
  primarily relate to technical support services.
  Outstanding financing receivables that are aged 31 days or more from the contractual payment date are considered past due. We do not
  accrue interest on financing receivables that are considered impaired or more than 120 days past due unless either the receivable has
  not been collected due to administrative reasons or the receivable is well secured and in the process of collection. Financing receivables
  may be placed on nonaccrual status earlier if, in management’s opinion, a timely collection of the full principal and interest becomes
  uncertain. After a financing receivable has been categorized as nonaccrual, interest will be recognized when cash is received. A
  financing receivable may be returned to accrual status after all of the customer’s delinquent balances of principal and interest have been
  settled, and the customer remains current for an appropriate period.
  We facilitate arrangements for third-party financing extended to channel partners, consisting of revolving short-term financing,
  generally with payment terms ranging from 60 to 90 days. In certain instances, these financing arrangements result in a transfer of our
  receivables to the third party. The receivables are derecognized upon transfer, as these transfers qualify as true sales, and we receive a
  payment for the receivables from the third party based on our standard payment terms. These financing arrangements facilitate the
  working capital requirements of the channel partners, and, in some cases, we guarantee a portion of these arrangements. We also
  provide financing guarantees for third-party financing arrangements extended to end-user customers related to leases and loans, which
  typically have terms of up to three years. We could be called upon to make payments under these guarantees in the event of
  nonpayment by the channel partners or end-user customers. Deferred revenue relating to these financing arrangements is recorded in
  accordance with revenue recognition policies or for the fair value of the financing guarantees.
  (h) Leases We lease real estate, information technology (IT) and other equipment and vehicles. We also have arrangements with certain
  suppliers and contract manufacturers which includes the leasing of dedicated space and equipment costs. Our leases have the option to
  extend or terminate the lease when it is reasonably certain that we will exercise that option.



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  As a lessee, we determine if an arrangement is a lease at commencement. Our ROU lease assets represent our right to use an
  underlying asset for the lease term and lease liabilities represent our obligation to make lease payments related to the lease. Operating
  lease ROU assets and liabilities are recognized at the commencement date based on the present value of lease payments over the lease
  term. We use incremental borrowing rates based on information available at the commencement date to determine the present value of
  our lease payments. Certain of our lease agreements contain variable lease payments. Our variable lease payments can fluctuate
  depending on the level of activity or the cost of certain services where we have elected to combine lease and non-lease components.
  While these payments are not included as part of our lease liabilities, they are recognized as variable lease expense in the period they
  are incurred.
  We provide leasing of our equipment and complementary third-party products primarily through our channel partners and distributors,
  for which the income arising from these leases is recognized through interest income. As a lessor, we determine if an arrangement is a
  lease at inception. We provide leasing arrangements for our equipment to certain qualified customers. Our lease portfolio primarily
  consists of sales-type leases. We allocate the consideration in a bundled contract with our customers based on relative standalone
  selling prices of our lease and non-lease components. The residual value on our leased equipment is determined at the inception of the
  lease based on an analysis of estimates of the value of equipment, market factors and historical customer behavior. Residual value
  estimates are reviewed on a periodic basis and other-than-temporary declines are expensed in the period they occur. Our leases
  generally provide an end-of-term option for the customer to extend the lease under mutually-agreed terms, return the leased equipment,
  or purchase the equipment for either the then-market value of the equipment or a pre-determined purchase price. If a customer chooses
  to terminate their lease prior to the original end of term date, the customer is required to pay all remaining lease payments in full.
  We adopted Accounting Standards Codification (ASC) 842 at the beginning of fiscal 2020 and applied it at the beginning of the period
  of adoption and did not restate prior periods. For additional information, see Note 8.
  (i) Depreciation and Amortization Property and equipment are stated at cost, less accumulated depreciation or amortization, whenever
  applicable. Depreciation and amortization expenses for property and equipment were approximately $0.8 billion, $0.9 billion, and $1.0
  billion for fiscal 2021, 2020, and 2019, respectively. Depreciation and amortization are computed using the straight-line method,
  generally over the following periods:
  Asset Category                                                           Period
  Buildings                                                                25 years
  Building improvements                                                    10 years
  Leasehold improvements                                                   Shorter of remaining lease term or up to 10 years
  Computer equipment and related software                                  30 to 36 months
  Production, engineering, and other equipment                             Up to 5 years
  Operating lease assets                                                   Based on lease term
  Furniture and fixtures                                                   5 years

  (j) Business Combinations We allocate the fair value of the purchase consideration of our acquisitions to the tangible assets, liabilities,
  and intangible assets acquired, including in-process research and development (IPR&D), based on their estimated fair values. The
  excess of the fair value of purchase consideration over the fair values of these identifiable assets and liabilities is recorded as goodwill.
  IPR&D is initially capitalized at fair value as an intangible asset with an indefinite life and assessed for impairment thereafter. When an
  IPR&D project is completed, the IPR&D is reclassified as an amortizable purchased intangible asset and amortized over the asset’s
  estimated useful life. Acquisition-related expenses and related restructuring costs are recognized separately from the business
  combination and are expensed as incurred.
  (k) Goodwill and Purchased Intangible Assets Goodwill is tested for impairment on an annual basis in the fourth fiscal quarter and,
  when specific circumstances dictate, between annual tests. When impaired, the carrying value of goodwill is written down to fair value.
  Identifying a potential impairment consists of comparing the fair value of a reporting unit with its carrying amount, including goodwill.
  Purchased intangible assets with finite lives are carried at cost, less accumulated amortization. Amortization is computed over the
  estimated useful lives of the respective assets. See “Long-Lived Assets” for our policy regarding impairment testing of purchased
  intangible assets with finite lives. Purchased intangible assets with indefinite lives are assessed for potential impairment annually or
  when events or circumstances indicate that their carrying amounts might be impaired.
  (l) Long-Lived Assets Long-lived assets that are held and used by us are reviewed for impairment whenever events or changes in
  circumstances indicate that the carrying amount of such assets may not be recoverable. Determination of recoverability of long-lived
  assets is based on an estimate of the undiscounted future cash flows resulting from the use of the asset and its eventual disposition.
  Measurement of an impairment loss for long-lived assets that management expects to hold and use is

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  based on the difference between the fair value of the asset and its carrying value. Long-lived assets to be disposed of are reported at the
  lower of carrying amount or fair value less costs to sell.
  (m) Fair Value Fair value is defined as the price that would be received from selling an asset or paid to transfer a liability in an orderly
  transaction between market participants at the measurement date. When determining the fair value measurements for assets and
  liabilities required or permitted to be either recorded or disclosed at fair value, we consider the principal or most advantageous market
  in which we would transact, and we also consider assumptions that market participants would use when pricing the asset or liability.
  The accounting guidance for fair value measurement requires an entity to maximize the use of observable inputs and minimize the use
  of unobservable inputs when measuring fair value. The standard establishes a fair value hierarchy based on the level of independent,
  objective evidence surrounding the inputs used to measure fair value. A financial instrument’s categorization within the fair value
  hierarchy is based upon the lowest level of input that is significant to the fair value measurement.
  The fair value hierarchy is as follows:
  Level 1 applies to assets or liabilities for which there are quoted prices in active markets for identical assets or liabilities.
  Level 2 applies to assets or liabilities for which there are inputs other than quoted prices that are observable for the asset or liability
  such as quoted prices for similar assets or liabilities in active markets; quoted prices for identical assets or liabilities in markets with
  insufficient volume or infrequent transactions (less active markets); or model-derived valuations in which significant inputs are
  observable or can be derived principally from, or corroborated by, observable market data. We use inputs such as actual trade data,
  benchmark yields, broker/dealer quotes, and other similar data, which are obtained from quoted market prices, independent pricing
  vendors, or other sources, to determine the ultimate fair value of assets or liabilities.
  Level 3 applies to assets or liabilities for which there are unobservable inputs to the valuation methodology that are significant to the
  measurement of the fair value of the assets or liabilities. The fair values are determined based on model-based techniques such as
  discounted cash flow models using inputs that we could not corroborate with market data.
  (n) Derivative Instruments We recognize derivative instruments as either assets or liabilities and measure those instruments at fair
  value. The accounting for changes in the fair value of a derivative depends on the intended use of the derivative and the resulting
  designation. For a derivative instrument designated as a fair value hedge, the gain or loss is recognized in earnings in the period of
  change together with the offsetting loss or gain on the hedged item attributed to the risk being hedged. For a derivative instrument
  designated as a cash flow hedge, the gain or loss is initially reported as a component of AOCI and subsequently reclassified into
  earnings when the hedged exposure affects earnings. For a derivative instrument designated as a net investment hedge of our foreign
  operations, the gain or loss is recorded in the cumulative translation adjustment within AOCI together with the offsetting loss or gain of
  the hedged exposure of the underlying foreign operations. For derivative instruments that are not designated as accounting hedges,
  changes in fair value are recognized in earnings in the period of change. We record derivative instruments in the statements of cash
  flows to operating, investing, or financing activities consistent with the cash flows of the hedged item.
  Hedge effectiveness for foreign exchange forward contracts used as cash flow hedges is assessed by comparing the change in the fair
  value of the hedge contract with the change in the fair value of the forecasted cash flows of the hedged item. Hedge effectiveness for
  equity forward contracts and foreign exchange net investment hedge forward contracts is assessed by comparing changes in fair value
  due to changes in spot rates for both the derivative and the hedged item. For foreign exchange option contracts, hedge effectiveness is
  assessed based on the hedging instrument’s entire change in fair value. Hedge effectiveness for interest rate swaps is assessed by
  comparing the change in fair value of the swap with the change in the fair value of the hedged item due to changes in the benchmark
  interest rate.
  (o) Foreign Currency Translation Assets and liabilities of non-U.S. subsidiaries that operate in a local currency environment, where
  that local currency is the functional currency, are translated to U.S. dollars at exchange rates in effect at the balance sheet date, with the
  resulting translation adjustments directly recorded to a separate component of AOCI. Income and expense accounts are translated at
  average exchange rates during the year. Remeasurement adjustments are recorded in other income (loss), net. The effect of foreign
  currency exchange rates on cash and cash equivalents was not material for any of the fiscal years presented.
  (p) Concentrations of Risk Cash and cash equivalents are maintained with several financial institutions. Deposits held with banks may
  exceed the amount of insurance provided on such deposits. Generally, these deposits may be redeemed upon demand and are
  maintained with financial institutions with reputable credit and therefore bear minimal credit risk. We seek to mitigate our credit risks
  by spreading such risks across multiple counterparties and monitoring the risk profiles of these counterparties.



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  We perform ongoing credit evaluations of our customers and, with the exception of certain financing transactions, do not require
  collateral from our customers. We receive certain of our components from sole suppliers. Additionally, we rely on a limited number of
  contract manufacturers and suppliers to provide manufacturing services for our products. The inability of a contract manufacturer or
  supplier to fulfill our supply requirements could materially impact future operating results.
  (q) Revenue Recognition We enter into contracts with customers that can include various combinations of products and services
  which are generally distinct and accounted for as separate performance obligations. As a result, our contracts may contain multiple
  performance obligations. We determine whether arrangements are distinct based on whether the customer can benefit from the product
  or service on its own or together with other resources that are readily available and whether our commitment to transfer the product or
  service to the customer is separately identifiable from other obligations in the contract. We classify our hardware, perpetual software
  licenses, and SaaS as distinct performance obligations. Term software licenses represent multiple obligations, which include software
  licenses and software maintenance. In transactions where we deliver hardware or software, we are typically the principal and we record
  revenue and costs of goods sold on a gross basis. We refer to our term software licenses, security software licenses, SaaS, and
  associated service arrangements as subscription offers.
  We recognize revenue upon transfer of control of promised goods or services in a contract with a customer in an amount that reflects
  the consideration we expect to receive in exchange for those products or services. Transfer of control occurs once the customer has the
  contractual right to use the product, generally upon shipment, electronic delivery (or when the software is available for download by
  the customer), or once title and risk of loss has transferred to the customer. Transfer of control can also occur over time for software
  maintenance and services as the customer receives the benefit over the contract term. Our hardware and perpetual software licenses are
  distinct performance obligations where revenue is recognized upfront upon transfer of control. Term software licenses include multiple
  performance obligations where the term licenses are recognized upfront upon transfer of control, with the associated software
  maintenance revenue recognized ratably over the contract term as services and software updates are provided. SaaS arrangements do
  not include the right for the customer to take possession of the software during the term, and therefore have one distinct performance
  obligation which is satisfied over time with revenue recognized ratably over the contract term as the customer consumes the services.
  On our product sales, we record consideration from shipping and handling on a gross basis within net product sales. We record our
  revenue net of any associated sales taxes.
  An allowance for future sales returns is established based on historical trends in product return rates. The allowance for future sales
  returns as of July 31, 2021 and July 25, 2020 was $55 million and $79 million, respectively, and was recorded as a reduction of our
  accounts receivable and revenue.
  Significant Judgments
  Revenue is allocated among these performance obligations in a manner that reflects the consideration that we expect to be entitled to
  for the promised goods or services based on standalone selling prices (SSP). SSP is estimated for each distinct performance obligation
  and judgment may be required in their determination. The best evidence of SSP is the observable price of a product or service when we
  sell the goods separately in similar circumstances and to similar customers. In instances where SSP is not directly observable, we
  determine SSP using information that may include market conditions and other observable inputs.
  We assess relevant contractual terms in our customer contracts to determine the transaction price. We apply judgment in identifying
  contractual terms and determining the transaction price as we may be required to estimate variable consideration when determining the
  amount of revenue to recognize. Variable consideration includes potential contractual penalties and various rebate, cooperative
  marketing and other incentive programs that we offer to our distributors, channel partners and customers. When determining the
  amount of revenue to recognize, we estimate the expected usage of these programs, applying the expected value or most likely estimate
  and update the estimate at each reporting period as actual utilization becomes available. We also consider the customers' right of return
  in determining the transaction price, where applicable.
  We assess certain software licenses, such as for security software, that contain critical updates or upgrades which customers can
  download throughout the contract term. Without these updates or upgrades, the functionality of the software would diminish over a
  relatively short time period. These updates or upgrades provide the customer the full functionality of the purchased security software
  licenses and are required to maintain the security license's utility as the risks and threats in the environment are rapidly changing. In
  these circumstances, the revenue from these software arrangements is recognized as a single performance obligation satisfied over the
  contract term.
  We adopted ASC 606 at the beginning of fiscal 2019 using the modified retrospective method to those contracts that were not
  completed as of July 28, 2018. For the additional information, see Note 3.
  (r) Advertising Costs We expense all advertising costs as incurred. Advertising costs included within sales and marketing expenses
  were approximately $268 million, $187 million, and $204 million for fiscal 2021, 2020, and 2019, respectively.
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  (s) Share-Based Compensation Expense We measure and recognize the compensation expense for all share-based awards made to
  employees and directors, including employee stock options, restricted stock units (RSUs), performance-based restricted stock units
  (PRSUs), and employee stock purchases related to the Employee Stock Purchase Plan (Employee Stock Purchase Rights) based on
  estimated fair values. The fair value of employee stock options is estimated on the date of grant using a lattice-binomial option-pricing
  model (Lattice-Binomial Model) or the Black-Scholes model, and for employee stock purchase rights we estimate the fair value using
  the Black-Scholes model. The fair value for time-based stock awards and stock awards that are contingent upon the achievement of
  financial performance metrics is based on the grant date share price reduced by the present value of the expected dividend yield prior to
  vesting. The fair value of market-based stock awards is estimated using an option-pricing model on the date of grant. Share-based
  compensation expense is reduced for forfeitures.
  (t) Software Development Costs Software development costs, including costs to develop software sold, leased, or otherwise marketed,
  that are incurred subsequent to the establishment of technological feasibility are capitalized if significant. Costs incurred during the
  application development stage for internal-use software are capitalized if significant. Capitalized software development costs are
  amortized using the straight-line amortization method over the estimated useful life of the applicable software. Such software
  development costs required to be capitalized have not been material to date.
  (u) Income Taxes Income tax expense is based on pretax financial accounting income. Deferred tax assets and liabilities are
  recognized for the expected tax consequences of temporary differences between the tax bases of assets and liabilities and their reported
  amounts. Valuation allowances are recorded to reduce deferred tax assets to the amount that will more likely than not be realized.
  We account for uncertainty in income taxes using a two-step approach to recognizing and measuring uncertain tax positions. The first
  step is to evaluate the tax position for recognition by determining if the weight of available evidence indicates that it is more likely than
  not that the position will be sustained on audit, including resolution of related appeals or litigation processes, if any. The second step is
  to measure the tax benefit as the largest amount that is more than 50% likely of being realized upon settlement. We classify the liability
  for unrecognized tax benefits as current to the extent that we anticipate payment (or receipt) of cash within one year. Interest and
  penalties related to uncertain tax positions are recognized in the provision for income taxes.
  (v) Computation of Net Income per Share Basic net income per share is computed using the weighted-average number of common
  shares outstanding during the period. Diluted net income per share is computed using the weighted-average number of common shares
  and dilutive potential common shares outstanding during the period. Diluted shares outstanding includes the dilutive effect of in-the-
  money options, unvested restricted stock, and restricted stock units. The dilutive effect of such equity awards is calculated based on the
  average share price for each fiscal period using the treasury stock method. Under the treasury stock method, the amount the employee
  must pay for exercising stock options and the amount of compensation cost for future service that we have not yet recognized are
  collectively assumed to be used to repurchase shares.
  (w) Consolidation of Variable Interest Entities Our approach in assessing the consolidation requirement for variable interest entities
  focuses on identifying which enterprise has the power to direct the activities that most significantly impact the variable interest entity’s
  economic performance and which enterprise has the obligation to absorb losses or the right to receive benefits from the variable interest
  entity. Should we conclude that we are the primary beneficiary of a variable interest entity, the assets, liabilities, and results of
  operations of the variable interest entity will be included in our Consolidated Financial Statements.
  (x) Use of Estimates The preparation of financial statements and related disclosures in conformity with accounting principles
  generally accepted in the United States requires management to make estimates and judgments that affect the amounts reported in the
  Consolidated Financial Statements and accompanying notes. Estimates are used for the following, among others:
  ▪   Revenue recognition
  ▪   Allowances for accounts receivable, sales returns, and financing receivables
  ▪   Inventory valuation and liability for purchase commitments with contract manufacturers and suppliers
  ▪   Loss contingencies and product warranties
  ▪   Fair value measurements
  ▪   Goodwill and purchased intangible asset impairments
  ▪   Income taxes
  The inputs into certain of our judgments, assumptions, and estimates considered the economic implications of the COVID-19 pandemic
  on our critical and significant accounting estimates. The actual results experienced by us may differ materially from our estimates. As
  the COVID-19 pandemic continues, many of our estimates could require increased judgment and carry a higher degree of variability
  and volatility. As events continue to evolve our estimates may change materially in future periods.
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  (y) New Accounting Updates Recently Adopted
  Credit Losses of Financial Instruments In June 2016, the FASB issued an accounting standard update that requires measurement and
  recognition of expected credit losses for financial assets held based on historical experience, current conditions, and reasonable and
  supportable forecasts that affect the collectibility of the reported amount. We adopted this standard at the beginning of our first quarter
  of fiscal 2021, applied it at the beginning of the period of adoption and did not restate prior periods. The standard primarily impacts our
  financial assets measured at amortized cost and available-for-sale debt securities. The standard did not have a material impact on our
  consolidated financial statements upon adoption.
  (z) Recent Accounting Standards or Updates Not Yet Effective as of Fiscal Year End
  Reference Rate Reform In March 2020, the FASB issued an accounting standard update and subsequent amendments that provide
  optional expedients and exceptions to the current guidance on contract modification and hedging relationships to ease the financial
  reporting burden of the expected market transition from the London InterBank Offered Rate (LIBOR) and other interbank offered rates
  to alternative reference rates. This accounting standard update was effective upon issuance and may be applied prospectively through
  December 31, 2022. We are currently evaluating the impact of this accounting standard update on our Consolidated Financial
  Statements.


  3.    Revenue
  (a) Disaggregation of Revenue
  We disaggregate our revenue into groups of similar products and services that depict the nature, amount, and timing of revenue and
  cash flows for our various offerings. The sales cycle, contractual obligations, customer requirements, and go-to-market strategies differ
  for each of our product categories, resulting in different economic risk profiles for each category.
  The following table presents this disaggregation of revenue (in millions):
  Years Ended                                                                      July 31, 2021        July 25, 2020        July 27, 2019
  Revenue:
     Infrastructure Platforms                                                  $           27,109   $           27,219   $           30,184
     Applications                                                                           5,504                5,568                5,803
     Security                                                                               3,382                3,158                2,822
     Other Products                                                                            19                   33                  196
          Total Product                                                                    36,014               35,978               39,005
     Services                                                                              13,804               13,323               12,899
                    Total (1)                                                  $           49,818   $           49,301   $           51,904

  Amounts may not sum due to rounding. We have made certain reclassifications to the product revenue amounts for prior years to
  conform to the current year’s presentation.
    During the second quarter of fiscal 2019, we completed the divestiture of the Service Provider Video Software Solutions (SPVSS)
  (1)

  business. Total revenue includes SPVSS business revenue of $168 million for fiscal 2019.
  Infrastructure Platforms consist of our core networking technologies of switching, routing, wireless, and data center products that are
  designed to work together to deliver networking capabilities and transport and/or store data. These technologies consist of both
  hardware and software offerings, including software licenses and software-as-a-service (SaaS), that help our customers build networks,
  automate, orchestrate, integrate, and digitize data. We are shifting and expanding more of our business to software and subscriptions
  across our core networking portfolio. Our hardware and perpetual software in this category are distinct performance obligations where
  revenue is recognized upfront upon transfer of control. Term software licenses are multiple performance obligations where the term
  license is recognized upfront upon transfer of control with the associated software maintenance revenue recognized ratably over the
  contract term. SaaS arrangements in this category have one distinct performance obligation which is satisfied over time with revenue
  recognized ratably over the contract term.
  Applications consists of offerings that utilize the core networking and data center platforms to provide their functions. The products
  consist primarily of software offerings, including software licenses and SaaS, as well as hardware. Our perpetual software and
  hardware in this category are distinct performance obligations where revenue is recognized upfront upon transfer of control. Term
  software licenses are multiple performance obligations where the term license is recognized upfront upon transfer of control with the
  associated software maintenance revenue recognized ratably over the contract term. SaaS arrangements in this category have one
  distinct performance obligation which is satisfied over time with revenue recognized ratably over the contract term.
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  Security primarily includes our network security, cloud and email security, identity and access management, advanced threat
  protection, and unified threat management products. These products consist of both hardware and software offerings, including
  software licenses and SaaS. Updates and upgrades for the term software licenses are critical for our software to perform its intended
  commercial purpose because of the continuous need for our software to secure our customers' network environments against frequent
  threats. Therefore, security software licenses are generally represented by a single distinct performance obligation with revenue
  recognized ratably over the contract term. Our hardware and perpetual software in this category are distinct performance obligations
  where revenue is recognized upfront upon transfer of control. SaaS arrangements in this category have one distinct performance
  obligation which is satisfied over time with revenue recognized ratably over the contract term.
  Other Products primarily includes our emerging technologies products. These products include both hardware and software licenses.
  Our offerings in this category are distinct performance obligations where revenue is recognized upfront upon transfer of control.
  In addition to our product offerings, we provide a broad range of service and support options for our customers, including technical
  support services and advanced services. Technical support services represent the majority of these offerings which are distinct
  performance obligations that are satisfied over time with revenue recognized ratably over the contract term. Advanced services are
  distinct performance obligations that are satisfied over time with revenue recognized as services are delivered.
  The sales arrangements as discussed above are typically made pursuant to customer purchase orders based on master purchase or
  partner agreements. Cash is received based on our standard payment terms which is typically 30 days. We provide financing
  arrangements to customers for all of our hardware, software and service offerings. Refer to Note 9 for additional information. For these
  arrangements, cash is typically received over time.
  (b) Contract Balances
  Accounts receivable, net was $5.8 billion as of July 31, 2021 compared to $5.5 billion as of July 25, 2020, as reported on the
  Consolidated Balance Sheets.
  Contract assets consist of unbilled receivables and are recorded when revenue is recognized in advance of scheduled billings to our
  customers. These amounts are primarily related to software and service arrangements where transfer of control has occurred but we
  have not yet invoiced. As of July 31, 2021 and July 25, 2020, our contract assets for these unbilled receivables, net of allowances, were
  $1.4 billion and $1.2 billion, respectively, and were included in other current assets and other assets.
  Gross contract assets by our internal risk ratings are summarized as follows (in millions):
                                                                                                                           July 31, 2021
  1 to 4                                                                                                               $               521
  5 to 6                                                                                                                               770
  7 and Higher                                                                                                                         166
       Total                                                                                                           $             1,457

  Contract liabilities consist of deferred revenue. Deferred revenue was $22.2 billion as of July 31, 2021 compared to $20.4 billion as of
  July 25, 2020. We recognized approximately $11.3 billion of revenue during fiscal 2021 that was included in the deferred revenue
  balance at July 25, 2020.
  (c) Capitalized Contract Acquisition Costs
  We capitalize direct and incremental costs incurred to acquire contracts, primarily sales commissions, for which the associated revenue
  is expected to be recognized in future periods. We incur these costs in connection with both initial contracts and renewals. These costs
  are initially deferred and typically amortized over the term of the customer contract which corresponds to the period of benefit.
  Deferred sales commissions were $967 million and $732 million as of July 31, 2021 and July 25, 2020, respectively, and were included
  in other current assets and other assets. The amortization expense associated with these costs was $532 million and $477 million for
  fiscal 2021 and 2020, respectively, and was included in sales and marketing expenses.




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  4.   Acquisitions and Divestitures
  (a) Acquisition Summary
  We completed 13 acquisitions during fiscal 2021. A summary of the allocation of the total purchase consideration is presented as
  follows (in millions):
                                                                                         Net Tangible
                                                                                        Assets Acquired       Purchased
                                                                          Purchase        (Liabilities        Intangible
  Fiscal 2021                                                           Consideration      Assumed)             Assets            Goodwill
  Acacia                                                            $           4,983   $          442 $            2,160     $         2,381
  Others                                                                        2,472             (130)               754               1,848
    Total                                                           $           7,455   $          312 $            2,914     $         4,229

  On March 1, 2021, we completed our acquisition of Acacia Communications, Inc. (“Acacia”), a public fabless semiconductor company
  that develops, manufactures and sells high-speed coherent optical interconnect products that are designed to transform communications
  networks through improvements in performance, capacity and cost. Revenue from the Acacia acquisition has been included in our
  Infrastructure Platforms product category.
  The total purchase consideration related to our acquisitions completed during fiscal 2021 consisted of cash consideration and vested
  share-based awards assumed. The total cash and cash equivalents acquired from these acquisitions was approximately $338 million.
  Fiscal 2020 Acquisitions
  Allocation of the purchase consideration for acquisitions completed in fiscal 2020 is summarized as follows (in millions):
                                                                                         Net Tangible
                                                                                        Assets Acquired
                                                                          Purchase        (Liabilities        Purchased
  Fiscal 2020                                                           Consideration      Assumed)       Intangible Assets       Goodwill
  Total acquisitions (six in total)                                 $             359   $            (11) $           172     $          198

  The total purchase consideration related to our acquisitions completed during fiscal 2020 consisted of cash consideration and vested
  share-based awards assumed. The total cash and cash equivalents acquired from these acquisitions was approximately $23 million.
  Fiscal 2019 Acquisitions
  In fiscal 2019, we completed five acquisitions for total purchase consideration of $2.7 billion.
  (b) Other Acquisition and Divestiture Information
  Total transaction costs related to our acquisition and divestiture activities during fiscal 2021, 2020, and 2019 were $46 million, $21
  million, and $21 million, respectively. These transaction costs were expensed as incurred in G&A expenses in the Consolidated
  Statements of Operations.
  The goodwill generated from our acquisitions completed during fiscal 2021 is primarily related to expected synergies. The goodwill is
  generally not deductible for income tax purposes.
  The Consolidated Financial Statements include the operating results of each acquisition from the date of acquisition. Pro forma results
  of operations and the revenue and net income subsequent to the acquisition date for the acquisitions completed during fiscal 2021,
  2020, and 2019 have not been presented because the effects of the acquisitions, individually and in the aggregate, were not material to
  our financial results.




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  5.   Goodwill and Purchased Intangible Assets
  (a) Goodwill
  The following tables present the goodwill allocated to our reportable segments as of July 31, 2021 and July 25, 2020, as well as the
  changes to goodwill during fiscal 2021 and 2020 (in millions):
                                                                                                                       Foreign
                                                                                                                      Currency
                                                                         Balance at July     Acquisitions &          Translation      Balance at July
                                                                            25, 2020          Divestitures           and Other           31, 2021
  Americas                                                               $       21,304      $           2,275   $             94     $         23,673
  EMEA                                                                            8,040                  1,019                 35                9,094
  APJC                                                                            4,462                    920                 19                5,401
     Total                                                               $       33,806      $           4,214   $            148     $         38,168

                                                                                                                    Foreign
                                                                                                                    Currency
                                                                           Balance at July                       Translation and        Balance at July
                                                                              27, 2019           Acquisitions        Other                 25, 2020
  Americas                                                               $        21,120     $             132   $             52     $         21,304
  EMEA                                                                             7,977                    44                 19                8,040
  APJC                                                                             4,432                    22                  8                4,462
     Total                                                               $        33,529     $             198   $             79     $         33,806

  (b) Purchased Intangible Assets
  The following tables present details of our intangible assets acquired through acquisitions completed during fiscal 2021 and 2020 (in
  millions, except years):

                                                                                                                           INDEFINITE
                                                               FINITE LIVES                                                  LIVES
                                                                  CUSTOMER
                                 TECHNOLOGY                    RELATIONSHIPS                      OTHER                      IPR&D             TOTAL
                              Weighted-                     Weighted-                    Weighted-
                            Average Useful                Average Useful               Average Useful
  Fiscal 2021               Life (in Years)   Amount      Life (in Years) Amount       Life (in Years)      Amount           Amount            Amount
  Acacia                                4.0 $ 1,290                4.0 $       490                  3.1 $        35    $            345    $ 2,160
  Others                                4.3     545                4.6         174                  2.9          35                  —         754
    Total                                   $ 1,835                    $       664                      $        70    $            345    $ 2,914

                                                                                                                           INDEFINITE
                                                                FINITE LIVES                                                 LIVES
                                                                  CUSTOMER
                                  TECHNOLOGY                   RELATIONSHIPS                       OTHER                     IPR&D             TOTAL
                              Weighted-                     Weighted-                    Weighted-
                            Average Useful                Average Useful               Average Useful
  Fiscal 2020               Life (in Years)      Amount   Life (in Years) Amount       Life (in Years)      Amount           Amount            Amount
  Total acquisitions (six
  in total)                              4.8 $      161             4.2 $        10                 1.5 $         1    $              —    $      172

  The following tables present details of our purchased intangible assets (in millions):




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                                                                                                      Accumulated
  July 31, 2021                                                                   Gross               Amortization         Net
  Purchased intangible assets with finite lives:
      Technology                                                           $              3,629   $           (1,437) $          2,192
      Customer relationships                                                              1,387                 (523)              864
      Other                                                                                  71                  (13)               58
  Total purchased intangible assets with finite lives                                     5,087               (1,973)            3,114
  In-process research and development, with indefinite lives                                505                   —                505
      Total                                                                $              5,592   $           (1,973) $          3,619




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                                                                                                       Accumulated
  July 25, 2020                                                                    Gross               Amortization              Net
  Purchased intangible assets with finite lives:
      Technology                                                            $              3,298   $           (2,336) $                 962
      Customer relationships                                                                 760                 (365)                   395
      Other                                                                                   26                  (20)                     6
  Total purchased intangible assets with finite lives                                      4,084               (2,721)                 1,363
  In-process research and development, with indefinite lives                                 213                   —                     213
        Total                                                               $              4,297   $           (2,721) $               1,576

  Purchased intangible assets include intangible assets acquired through acquisitions as well as through direct purchases or licenses.
  The following table presents the amortization of purchased intangible assets, including impairment charges (in millions):
  Years Ended                                                                   July 31, 2021          July 25, 2020         July 27, 2019
  Amortization of purchased intangible assets:
     Cost of sales                                                          $               716    $               659   $               624
     Operating expenses                                                                     215                    141                   150
          Total                                                             $               931    $               800   $               774

  The estimated future amortization expense of purchased intangible assets with finite lives as of July 31, 2021 is as follows (in
  millions):
  Fiscal Year                                                                                                                  Amount
  2022                                                                                                                   $             1,037
  2023                                                                                                                   $               873
  2024                                                                                                                   $               749
  2025                                                                                                                   $               396
  2026                                                                                                                   $                55
  Thereafter                                                                                                             $                 4


  6.   Restructuring and Other Charges
  We initiated a restructuring plan during fiscal 2021 (the “Fiscal 2021 Plan”), which included a voluntary early retirement program, in
  order to realign the organization and enable further investment in key priority areas with estimated pretax charges of approximately
  $900 million. In connection with the Fiscal 2021 Plan, we incurred charges of $881 million during fiscal 2021. We substantially
  completed the Fiscal 2021 Plan in fiscal 2021 and do not expect any remaining charges related to this plan to be material.
  We initiated a restructuring plan during fiscal 2020 (the “Fiscal 2020 Plan”) in order to realign the organization and enable further
  investment in key priority areas, with estimated pretax charges of approximately $300 million. In connection with the Fiscal 2020 Plan,
  we incurred cumulative charges of $260 million. We completed the Fiscal 2020 Plan in fiscal 2021.
  In prior years, we initiated restructuring plans in order to realign our organization and enable further investment in key priority areas.
  The aggregate pretax charges related to these plans are primarily cash-based and consist of severance and other one-time termination
  benefits, and other costs.



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  The following table summarizes the activities related to the restructuring and other charges, as discussed above (in millions):
                                                                      FISCAL 2020 AND
                                                                         PRIOR PLANS                FISCAL 2021 PLAN
                                                                    Employee                      Employee
                                                                    Severance      Other          Severance      Other               Total
   Liability as of July 28, 2018                                $          60 $          13 $              — $             — $             73
    Charges                                                               252            70                —               —              322
    Cash payments                                                        (289)          (10)               —               —             (299)
    Non-cash items                                                         (1)          (62)               —               —              (63)
   Liability as of July 27, 2019                                           22            11                —               —               33
    Charges                                                               353           128                —               —              481
    Cash payments                                                        (317)          (10)               —               —             (327)
    Non-cash items                                                         —           (115)               —               —             (115)
   Liability as of July 25, 2020                                           58            14                —               —               72
    Charges                                                                —              5               836              45             886
    Cash payments                                                         (58)           (6)             (821)             (5)           (890)
    Non-cash items                                                         —             (3)                1             (32)            (34)
   Liability as of July 31, 2021                                $          — $           10 $              16 $             8 $            34


  7.   Balance Sheet and Other Details
  The following tables provide details of selected balance sheet and other items (in millions):
  Cash, Cash Equivalents, and Restricted Cash
                                                                                                        July 31, 2021         July 25, 2020
   Cash and cash equivalents                                                                      $              9,175    $            11,809
   Restricted cash included in other current assets                                                                 14                     —
   Restricted cash included in other assets                                                                        753                      3
                  Total cash, cash equivalents, and restricted cash                               $              9,942    $            11,812

  Our restricted cash balances are funds primarily related to contractual obligations with suppliers.
  Inventories
                                                                                                        July 31, 2021         July 25, 2020
       Raw materials                                                                               $                801   $                  456
       Work in process                                                                                               54                       25
       Finished goods:
           Deferred cost of sales                                                                                    97                    59
           Manufactured finished goods                                                                              422                   542
           Total finished goods                                                                                     519                   601
       Service-related spares                                                                                       174                   184
       Demonstration systems                                                                                         11                    16
                  Total                                                                            $              1,559   $             1,282

  Our provision for inventory was $116 million, $74 million, and $77 million in fiscal 2021, 2020, and 2019, respectively.



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  Property and Equipment, Net
                                                                                                  July 31, 2021              July 25, 2020
       Gross property and equipment:
           Land, buildings, and building and leasehold improvements                           $             4,304 $                    4,252
           Computer equipment and related software                                                            858                        875
           Production, engineering, and other equipment                                                     5,106                      5,163
           Operating lease assets                                                                             273                        337
           Furniture, fixtures and other                                                                      377                        387
           Total gross property and equipment                                                              10,918                     11,014
       Less: accumulated depreciation and amortization                                                     (8,580)                    (8,561)
                 Total                                                                        $             2,338 $                    2,453

  Remaining Performance Obligations
                                                                                                  July 31, 2021             July 25, 2020
       Product                                                                                $           13,270        $             11,261
       Service                                                                                            17,623                      17,093
                    Total                                                                     $           30,893        $             28,354

  Remaining Performance Obligations (RPO) are comprised of deferred revenue plus unbilled contract revenue. As of July 31, 2021, the
  aggregate amount of RPO was comprised of $22.2 billion of deferred revenue and $8.7 billion of unbilled contract revenue. We expect
  approximately 53% of this amount to be recognized as revenue over the next 12 months. As of July 25, 2020, the aggregate amount of
  RPO was comprised of $20.4 billion of deferred revenue and $7.9 billion of unbilled contract revenue. Unbilled contract revenue
  represents noncancelable contracts for which we have not invoiced, have an obligation to perform, and revenue has not yet been
  recognized in the financial statements.
  Deferred Revenue
                                                                                                  July 31, 2021              July 25, 2020
       Product                                                                                $             9,416       $              7,895
       Service                                                                                             12,748                     12,551
                    Total                                                                     $            22,164       $             20,446
  Reported as:
     Current                                                                                  $            12,148       $             11,406
     Noncurrent                                                                                            10,016                      9,040
               Total                                                                          $            22,164       $             20,446


  8.   Leases
  (a) Lessee Arrangements
  The following table presents our operating lease balances (in millions):
                                                              Balance Sheet Line Item         July 31, 2021                 July 25, 2020
  Operating lease right-of-use assets                     Other assets                    $              1,095      $                       921

  Operating lease liabilities                             Other current liabilities       $                337      $                    341
  Operating lease liabilities                             Other long-term liabilities                      831                           661
    Total operating lease liabilities                                                     $              1,168      $                  1,002




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  The components of our lease expenses were as follows (in millions):
  Years Ended                                                                                    July 31, 2021                 July 25, 2020
  Operating lease expense                                                                   $                    399   $                       428
  Short-term lease expense                                                                                        65                            69
  Variable lease expense                                                                                         173                           157
      Total lease expense                                                                   $                    637   $                       654

  Supplemental information related to our operating leases is as follows (in millions):
  Years Ended                                                                                    July 31, 2021                 July 25, 2020
  Cash paid for amounts included in the measurement of lease liabilities — operating
  cash flows                                                                                $                    407   $                       413
  Right-of-use assets obtained in exchange for operating leases liabilities                 $                    536   $                       197

  The weighted-average lease term was 5.2 years and 4.0 years as of July 31, 2021 and July 25, 2020, respectively. The weighted-
  average discount rate was 1.7% and 1.5% as of July 31, 2021 and July 25, 2020, respectively.
  The maturities of our operating leases (undiscounted) as of July 31, 2021 are as follows (in millions):
  Fiscal Year                                                                                                                     Amount
  2022                                                                                                                     $                 355
  2023                                                                                                                                       279
  2024                                                                                                                                       195
  2025                                                                                                                                       127
  2026                                                                                                                                        70
  Thereafter                                                                                                                                 219
      Total lease payments                                                                                                                 1,245
  Less interest                                                                                                                              (77)
             Total                                                                                                         $               1,168

  (b) Lessor Arrangements
  Our leases primarily represent sales-type leases with terms of four years on average. We provide leasing of our equipment and
  complementary third-party products primarily through our channel partners and distributors, for which the income arising from these
  leases is recognized through interest income. Interest income for fiscal 2021 and 2020 was $75 million and $94 million, respectively,
  and was included in interest income in the Consolidated Statement of Operations. The net investment of our lease receivables is
  measured at the commencement date as the gross lease receivable, residual value less unearned income and allowance for credit loss.
  For additional information, see Note 9.
  Future minimum lease payments on our lease receivables as of July 31, 2021 are summarized as follows (in millions):
  Fiscal Year                                                                                                                     Amount
  2022                                                                                                                     $               682
  2023                                                                                                                                     556
  2024                                                                                                                                     286
  2025                                                                                                                                     144
  2026                                                                                                                                      41
  Thereafter                                                                                                                                 1
      Total                                                                                                                              1,710
        Less: Present value of lease payments                                                                                            1,632
      Unearned income                                                                                                      $                78

  Actual cash collections may differ from the contractual maturities due to early customer buyouts, refinancings, or defaults.



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  We provide financing of certain equipment through operating leases, and the amounts are included in property and equipment in the
  Consolidated Balance Sheets. Amounts relating to equipment on operating lease assets held by us and the associated accumulated
  depreciation are summarized as follows (in millions):
                                                                                                       July 31, 2021         July 25, 2020
  Operating lease assets                                                                          $                 273 $                 337
  Accumulated depreciation                                                                                         (165)                 (198)
     Operating lease assets, net                                                                  $                 108 $                 139

  Our operating lease income for fiscal 2021 and 2020 was $151 million and $190 million, respectively, and was included in product
  revenue in the Consolidated Statement of Operations.
  Minimum future rentals on noncancelable operating leases as of July 31, 2021 are summarized as follows (in millions):
  Fiscal Year                                                                                                                  Amount
  2022                                                                                                                   $                   49
  2023                                                                                                                                       24
  2024                                                                                                                                        6
  2025                                                                                                                                        1
      Total                                                                                                              $                   80


  9.   Financing Receivables
  (a) Financing Receivables
  Financing receivables primarily consist of lease receivables, loan receivables, and financed service contracts. Lease receivables
  represent sales-type leases resulting from the sale of Cisco's and complementary third-party products and are typically collateralized by
  a security interest in the underlying assets. Lease receivables consist of arrangements with terms of four years on average. Loan
  receivables represent financing arrangements related to the sale of our hardware, software, and services, which may include additional
  funding for other costs associated with network installation and integration of our products and services. Loan receivables have terms
  of three years on average. Financed service contracts include financing receivables related to technical support and advanced services.
  Revenue related to the technical support services is typically deferred and included in deferred service revenue and is recognized
  ratably over the period during which the related services are to be performed, which typically ranges from one year to three years.
  A summary of our financing receivables is presented as follows (in millions):
                                                           Lease                   Loan               Financed Service
  July 31, 2021                                          Receivables            Receivables              Contracts               Total
  Gross                                             $             1,710 $                 5,203 $                2,453 $                 9,366
  Residual value                                                    103                      —                      —                      103
  Unearned income                                                   (78)                     —                      —                      (78)
  Allowance for credit loss                                         (38)                    (86)                    (3)                   (127)
          Total, net                                $             1,697 $                 5,117 $                2,450 $                 9,264
  Reported as:
     Current                                        $               780     $             2,372   $              1,228   $               4,380
     Noncurrent                                                     917                   2,745                  1,222                   4,884
         Total, net                                 $             1,697     $             5,117   $              2,450   $               9,264




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                                                                 Lease                        Loan                     Financed Service
  July 25, 2020                                                Receivables                 Receivables                    Contracts                       Total
  Gross                                                 $                2,127 $                     5,937 $                         2,830 $                      10,894
  Residual value                                                           123                          —                               —                            123
  Unearned income                                                         (114)                         —                               —                           (114)
  Allowance for credit loss                                                (48)                        (81)                             (9)                         (138)
          Total, net                                    $                2,088 $                     5,856 $                         2,821 $                      10,765
  Reported as:
     Current                                            $                  918     $                 2,692        $                  1,441     $                   5,051
     Noncurrent                                                          1,170                       3,164                           1,380                         5,714
          Total, net                                    $                2,088     $                 5,856        $                  2,821     $                  10,765

  (b) Credit Quality of Financing Receivables
  Gross financing receivables(1) categorized by our internal credit risk rating by period of origination as of July 31, 2021 are summarized
  as follows (in millions):
                                                                                                         Fiscal Year
  Internal Credit Risk Rating                          Prior       July 29, 2017 July 28, 2018       July 27, 2019 July 25, 2020          July 31, 2021           Total
  Lease Receivables:
    1 to 4                                         $         2     $         20    $        100      $           168 $          282       $         227    $         799
    5 to 6                                                   1               17              65                  187            285                 231              786
    7 and Higher                                            —                 2               6                   12             23                   4               47
       Total Lease Receivables                     $         3     $         39    $        171      $           367 $          590       $         462    $       1,632

  Loan Receivables:
    1 to 4                                         $         4     $          86   $        134      $           577 $           990      $    1,552       $       3,343
    5 to 6                                                  —                 19             75                  202             505             925               1,726
    7 and Higher                                             1                 2              4                   50              43              34                 134
       Total Loan Receivables                      $         5     $         107   $        213      $           829 $         1,538      $    2,511       $       5,203

  Financed Service Contracts:
     1 to 4                                        $        —      $         38    $         26      $           106 $          252       $    1,053       $       1,475
     5 to 6                                                 —                 6              26                  105            302              520                 959
     7 and Higher                                           —                —                1                    6              7                5                  19
        Total Financed Service Contracts           $        —      $         44    $         53      $           217 $          561       $    1,578       $       2,453

                Total                              $           8   $         190   $        437      $       1,413 $           2,689      $    4,551       $       9,288

  (1)   Lease receivables calculated as gross lease receivables, excluding residual value, less unearned income.
  The following table summarizes our gross receivables categorized by our internal credit risk rating as of July 25, 2020 and was not
  restated to reflect the impact of adoption of the accounting standards update on Credit Losses on Financial Instruments:
                                                                                                          INTERNAL CREDIT RISK RATING
  July 25, 2020                                                                             1 to 4                 5 to 6            7 and Higher              Total
  Lease receivables                                                                    $         992         $           952     $             69     $            2,013
  Loan receivables                                                                             3,808                   1,961                  168                  5,937
  Financed service contracts                                                                   1,645                   1,153                   32                  2,830
     Total                                                                             $       6,445         $         4,066     $            269     $           10,780




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  The following tables present the aging analysis of gross receivables as of July 31, 2021 and July 25, 2020 (in millions):
                                             DAYS PAST DUE
                                     (INCLUDES BILLED AND UNBILLED)
                                                                                                                                                                         Nonaccrual      Impaired
                                                                                                 Total                                                  120+ Still       Financing      Financing
  July 31, 2021                      31 - 60            61 - 90              91+                Past Due            Current           Total             Accruing         Receivables    Receivables
  Lease receivables              $        21        $          17       $          29       $         67        $     1,565       $     1,632       $            1   $           33     $        26
  Loan receivables                        71                   17                  35                123              5,080             5,203                    4               33              33
  Financed service contracts              18                   13                  18                 49              2,404             2,453                    3                3               3
     Total                       $       110        $          47       $          82       $        239        $     9,049       $     9,288       $            8   $           69     $        62


                                                            DAYS PAST DUE
                                                    (INCLUDES BILLED AND UNBILLED)
                                                                                                                                                                     Nonaccrual          Impaired
                                                                                                                Total                                                 Financing          Financing
  July 25, 2020                                    31 - 60              61 - 90             91+                Past Due           Current                Total       Receivables        Receivables
  Lease receivables                            $          29        $         47        $          48      $          124     $        1,889    $          2,013     $           43     $        43
  Loan receivables                                       129                  78                   78                 285              5,652               5,937                 65              65
  Financed service contracts                              69                  75                  124                 268              2,562               2,830                  4               4
     Total                                     $         227        $        200        $         250      $          677     $       10,103    $         10,780     $          112     $       112

  Past due financing receivables are those that are 31 days or more past due according to their contractual payment terms. The data in the
  preceding tables is presented by contract, and the aging classification of each contract is based on the oldest outstanding receivable, and
  therefore past due amounts also include unbilled and current receivables within the same contract.
  As of July 25, 2020, we had financing receivables of $67 million, net of unbilled or current receivables, that were greater than 120 days
  plus past due but remained on accrual status as they are well secured and in the process of collection.
  (c) Allowance for Credit Loss Rollforward
  The allowances for credit loss and the related financing receivables are summarized as follows (in millions):
                                                                                                                     CREDIT LOSS ALLOWANCES
                                                                                    Lease                               Loan                    Financed Service
                                                                                  Receivables                        Receivables                   Contracts                           Total
  Allowance for credit loss as of July 25, 2020                          $                          48 $                               81 $                           9 $                      138
  Provisions (benefits)                                                                            (10)                               (12)                           (5)                       (27)
  Recoveries (write-offs), net                                                                      (1)                                (1)                           —                          (2)
  Foreign exchange and other                                                                         1                                 18                            (1)                        18
  Allowance for credit loss as of July 31, 2021                          $                          38 $                               86 $                           3 $                      127

                                                                                                                      CREDIT LOSS ALLOWANCES
                                                                                    Lease                               Loan                    Financed Service
                                                                                  Receivables                        Receivables                   Contracts                           Total
  Allowance for credit loss as of July 27, 2019                          $                          46 $                               71 $                           9 $                      126
  Provisions (benefits)                                                                              5                                 32                             1                         38
  Recoveries (write-offs), net                                                                      (3)                               (19)                           —                         (22)
  Foreign exchange and other                                                                        —                                  (3)                           (1)                        (4)
  Allowance for credit loss as of July 25, 2020                          $                          48 $                               81 $                           9 $                      138




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                                                                                         CREDIT LOSS ALLOWANCES
                                                             Lease                         Loan                  Financed Service
                                                           Receivables                  Receivables                 Contracts                    Total
  Allowance for credit loss as of July 28, 2018       $                  135 $                        60    $                    10 $                     205
  Provisions (benefits)                                                  (54)                         11                         27                       (16)
  Recoveries (write-offs), net                                           (14)                         —                         (28)                      (42)
  Foreign exchange and other                                             (21)                         —                          —                        (21)
  Allowance for credit loss as of July 27, 2019       $                   46 $                        71    $                     9 $                     126


  10. Available-for-Sale Debt and Equity Investments
  (a) Summary of Available-for-Sale Debt Investments
  The following tables summarize our available-for-sale debt investments (in millions):
                                                                                               Gross                      Gross
                                                                   Amortized                 Unrealized               Unrealized and             Fair
  July 31, 2021                                                      Cost                      Gains                   Credit Losses             Value
       U.S. government securities                             $                1,773     $                  21    $                  — $               1,794
       U.S. government agency securities                                         152                        —                        —                   152
       Non-U.S. government and agency securities                                   3                        —                        —                     3
       Corporate debt securities                                               8,727                       213                      (30)               8,910
       U.S. agency mortgage-backed securities                                  2,838                        34                      (10)               2,862
       Commercial paper                                                        1,190                        —                        —                 1,190
       Certificates of deposit                                                   295                        —                        —                   295
           Total                                              $               14,978     $                 268    $                 (40) $            15,206

                                                                                                Gross                     Gross
                                                                   Amortized                  Unrealized                Unrealized                 Fair
   July 25, 2020                                                     Cost                       Gains                    Losses                   Value
        U.S. government securities                            $                2,614     $                  71    $                  — $               2,685
        U.S. government agency securities                                        110                        —                        —                   110
        Corporate debt securities                                             11,549                       334                       (6)              11,877
        U.S. agency mortgage-backed securities                                 1,987                        49                       (1)               2,035
        Commercial paper                                                         727                        —                        —                   727
        Certificates of deposit                                                  176                        —                        —                   176
            Total                                             $               17,163     $                 454    $                  (7) $            17,610

  The following table presents the gross realized gains and gross realized losses related to available-for-sale debt investments (in
  millions):
  Years Ended                                                                          July 31, 2021             July 25, 2020               July 27, 2019
  Gross realized gains                                                           $                     55 $                     70 $                       17
  Gross realized losses                                                                                (2)                     (28)                       (30)
      Total                                                                      $                     53 $                     42 $                      (13)




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  The following tables present the breakdown of the available-for-sale debt investments with gross unrealized losses and the duration that
  those losses had been unrealized at July 31, 2021 and July 25, 2020 (in millions):
                                               UNREALIZED LOSSES                UNREALIZED LOSSES
                                              LESS THAN 12 MONTHS             12 MONTHS OR GREATER                         TOTAL
                                                             Gross                           Gross                                   Gross
                                                           Unrealized                      Unrealized                              Unrealized
  July 31, 2021                               Fair Value    Losses             Fair Value   Losses                Fair Value         Losses
     U.S. government securities          $           468   $         — $               —    $           —     $          468   $            —
     U.S. government agency securities                26             —                 —                —                 26                —
     Corporate debt securities                     1,086             (5)                6               —              1,092                (5)
     U.S. agency mortgage-backed
     securities                                    1,293            (10)               13               —              1,306                (10)
     Commercial paper                                 37             —                 —                —                 37                 —
            Total                        $         2,910   $        (15) $             19   $           —     $        2,929   $            (15)

                                               UNREALIZED LOSSES                UNREALIZED LOSSES
                                              LESS THAN 12 MONTHS             12 MONTHS OR GREATER                         TOTAL
                                                             Gross                           Gross                                   Gross
                                                           Unrealized                      Unrealized                              Unrealized
  July 25, 2020                               Fair Value    Losses            Fair Value    Losses                Fair Value        Losses
     U.S. government agency securities    $           33   $         — $               —    $           —    $            33   $            —
     Corporate debt securities                     1,060             (6)                3               —              1,063                (6)
     U.S. agency mortgage-backed
     securities                                      265              (1)              —                —                265                 (1)
            Total                         $        1,358   $          (7) $             3   $           —    $         1,361   $             (7)

  The following table summarizes the maturities of our available-for-sale debt investments as of July 31, 2021 (in millions):
                                                                                                      Amortized Cost           Fair Value
  Within 1 year                                                                                   $                4,981   $             4,976
  After 1 year through 5 years                                                                                     6,517                 6,677
  After 5 years through 10 years                                                                                     637                   685
  After 10 years                                                                                                       5                     6
  Mortgage-backed securities with no single maturity                                                               2,838                 2,862
      Total                                                                                       $               14,978   $            15,206

  Actual maturities may differ from the contractual maturities because borrowers may have the right to call or prepay certain obligations.
  (b) Summary of Equity Investments
  We recognized a net unrealized gain during fiscal 2021 on our marketable securities still held as of the reporting date of $8 million. Our
  net adjustments to non-marketable equity securities measured using the measurement alternative still held was a net gain of $39 million
  and a net loss of $13 million for fiscal 2021 and 2020, respectively. We held equity interests in certain private equity funds of
  $0.9 billion and $0.7 billion as of July 31, 2021 and July 25, 2020, respectively, which are accounted for under the NAV practical
  expedient.
  In the ordinary course of business, we have investments in privately held companies and provide financing to certain customers. These
  privately held companies and customers are evaluated for consolidation under the variable interest or voting interest entity models. We
  evaluate on an ongoing basis our investments in these privately held companies and our customer financings, and have determined that
  as of July 31, 2021, there were no significant variable interest or voting interest entities required to be consolidated in our Consolidated
  Financial Statements.
  As of July 31, 2021, the carrying value of our investments in privately held companies was $1.5 billion. Of the total carrying value of
  our investments in privately held companies as of July 31, 2021, $0.9 billion of such investments are considered to be in variable
  interest entities which are unconsolidated. We have total funding commitments of $0.2 billion related to privately held investments,
  some of which may be based on the achievement of certain agreed-upon milestones, and some of which are required to be funded on
  demand. The carrying value of these investments and the additional funding commitments collectively represent our maximum
  exposure related to privately held investments.
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  11. Fair Value
  (a) Assets and Liabilities Measured at Fair Value on a Recurring Basis
  Assets and liabilities measured at fair value on a recurring basis were as follows (in millions):
                                                              JULY 31, 2021                                  JULY 25, 2020
                                                      FAIR VALUE MEASUREMENTS                         FAIR VALUE MEASUREMENTS
                                                                             Total                                                           Total
                                                      Level 1    Level 2    Balance             Level 1       Level 2       Level 3         Balance
  Assets:
  Cash equivalents:
      Money market funds                          $     5,694   $       —     $    5,694    $     9,687   $        —    $        — $          9,687
      Commercial paper                                     —           114           114             —             —             —               —
      U.S. government securities                           —           300           300             —             —             —               —
      Corporate debt securities                            —            —             —              —              8            —                8
  Available-for-sale debt investments:
      U.S. government securities                           —         1,794         1,794              —         2,685            —            2,685
      U.S. government agency securities                    —           152           152              —           110            —              110
      Corporate debt securities                            —         8,910         8,910              —        11,877            —           11,877
      U.S. agency mortgage-backed securities               —         2,862         2,862              —         2,035            —            2,035
      Non-U.S. government agency securities                —             3             3              —            —             —               —
      Commercial paper                                     —         1,190         1,190              —           727            —              727
      Certificates of deposit                              —           295           295              —           176            —              176
  Equity investments:
      Marketable equity securities                        137            —           137              —            —             —               —
  Other assets:
      Money market funds                                  750           —            750             —          —                —        —
  Derivative assets                                        —           126           126             —         190                1      191
            Total                                 $     6,581   $   15,746    $   22,327    $     9,687   $ 17,808      $         1 $ 27,496
  Liabilities:
      Derivative liabilities                      $        —    $        20   $       20    $         —   $        10   $        — $             10
            Total                                 $        —    $        20   $       20    $         —   $        10   $        — $             10

  Level 1 marketable securities are determined by using quoted prices in active markets for identical assets. Level 2 available-for-sale
  debt investments are priced using quoted market prices for similar instruments or nonbinding market prices that are corroborated by
  observable market data. Our derivative instruments are primarily classified as Level 2, as they are not actively traded and are valued
  using pricing models that use observable market inputs. We did not have any transfers between Level 1 and Level 2 fair value
  measurements during the periods presented. Level 3 assets include certain derivative instruments, the values of which are determined
  based on discounted cash flow models using inputs that we could not corroborate with market data.
  (b) Assets Measured at Fair Value on a Nonrecurring Basis
  The carrying value of our non-marketable equity securities measured using the measurement alternative recorded to fair value on a
  non-recurring basis is adjusted for observable transactions for identical or similar investments of the same issuer or impairment. These
  securities are classified as Level 3 in the fair value hierarchy because we estimate the value based on valuation methods using the
  observable transaction price at the transaction date and other unobservable inputs such as volatility, rights, and obligations of the
  securities we hold.
  (c) Other Fair Value Disclosures
  The fair value of our short-term loan receivables and financed service contracts approximates their carrying value due to their short
  duration. The aggregate carrying value of our long-term loan receivables and financed service contracts as of July 31, 2021 and
  July 25, 2020 was $4.0 billion and $4.5 billion, respectively. The estimated fair value of our long-term loan



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  receivables and financed service contracts approximates their carrying value. We use significant unobservable inputs in determining
  discounted cash flows to estimate the fair value of our long-term loan receivables and financed service contracts, and therefore they are
  categorized as Level 3.
  As of July 31, 2021 and July 25, 2020, the estimated fair value of our short-term debt approximates its carrying value due to the short
  maturities. As of July 31, 2021, the fair value of our senior notes was $13.7 billion, with a carrying amount of $11.5 billion. This
  compares to a fair value of $17.4 billion and a carrying amount of $14.6 billion as of July 25, 2020. The fair value of the senior notes
  was determined based on observable market prices in a less active market and was categorized as Level 2 in the fair value hierarchy.


  12. Borrowings
  (a) Short-Term Debt
  The following table summarizes our short-term debt (in millions, except percentages):

                                                                    July 31, 2021                                 July 25, 2020
                                                           Amount             Effective Rate             Amount              Effective Rate
  Current portion of long-term debt                  $            2,508                  1.75 % $             3,005                     2.07 %

  We have a short-term debt financing program of up to $10.0 billion through the issuance of commercial paper notes. We use the
  proceeds from the issuance of commercial paper notes for general corporate purposes. We had no commercial paper outstanding as of
  July 31, 2021 and July 25, 2020.
  The effective rates for the short- and long-term debt include the interest on the notes, the accretion of the discount, the issuance costs,
  and, if applicable, adjustments related to hedging.
  (b) Long-Term Debt
  The following table summarizes our long-term debt (in millions, except percentages):
                                                                                       July 31, 2021                   July 25, 2020
                                                  Maturity Date                   Amount     Effective Rate       Amount      Effective Rate
  Senior notes:
   Fixed-rate notes:
      2.20%                                       February 28, 2021           $         —          —          $     2,500          2.30%
      2.90%                                       March 4, 2021                         —          —                  500          0.94%
      1.85%                                       September 20, 2021                 2,000       1.90%              2,000          1.90%
      3.00%                                       June 15, 2022                        500       1.13%                500          1.21%
      2.60%                                       February 28, 2023                    500       2.68%                500          2.68%
      2.20%                                       September 20, 2023                   750       2.27%                750          2.27%
      3.625%                                      March 4, 2024                      1,000       1.00%              1,000          1.06%
      3.50%                                       June 15, 2025                        500       1.29%                500          1.37%
      2.95%                                       February 28, 2026                    750       3.01%                750          3.01%
      2.50%                                       September 20, 2026                 1,500       2.55%              1,500          2.55%
      5.90%                                       February 15, 2039                  2,000       6.11%              2,000          6.11%
      5.50%                                       January 15, 2040                   2,000       5.67%              2,000          5.67%
          Total                                                                     11,500                         14,500
  Unaccreted discount/issuance costs                                                   (80)                           (88)
  Hedge accounting fair value adjustments                                              106                            171
          Total                                                               $     11,526                    $    14,583

  Reported as:
  Short-term debt                                                             $      2,508                    $     3,005
  Long-term debt                                                                     9,018                         11,578
           Total                                                              $     11,526                    $    14,583



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  We have entered into interest rate swaps in prior periods with an aggregate notional amount of $2.0 billion designated as fair value
  hedges of certain of our fixed-rate senior notes. These swaps convert the fixed interest rates of the fixed-rate notes to floating interest
  rates based on the LIBOR. The gains and losses related to changes in the fair value of the interest rate swaps substantially offset
  changes in the fair value of the hedged portion of the underlying debt that are attributable to the changes in market interest rates. For
  additional information, see Note 13.
  Interest is payable semiannually on each class of the senior fixed-rate notes. Each of the senior fixed-rate notes is redeemable by us at
  any time, subject to a make-whole premium. The senior notes rank at par with the commercial paper notes that may be issued in the
  future pursuant to our short-term debt financing program, as discussed above under “(a) Short-Term Debt.” As of July 31, 2021, we
  were in compliance with all debt covenants.
  As of July 31, 2021, future principal payments for long-term debt, including the current portion, are summarized as follows (in
  millions):
  Fiscal Year                                                                                                                 Amount
  2022                                                                                                                  $             2,500
  2023                                                                                                                                  500
  2024                                                                                                                                1,750
  2025                                                                                                                                  500
  2026                                                                                                                                  750
  Thereafter                                                                                                                          5,500
      Total                                                                                                             $            11,500

  Our $2.0 billion senior fixed-rate notes with a maturity date of September 20, 2021 were redeemed on August 20, 2021, pursuant to our
  par call redemption option. The redemption price was equal to 100% of the principal amount plus any accrued and unpaid interest to,
  but excluding, August 20, 2021.
  (c) Credit Facility
  On May 13, 2021, we entered into a 5-year credit agreement with certain institutional lenders that provides for a $3.0 billion unsecured
  revolving credit facility that is scheduled to expire on May 13, 2026. The credit agreement is structured as an amendment and
  restatement of our 364-day credit agreement, which would have terminated on May 14, 2021. As of July 31, 2021, we were in
  compliance with the required interest coverage ratio and the other covenants, and we had not borrowed any funds under the credit
  agreement.
  Any advances under the 5-year credit agreement will accrue interest at rates that are equal to, based on certain conditions, either (a)
  with respect to loans in U.S. dollars, (i) LIBOR or (ii) the Base Rate (to be defined as the highest of (x) the Bank of America prime
  rate, (y) the Federal Funds rate plus 0.50% and (z) a daily rate equal to one-month LIBOR plus 1.0%), (b) with respect to loans in
  Euros, EURIBOR, (c) with respect to loans in Yen, TIBOR and (d) with respect to loans in Pounds Sterling, SONIA plus a credit
  spread adjustment, plus a margin that is based on our senior debt credit ratings as published by Standard & Poor’s Financial Services,
  LLC and Moody’s Investors Service, Inc., provided that in no event will the interest rate be less than 0.0%. We will pay a quarterly
  commitment fee during the term of the 5-year credit agreement which may vary depending on our senior debt credit ratings. In
  addition, the 5-year credit agreement incorporates certain sustainability-linked metrics. Specifically, our applicable interest rate and
  commitment fee are subject to upward or downward adjustments if we achieve, or fail to achieve, certain specified targets based on two
  key performance indicator metrics: (i) social impact and (ii) foam reduction. We may also, upon the agreement of either the then-
  existing lenders or additional lenders not currently parties to the agreement, increase the commitments under the credit facility by up to
  an additional $2.0 billion and, at our option, extend the maturity of the facility for an additional year up to two times. The credit
  agreement requires that we comply with certain covenants, including that we maintain an interest coverage ratio as defined in the
  agreement.




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  13. Derivative Instruments
  (a) Summary of Derivative Instruments
  We use derivative instruments primarily to manage exposures to foreign currency exchange rate, interest rate, and equity price risks.
  Our primary objective in holding derivatives is to reduce the volatility of earnings and cash flows associated with changes in foreign
  currency exchange rates, interest rates, and equity prices. Our derivatives expose us to credit risk to the extent that the counterparties
  may be unable to meet the terms of the agreement. We do, however, seek to mitigate such risks by limiting our counterparties to major
  financial institutions and requiring collateral in certain cases. In addition, the potential risk of loss with any one counterparty resulting
  from this type of credit risk is monitored. Management does not expect material losses as a result of defaults by counterparties.
  The fair values of our derivative instruments and the line items on the Consolidated Balance Sheets to which they were recorded are
  summarized as follows (in millions):
                                                         DERIVATIVE ASSETS                                        DERIVATIVE LIABILITIES
                                                                     July 31,          July 25,                                 July 31,            July 25,
                                             Balance Sheet Line Item  2021              2020          Balance Sheet Line Item     2021               2020
  Derivatives designated as hedging
  instruments:
       Foreign currency derivatives          Other current assets       $         14   $     7        Other current liabilities       $       3   $       2
       Foreign currency derivatives          Other assets                          1        —         Other long-term liabilities            —           —
       Interest rate derivatives             Other current assets                  9         6        Other current liabilities              —           —
       Interest rate derivatives             Other assets                         99       169        Other long-term liabilities            —           —
       Total                                                                     123       182                                                3           2
  Derivatives not designated as hedging
  instruments:
       Foreign currency derivatives          Other current assets                  3         8        Other current liabilities              16           8
       Foreign currency derivatives          Other assets                         —         —         Other long-term liabilities             1          —
       Equity derivatives                    Other assets                         —          1        Other long-term liabilities            —           —
       Total                                                                       3         9                                               17           8
            Total                                                       $        126   $   191                                        $      20   $      10

  The following amounts were recorded on the Consolidated Balance Sheets related to cumulative basis adjustments for our fair value
  hedges (in millions):
                                                                                                                    CUMULATIVE AMOUNT OF FAIR
                                                                                                                    VALUE HEDGING ADJUSTMENT
                                                                                                                     INCLUDED IN THE CARRYING
                                                                      CARRYING AMOUNT OF THE                           AMOUNT OF THE HEDGED
                                                                     HEDGED ASSETS/(LIABILITIES)                          ASSETS/LIABILITIES
                                                                        July 31,      July 25,                          July 31,       July 25,
   Balance Sheet Line Item of Hedged Item                                2021          2020                              2021            2020
   Short-term debt                                                  $               (508) $                (506) $                   (9) $              (6)
   Long-term debt                                                   $             (1,594) $              (2,159) $                  (97) $            (165)

  The effect of derivative instruments designated as fair value hedges, recognized in interest and other income (loss), net is summarized
  as follows (in millions):
                                                                                                                   GAINS (LOSSES) FOR
                                                                                                                    THE YEARS ENDED
                                                                                                      July 31, 2021    July 25, 2020  July 27, 2019
  Interest rate derivatives:
     Hedged items                                                                                 $               65 $               (98) $            (138)
     Derivatives designated as hedging instruments                                                               (67)                101                145
         Total                                                                                    $               (2) $                3 $                7




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  The effect on the Consolidated Statements of Operations of derivative instruments not designated as hedges is summarized as follows
  (in millions):
                                                                                                            GAINS (LOSSES) FOR
                                                                                                             THE YEARS ENDED
  Derivatives Not Designated as Hedging Instruments   Line Item in Statements of Operations      July 31, 2021 July 25, 2020 July 27, 2019
  Foreign currency derivatives                        Other income (loss), net                   $            2   $            (5) $        (60)
  Total return swaps—deferred compensation            Operating expenses and other                          157                15             5
  Equity derivatives                                  Other income (loss), net                               20                 9             3
       Total                                                                                     $          179   $            19 $         (52)

  The notional amounts of our outstanding derivatives are summarized as follows (in millions):
                                                                                                         July 31, 2021          July 25, 2020
    Foreign currency derivatives                                                                     $             4,139   $              4,315
    Interest rate derivatives                                                                                      2,000                  2,500
    Total return swaps—deferred compensation                                                                         730                    580
       Total                                                                                         $             6,869   $              7,395

  (b) Offsetting of Derivative Instruments
  We present our derivative instruments at gross fair values in the Consolidated Balance Sheets. However, our master netting and other
  similar arrangements with the respective counterparties allow for net settlement under certain conditions, which are designed to reduce
  credit risk by permitting net settlement with the same counterparty. As of July 31, 2021 and July 25, 2020, the potential effects of these
  rights of set-off associated with the derivative contracts would be a reduction to both derivative assets and derivative liabilities of $17
  million and $10 million, respectively.
  To further limit credit risk, we also enter into collateral security arrangements related to certain derivative instruments whereby cash is
  posted as collateral between the counterparties based on the fair market value of the derivative instrument. Under these collateral
  security arrangements, the net cash collateral received as of July 31, 2021 and July 25, 2020 was $109 million and $173 million,
  respectively. Including the effects of collateral, this results in a net derivative liability of $3 million and a net derivative asset of $8
  million as of July 31, 2021 and July 25, 2020, respectively.
  (c) Foreign Currency Exchange Risk
  We conduct business globally in numerous currencies. Therefore, we are exposed to adverse movements in foreign currency exchange
  rates. To limit the exposure related to foreign currency changes, we enter into foreign currency contracts. We do not enter into such
  contracts for speculative purposes.
  We hedge forecasted foreign currency transactions related to certain revenues, operating expenses and service cost of sales with
  currency options and forward contracts. These currency options and forward contracts, designated as cash flow hedges, generally have
  maturities of less than 24 months. The derivative instrument’s gain or loss is initially reported as a component of AOCI and
  subsequently reclassified into earnings when the hedged exposure affects earnings. During the fiscal years presented, we did not
  discontinue any cash flow hedges for which it was probable that a forecasted transaction would not occur.
  We enter into foreign exchange forward and option contracts to reduce the short-term effects of foreign currency fluctuations on assets
  and liabilities such as foreign currency receivables, long-term customer financings and payables. These derivatives are not designated
  as hedging instruments. Gains and losses on the contracts are included in other income (loss), net, and substantially offset foreign
  exchange gains and losses from the remeasurement of intercompany balances, other current assets, or liabilities denominated in
  currencies other than the functional currency of the reporting entity.
  We hedge certain net investments in our foreign operations with forward contracts to reduce the effects of foreign currency fluctuations
  on our net investment in those foreign subsidiaries. These derivative instruments generally have maturities of up to six months.



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  (d) Interest Rate Risk
  We hold interest rate swaps designated as fair value hedges related to fixed-rate senior notes that are due in fiscal 2022 through 2025.
  Under these interest rate swaps, we receive fixed-rate interest payments and make interest payments based on LIBOR plus a fixed
  number of basis points. The effect of such swaps is to convert the fixed interest rates of the senior fixed-rate notes to floating interest
  rates based on LIBOR. The gains and losses related to changes in the fair value of the interest rate swaps are included in interest
  expense and substantially offset changes in the fair value of the hedged portion of the underlying debt that are attributable to the
  changes in market interest rates.
  (e) Equity Price Risk
  We hold marketable equity securities in our portfolio that are subject to price risk. To diversify our overall portfolio, we also hold
  equity derivatives that are not designated as accounting hedges. The change in the fair value of each of these investment types are
  included in other income (loss), net.
  We are also exposed to variability in compensation charges related to certain deferred compensation obligations to
  employees. Although not designated as accounting hedges, we utilize derivatives such as total return swaps to economically hedge this
  exposure and offset the related compensation expense.

  14. Commitments and Contingencies
  (a) Purchase Commitments with Contract Manufacturers and Suppliers
  We purchase components from a variety of suppliers and use several contract manufacturers to provide manufacturing services for our
  products. During the normal course of business, in order to manage manufacturing lead times and help ensure adequate component
  supply, we enter into agreements with contract manufacturers and suppliers that either allow them to procure inventory based upon
  criteria as defined by us or establish the parameters defining our requirements. A significant portion of our reported purchase
  commitments arising from these agreements consists of firm, noncancelable, and unconditional commitments. Certain of these
  purchase commitments with contract manufacturers and suppliers relate to arrangements to secure long-term supply and pricing for
  certain product components for multi-year periods. In certain instances, these agreements allow us the option to cancel, reschedule, and
  adjust our requirements based on our business needs prior to firm orders being placed.
  The following table summarizes our purchase commitments with contract manufacturers and suppliers (in millions):
                                                                                                        July 31,               July 25,
  Commitments by Period                                                                                  2021                   2020
  Less than 1 year                                                                                $            6,903     $            3,994
  1 to 3 years                                                                                                 1,806                    412
  3 to 5 years                                                                                                 1,545                     —
       Total                                                                                      $           10,254     $            4,406

  We record a liability for firm, noncancelable, and unconditional purchase commitments for quantities in excess of our future demand
  forecasts consistent with the valuation of our excess and obsolete inventory. As of July 31, 2021 and July 25, 2020, the liability for
  these purchase commitments was $151 million and $141 million, respectively, and was included in other current liabilities. The
  provision for the liability related to purchase commitments with contract manufacturers and suppliers was $76 million, $139 million,
  and $95 million in fiscal 2021, 2020, and 2019, respectively.
  (b) Other Commitments
  In connection with our acquisitions, we have agreed to pay certain additional amounts contingent upon the achievement of certain
  agreed-upon technology, development, product, or other milestones or upon the continued employment with Cisco of certain
  employees of the acquired entities.
  The following table summarizes the compensation expense related to acquisitions (in millions):
                                                                                 July 31, 2021        July 25, 2020          July 27, 2019
  Compensation expense related to acquisitions                               $              262   $                214   $                313

  As of July 31, 2021, we estimated that future cash compensation expense of up to $719 million may be required to be recognized
  pursuant to the applicable business combination agreements.


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  We also have certain funding commitments, primarily related to our privately held investments, some of which are based on the
  achievement of certain agreed-upon milestones, and some of which are required to be funded on demand. The funding commitments
  were $0.2 billion and $0.3 billion as of July 31, 2021 and July 25, 2020, respectively.
  (c) Product Warranties
  The following table summarizes the activity related to the product warranty liability (in millions):
                                                                               July 31, 2021          July 25, 2020             July 27, 2019
  Balance at beginning of fiscal year                                      $               331 $                    342 $                   359
  Provisions for warranties issued                                                         496                      561                     600
  Adjustments for pre-existing warranties                                                   —                        (8)                    (12)
  Settlements                                                                             (491)                    (564)                   (603)
  Acquisitions and divestitures                                                             —                        —                       (2)
  Balance at end of fiscal year                                            $               336 $                    331 $                   342

  We accrue for warranty costs as part of our cost of sales based on associated material product costs, labor costs for technical support
  staff, and associated overhead. Our products are generally covered by a warranty for periods ranging from 90 days to five years, and
  for some products we provide a limited lifetime warranty.
  (d) Financing and Other Guarantees
  In the ordinary course of business, we provide financing guarantees for various third-party financing arrangements extended to channel
  partners and end-user customers. Payments under these financing guarantee arrangements were not material for the periods presented.
  Channel Partner Financing Guarantees We facilitate arrangements for third-party financing extended to channel partners, consisting of
  revolving short-term financing, with payment terms generally ranging from 60 to 90 days. These financing arrangements facilitate the
  working capital requirements of the channel partners, and, in some cases, we guarantee a portion of these arrangements. The volume of
  channel partner financing was $26.7 billion, $26.9 billion, and $29.6 billion in fiscal 2021, 2020, and 2019, respectively. The balance
  of the channel partner financing subject to guarantees was $1.3 billion and $1.1 billion as of July 31, 2021 and July 25, 2020,
  respectively.
  End-User Financing Guarantees We also provide financing guarantees for third-party financing arrangements extended to end-user
  customers related to leases and loans, which typically have terms of up to three years. The volume of financing provided by third
  parties for leases and loans as to which we had provided guarantees was $10 million, $9 million, and $14 million in fiscal 2021, 2020,
  and 2019, respectively.
  Financing Guarantee Summary The aggregate amounts of financing guarantees outstanding at July 31, 2021 and July 25, 2020,
  representing the total maximum potential future payments under financing arrangements with third parties along with the related
  deferred revenue, are summarized in the following table (in millions):
                                                                                                         July 31, 2021          July 25, 2020
  Maximum potential future payments relating to financing guarantees:
      Channel partner                                                                             $                   155   $               198
      End user                                                                                                          5                     9
          Total                                                                                   $                   160   $               207
  Deferred revenue associated with financing guarantees:
      Channel partner                                                                             $                   (16) $                (19)
      End user                                                                                                         (5)                   (9)
          Total                                                                                   $                   (21) $                (28)
               Total                                                                              $                   139 $                 179

  (e) Indemnifications
  In the normal course of business, we have indemnification obligations to other parties, including customers, lessors, and parties to other
  transactions with us, with respect to certain matters. We have agreed to indemnify against losses arising from a breach of
  representations or covenants or out of intellectual property infringement or other claims made against certain parties. These agreements
  may limit the time or circumstances within which an indemnification claim can be made and the amount of the claim.


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  It is not possible to determine the maximum potential amount for claims made under the indemnification obligations discussed in this
  section (e) due to uncertainties in the litigation process, coordination with and contributions by other parties and the defendants in these
  cases, and the unique facts and circumstances involved in each particular case and agreement. We are unable to reasonably estimate the
  ultimate outcome of the cases discussed below in this section (e), but we do not believe that any potential indemnity liability would be
  material, and historically, indemnity payments made by us have not had a material effect on our Consolidated Financial Statements.
  We were asked to indemnify certain of our service provider customers that were subject to patent infringement claims asserted by
  ChanBond, LLC (“ChanBond”) in federal court in Delaware on September 21, 2015. All of the service provider customer defendants
  entered into an agreement to resolve ChanBond’s claims. We resolved the service providers’ indemnity claims, effective July 7, 2021,
  for an amount that did not have a material effect on our Consolidated Financial Statements.
  Verizon Communications Inc. requested that we indemnify it and seven of its subsidiaries (collectively, “Verizon”) for a subset of the
  patent infringement claims asserted by Huawei Technologies Co. Ltd. (“Huawei”) in lawsuits filed against Verizon on February 5,
  2020, in the United States District Court for the Eastern District of Texas (“E.D. Tex”) and the United States District Court for the
  Western District of Texas (“W.D. Tex”). Huawei and Verizon reached a confidential settlement agreement and Huawei dismissed both
  the E.D. Tex and W.D. Tex cases. Verizon indicated that they no longer are seeking indemnity contribution from us.
  We have been asked by seven of our customers to indemnify them in connection with patent infringement claims asserted against them
  by Estech Systems, Inc. (“Estech”) in the E.D. Tex and W.D. Tex courts between April 24, 2020 and August 25, 2020. Estech alleges
  that the customer defendants infringe three patents generally related to IP telephony by using collaboration technology from us and
  other providers. Estech is seeking monetary damages from the customer defendants. The first E.D. Tex case against one of the
  customer defendants is scheduled for trial on October 4, 2021, and the W.D. Tex cases are set for trial on December 7, 2021 and April
  1, 2022. We believe the customer defendants have strong defenses and do not believe our indemnity obligations, if any, would have a
  material effect on our Consolidated Financial Statements.
  In addition, we have entered into indemnification agreements with our officers and directors, and our Amended and Restated Bylaws
  contain similar indemnification obligations to our agents.
  (f) Legal Proceedings
  Brazil Brazilian authorities have investigated our Brazilian subsidiary and certain of its former employees, as well as a Brazilian
  importer of our products, and its affiliates and employees, relating to alleged evasion of import taxes and alleged improper transactions
  involving the subsidiary and the importer. Brazilian tax authorities have assessed claims against our Brazilian subsidiary based on a
  theory of joint liability with the Brazilian importer for import taxes, interest, and penalties. In addition to claims asserted by the
  Brazilian federal tax authorities in prior fiscal years, tax authorities from the Brazilian state of Sao Paulo have asserted similar claims
  on the same legal basis in prior fiscal years.
  The asserted claims by Brazilian federal tax authorities are for calendar years 2003 through 2007, and the asserted claims by the tax
  authorities from the state of Sao Paulo are for calendar years 2005 through 2007. The total asserted claims by Brazilian state and
  federal tax authorities aggregate to $155 million for the alleged evasion of import and other taxes, $771 million for interest, and $384
  million for various penalties, all determined using an exchange rate as of July 31, 2021.
  We have completed a thorough review of the matters and believe the asserted claims against our Brazilian subsidiary are without merit,
  and we are defending the claims vigorously. While we believe there is no legal basis for the alleged liability, due to the complexities
  and uncertainty surrounding the judicial process in Brazil and the nature of the claims asserting joint liability with the importer, we are
  unable to determine the likelihood of an unfavorable outcome against our Brazilian subsidiary and are unable to reasonably estimate a
  range of loss, if any. We do not expect a final judicial determination for several years.
  China We are investigating allegations of a self-enrichment scheme involving now-former employees in China. Some of those
  employees are also alleged to have made or directed payments from the funds they received to various third parties, including
  employees of state-owned enterprises. We voluntarily disclosed this investigation to the Department of Justice (“DOJ”) and Securities
  and Exchange Commission (“SEC”). We take such allegations very seriously and we are providing results of our investigation to the
  DOJ and SEC. While the outcome of our investigation is currently not determinable, we do not expect that it will have a material
  adverse effect on our Consolidated Financial Statements.
  SRI International On September 4, 2013, SRI International, Inc. (“SRI”) asserted patent infringement claims against us in the U.S.
  District Court for the District of Delaware (“D. Del.”), accusing our products and services in the area of network intrusion detection of
  infringing two patents. SRI sought monetary damages of at least a reasonable royalty and enhanced damages. On May 12, 2016, a jury
  returned a verdict finding willful infringement. The jury awarded SRI damages of $24 million. On May 25, 2017, the district court
  awarded SRI enhanced damages and attorneys’ fees, entered judgment in the new amount of $57 million, and ordered an ongoing
  royalty of 3.5% through the expiration of the patents in 2018. We appealed to the United States Court of Appeals for the Federal
  Circuit (“Federal Circuit”), and on July 12, 2019, the Federal Circuit vacated the enhanced
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  damages award; vacated and remanded in part the willful infringement finding; vacated and remanded the attorneys’ fees award for
  further proceedings; and affirmed the district court’s other findings. On April 1, 2020, the district court issued a final judgment on the
  remanded issues, finding no evidence of willful infringement and reinstating the $8 million award of attorneys’ fees. SRI appealed the
  judgment of no willful infringement to the Federal Circuit on April 3, 2020, and Cisco filed a cross-appeal on the attorneys’ fees award
  on April 9, 2020. Cisco has paid SRI $28 million, representing the portion of the judgment that the Federal Circuit previously affirmed,
  plus interest and royalties on post-verdict sales. While the remaining proceedings may result in an additional loss, we do not believe it
  would have a material effect on our Consolidated Financial Statements.
  Centripetal On February 13, 2018, Centripetal Networks, Inc. (“Centripetal”) asserted patent infringement claims against us in the U.S.
  District Court for the Eastern District of Virginia, alleging that several Cisco products and services (including Cisco’s Catalyst
  switches, ASR and ISR series routers, ASAs with FirePOWER services, and Stealthwatch products) infringe eleven Centripetal U.S.
  patents. Cisco thereafter petitioned the Patent Trial and Appeal Board (“PTAB”) of the United States Patent and Trademark Office
  (“PTO”) to review the validity of nine of the asserted patents. The PTAB instituted inter partes review proceedings (“IPR
  Proceedings”) on six asserted patents and certain claims of another asserted patent. The PTAB has issued Final Written Decisions for
  seven patents in the instituted IPR Proceedings, and all claims of five patents have been found unpatentable and several of the claims of
  the other two patents have been found unpatentable. Centripetal appealed the PTAB’s findings of unpatentability to the Federal Circuit.
  The Federal Circuit affirmed the PTAB’s findings of unpatentability as to three of the patents on March 10, 2021, and affirmed the
  PTAB’s findings of unpatentability as to the remaining four patents on May 11, 2021. On August 9, 2021, Centripetal filed a writ of
  certiorari seeking the U.S. Supreme Court’s review of the Federal Circuit’s affirmance of several of the PTAB’s unpatentability
  findings.
  For the five asserted U.S. patents not subject to the IPR Proceedings, the district court conducted a bench trial by videoconference from
  May 6, 2020 to June 25, 2020. On October 5, 2020, the district court issued a judgment finding validity and willful infringement of
  four of the asserted patents and non-infringement of the fifth patent. The district court awarded Centripetal $1.9 billion, comprised of
  $756 million in damages, $1.1 billion in enhanced damages for willful infringement, and pre-judgment interest in the amount of
  $14 million. The district court declined to issue an injunction but, instead, awarded Centripetal a running royalty against revenue from
  the products found to infringe for an initial three-year term at a rate of 10%, with a minimum annual royalty of $168 million and a
  maximum annual royalty of $300 million, and for a second three-year term at a rate of 5%, with a minimum annual royalty of
  $84 million and a maximum annual royalty of $150 million. We believe that the district court’s findings of validity, infringement, and
  willful infringement, its award of damages, including enhanced damages, and its award of an ongoing royalty are not supported by
  either the law or the evidence presented at trial. We have appealed the district court’s judgment as to the four patents found valid and
  infringed to the Federal Circuit. On October 28, 2020, by agreement of the parties, the district court stayed execution of the judgment
  until after resolution of any appeal in the matter and waived the requirement of any bond or security; accordingly, no money is
  currently due under the judgment.
  On April 29, 2020 and April 30, 2020, Centripetal submitted complaints in the District Court of Dusseldorf in Germany against Cisco
  Systems GmbH and Cisco Systems, Inc., asserting three European patents seeking both injunctive relief and damages. Two of the three
  European patents are counterparts to two U.S. patents Centripetal asserted against us in the U.S. district court proceedings, one of
  which has been invalidated by the PTAB. On June 22, 2021, Centripetal amended one of its complaints to assert one additional
  European patent and one additional German Utility Model patent. Centripetal seeks both injunctive relief and damages on these newly
  added patents. We believe we have strong defenses.
  Due to uncertainty surrounding patent litigation processes in the U.S. and Europe, however, we are unable to reasonably estimate the
  ultimate outcome of either litigation at this time. If we do not prevail in either litigation, we believe that any damages ultimately
  assessed would not have a material effect on our Consolidated Financial Statements.
  Finjan On January 6, 2017, Finjan, Inc. (“Finjan”) asserted patent infringement claims against us in the U.S. District Court for the
  Northern District of California. On May 24, 2021, we resolved Finjan’s claims for an amount that did not have a material effect on our
  Consolidated Financial Statements.
  Ramot On June 12, 2019, Ramot at Tel Aviv University Ltd. (“Ramot”) asserted patent infringement claims against us in E.D. Tex,
  seeking damages, including enhanced damages for allegations of willful infringement, and a running royalty on future sales. Ramot
  alleges that certain Cisco optical transceiver modules and line cards infringe three patents. As of November 27, 2020, the PTO
  preliminarily found all asserted claims unpatentable in ex parte reexamination proceedings. On January 13, 2021, the court entered an
  order staying the case pending the conclusion of the ex parte reexamination proceedings (“Reexamination Proceedings”). While we
  believe that we have strong non-infringement and invalidity arguments, and that Ramot’s damages theories are not supported by
  prevailing law, we are unable to reasonably estimate the ultimate outcome of this litigation at this time due to uncertainties in the
  litigation processes. If we do not prevail in court, we believe that any damages ultimately assessed would not have a material effect on
  our Consolidated Financial Statements.
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  On February 26, 2021, Ramot asserted patent infringement claims against Acacia Communications, Inc. (“Acacia”) (which we
  subsequently acquired) in D. Del, seeking damages, including enhanced damages for allegations of willful infringement, and a



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  running royalty on future sales. Ramot alleges that certain Acacia optical transceiver modules and integrated circuits infringe two of the
  three patents that Ramot has asserted in its E.D. Tex case. On September 3, 2021, the court stayed the case pending the ultimate
  resolution of the Reexamination Proceedings. Due to the early stage of the litigation as well as uncertainties in the litigation processes,
  we are unable, at this time, to reasonably estimate a potential range of loss, if any, or the ultimate outcome of this litigation.
  Monarch On January 21, 2020, Monarch Networking Solutions LLC (“Monarch”) asserted patent infringement claims against us in
  E.D. Tex alleging that certain Cisco routers and firewalls infringe three U.S. patents. On May 13, 2020, Monarch filed a second action
  against us in W.D. Tex, alleging that two factor authentication functionality in Duo and Meraki MR and MX access point products
  infringe one U.S. patent. On June 24, 2021, we resolved Monarch’s claims in both E.D. Tex and W.D. Tex for an amount that did not
  have a material effect on our Consolidated Financial Statements.
  Viasat On January 21, 2016, Viasat, Inc. (“Viasat”) filed suit against Acacia (which we subsequently acquired) in the California
  Superior Court for San Diego County (“SDSC”) seeking unpaid royalties for breach of contract and the implied covenant of good faith
  and fair dealing, and damages for trade secret misappropriation for certain products (“Viasat 1”). Acacia counterclaimed for patent and
  trade secret misappropriation, contract, and unfair competition claims. On July 17, 2019, the jury found for Viasat on its contract
  claims, and awarded Viasat $49 million for unpaid royalties through 2018. The jury further found that Acacia willfully misappropriated
  Viasat’s trade secrets and awarded Viasat $1. On Acacia’s counterclaims, the jury found for Acacia on its contract and trade secret
  claims and awarded Acacia $1. Both Acacia and Viasat have pending appeals to the California Court of Appeal. On November 6, 2019,
  Viasat filed a second suit in SDSC, alleging contract and trade secret claims for Acacia products sold from January 1, 2019 forward
  (“Viasat 2”). On February 28, 2020, the court stayed Viasat 2 pending the appeal in Viasat 1. On June 9, 2020, Viasat filed a third suit
  in SDSC (“Viasat 3”). In Viasat 3, Viasat alleges contract and trade secrets claims for sales of additional Acacia products. On August
  11, 2020, the court stayed Viasat 3 pending the appeal in Viasat 1.
  On July 28, 2017, Acacia filed suit in the Commonwealth of Massachusetts Superior Court - Business Litigation Session against ViaSat
  alleging claims for defamation, unfair competition, business torts, and declaratory judgment of no trade secret misappropriation. On
  April 5, 2018, ViaSat counterclaimed with contract, trade secret, and unfair competition claims (collectively, with Viasat 1, Viasat 2
  and Viasat 3, the “Viasat Cases”). On December 13, 2018, the Massachusetts court entered an order staying the Massachusetts
  litigation, which has been extended to December 31, 2021.
  While we believe Acacia has strong defenses in each of the Viasat Cases, we are unable to reasonably estimate the ultimate outcome of
  any of the Viasat Cases at this time due to uncertainties in the litigation processes. If Acacia does not prevail, we believe that any relief
  ultimately assessed in any of the Viasat Cases would not have a material effect on our Consolidated Financial Statements.
  In addition, we are subject to other legal proceedings, claims, and litigation arising in the ordinary course of business, including
  intellectual property litigation. While the outcome of these matters is currently not determinable, we do not believe that the ultimate
  costs to resolve these matters will have a material effect on our Consolidated Financial Statements.
  For additional information regarding intellectual property litigation, see “Part I, Item 1A. Risk Factors—We may be found to infringe
  on intellectual property rights of others” herein.




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  15. Stockholders’ Equity
  (a) Cash Dividends on Shares of Common Stock
  We declared and paid cash dividends of $1.46, $1.42 and $1.36 per common share, or $6.2 billion during fiscal 2021 and $6.0 billion,
  on our outstanding common stock during each of fiscal 2020 and 2019.
  Any future dividends will be subject to the approval of our Board of Directors.
  (b) Stock Repurchase Program
  In September 2001, our Board of Directors authorized a stock repurchase program. As of July 31, 2021, the remaining authorized
  amount for stock repurchases under this program was approximately $7.9 billion with no termination date.
  A summary of the stock repurchase activity under the stock repurchase program, reported based on the trade date, is summarized as
  follows (in millions, except per-share amounts):
                                                                                                           Weighted-Average
  Years Ended                                                                             Shares            Price per Share       Amount
  July 31, 2021                                                                                  64    $              45.48   $          2,902
  July 25, 2020                                                                                  59    $              44.36   $          2,619
  July 27, 2019                                                                                 418    $              49.22   $         20,577

  There was $25 million in stock repurchases that were pending settlement as of July 31, 2021. There was no stock repurchases pending
  settlement as of July 25, 2020. There was $40 million in stock repurchases that were pending settlement as of July 27, 2019.
  The purchase price for the shares of our stock repurchased is reflected as a reduction to stockholders’ equity.
  We are required to allocate the purchase price of the repurchased shares as (i) a reduction to retained earnings or an increase to
  accumulated deficit and (ii) a reduction of common stock and additional paid-in capital.
  (c) Preferred Stock
  Under the terms of our Amended and Restated Certificate of Incorporation, the Board of Directors is authorized to issue preferred stock
  of one or more series and, in connection with the creation of such series, to fix by resolution the designation, powers (including voting
  powers (if any)), preferences and relative, participating, optional or other special rights of such series, and any qualification, limitations
  or restrictions thereof, of the shares of such series. As of July 31, 2021, we had not issued any shares of preferred stock.


  16. Employee Benefit Plans
  (a) Employee Stock Incentive Plans
  Stock Incentive Plan Program Description We have one stock incentive plan: the 2005 Stock Incentive Plan (the “2005 Plan”). In
  addition, we have, in connection with our acquisitions of various companies, assumed the share-based awards granted under stock
  incentive plans of the acquired companies or issued share-based awards in replacement thereof. Share-based awards are designed to
  reward employees for their long-term contributions to us and provide incentives for them to remain with us. The number and frequency
  of share-based awards are based on competitive practices, our operating results, government regulations, and other factors. Our primary
  stock incentive plan is summarized as follows:
  2005 Plan The 2005 Plan provides for the granting of stock options, stock grants, stock units and stock appreciation rights (SARs),
  the vesting of which may be time-based or upon satisfaction of performance goals, or both, and/or other conditions. Employees
  (including employee directors and executive officers) and consultants of Cisco and its subsidiaries and affiliates and non-employee
  directors of Cisco are eligible to participate in the 2005 Plan. As of July 31, 2021, the maximum number of shares issuable under the
  2005 Plan over its term was 790 million shares. The 2005 Plan may be terminated by our Board of Directors at any time and for any
  reason, and is currently set to terminate at the 2030 Annual Meeting unless re-adopted or extended by our stockholders prior to or on
  such date.
  Under the 2005 Plan’s share reserve feature, a distinction is made between the number of shares in the reserve attributable to (i) stock
  options and SARs and (ii) “full value” awards (i.e., stock grants and stock units). Shares issued as stock grants, pursuant to stock units
  or pursuant to the settlement of dividend equivalents are counted against shares available for issuance under the 2005 Plan on a 1.5-to-
  1 ratio. For each share awarded as restricted stock or a restricted stock unit award under the 2005 Plan, 1.5 shares was deducted from
  the available share-based award balance. If awards issued under the 2005 Plan are forfeited or

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  terminated for any reason before being exercised or settled, then the shares underlying such awards, plus the number of additional
  shares, if any, that counted against shares available for issuance under the 2005 Plan at the time of grant as a result of the application of
  the share ratio described above, will become available again for issuance under the 2005 Plan. As of July 31, 2021, 245 million shares
  were authorized for future grant under the 2005 Plan.
  (b) Employee Stock Purchase Plan
  We have an Employee Stock Purchase Plan under which 721 million shares of our common stock have been reserved for issuance as of
  July 31, 2021. Eligible employees are offered shares through a 24-month offering period, which consists of four consecutive 6-month
  purchase periods. Employees may purchase a limited amount of shares of our stock at a discount of up to 15% of the lesser of the fair
  market value at the beginning of the offering period or the end of each 6-month purchase period. The Employee Stock Purchase Plan is
  scheduled to terminate on the earlier of (i) January 3, 2030 and (ii) the date on which all shares available for issuance under the
  Employee Stock Purchase Plan are sold pursuant to exercised purchase rights. We issued 17 million, 18 million, and 19 million shares
  under the Employee Stock Purchase Plan in fiscal 2021, 2020, and 2019, respectively. As of July 31, 2021, 125 million shares were
  available for issuance under the Employee Stock Purchase Plan.
  (c) Summary of Share-Based Compensation Expense
  Share-based compensation expense consists primarily of expenses for RSUs, stock purchase rights, and stock options, granted to
  employees or assumed from acquisitions. The following table summarizes share-based compensation expense (in millions):
  Years Ended                                                                     July 31, 2021          July 25, 2020         July 27, 2019
  Cost of sales—product                                                      $                  99   $                93   $                90
  Cost of sales—service                                                                        176                   144                   130
  Share-based compensation expense in cost of sales                                            275                   237                   220
  Research and development                                                                     694                   592                   540
  Sales and marketing                                                                          540                   500                   519
  General and administrative                                                                   226                   215                   250
  Restructuring and other charges                                                               26                    25                    62
  Share-based compensation expense in operating expenses                                     1,486                 1,332                 1,371
  Total share-based compensation expense                                     $               1,761   $             1,569   $             1,591
  Income tax benefit for share-based compensation                            $                 387   $               452   $               542

  As of July 31, 2021, the total compensation cost related to unvested share-based awards not yet recognized was $3.8 billion, which is
  expected to be recognized over approximately 2.7 years on a weighted-average basis.
  (d) Restricted Stock Unit Awards
  A summary of the restricted stock and stock unit activity, which includes time-based and performance-based or market-based RSUs, is
  as follows (in millions, except per-share amounts):
                                                                                                       Weighted-Average
                                                                                 Restricted Stock/      Grant Date Fair        Aggregate Fair
                                                                                   Stock Units          Value per Share            Value
  UNVESTED BALANCE AT JULY 28, 2018                                                            119 $               30.56
  Granted                                                                                       45                 47.71
  Vested                                                                                       (50)                29.25   $             2,446
  Canceled/forfeited/other                                                                     (14)                32.01
  UNVESTED BALANCE AT JULY 27, 2019                                                            100                 38.66
  Granted and assumed                                                                           49                 42.61
  Vested                                                                                       (44)                35.20   $             2,045
  Canceled/forfeited/other                                                                      (9)                40.45
  UNVESTED BALANCE AT JULY 25, 2020                                                             96                 42.03
  Granted and assumed                                                                           51                 41.89
  Vested                                                                                       (39)                39.63   $             1,813
  Canceled/forfeited/other                                                                     (14)                42.13
  UNVESTED BALANCE AT JULY 31, 2021                                                             94 $               42.93
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  (e) Valuation of Employee Share-Based Awards
  Time-based restricted stock units and PRSUs that are based on our financial performance metrics or non-financial operating goals are
  valued using the market value of our common stock on the date of grant, discounted for the present value of expected dividends. On the
  date of grant, we estimated the fair value of the total shareholder return (TSR) component of the PRSUs using a Monte Carlo
  simulation model. The assumptions for the valuation of time-based RSUs and PRSUs are summarized as follows:
                                                                                              RESTRICTED STOCK UNITS
  Years Ended                                                                 July 31, 2021         July 25, 2020    July 27, 2019
  Number of shares granted (in millions)                                                 48                   47                     43
  Grant date fair value per share                                         $           42.04      $         42.68      $           47.75
  Weighted-average assumptions/inputs:
   Expected dividend yield                                                             3.3 %                 3.1 %                2.7 %
   Range of risk-free interest rates                                             0.0% – 0.9%           0.0% – 2.0%          0.0% – 2.9%

                                                                                 PERFORMANCE BASED RESTRICTED STOCK UNITS
  Years Ended                                                                  July 31, 2021   July 25, 2020     July 27, 2019
  Number of shares granted (in millions)                                                  2                    2                      2
  Grant date fair value per share                                         $           37.91      $         41.91      $           47.00
  Weighted-average assumptions/inputs:
   Expected dividend yield                                                             3.6 %                  2.8 %               2.8 %
   Range of risk-free interest rates                                             0.1% – 0.4%            1.7% – 2.0%         2.1% – 3.0%

  The PRSUs granted during the fiscal years presented are contingent on the achievement of our financial performance metrics, our
  comparative market-based returns, or the achievement of financial and non-financial operating goals. For the awards based on financial
  performance metrics or comparative market-based returns, generally 50% of the PRSUs are earned based on the average of annual
  operating cash flow and earnings per share goals established at the beginning of each fiscal year over a three-year performance period.
  Generally, the remaining 50% of the PRSUs are earned based on our TSR measured against the benchmark TSR of a peer group over
  the same period. Each PRSU recipient could vest in 0% to 150% of the target shares granted contingent on the achievement of our
  financial performance metrics or our comparative market-based returns, and 0% to 100% of the target shares granted contingent on the
  achievement of non-financial operating goals.
  The assumptions for the valuation of employee stock purchase rights are summarized as follows:
                                                                                        EMPLOYEE STOCK PURCHASE RIGHTS
  Years Ended                                                                 July 31, 2021        July 25, 2020   July 27, 2019
  Weighted-average assumptions:
   Expected volatility                                                                29.2 %                22.2 %                 20.4 %
   Risk-free interest rate                                                             0.3 %                 1.8 %                  1.9 %
   Expected dividend                                                                   3.2 %                 3.0 %                  3.0 %
   Expected life (in years)                                                                1.3                  1.3                    1.3
  Weighted-average estimated grant date fair value per share          $              12.46     $           10.20    $              9.06

  The valuation of employee stock purchase rights and the related assumptions are for the employee stock purchases made during the
  respective fiscal years.
  We used third-party analyses to assist in developing the assumptions used in our Black-Scholes model. We are responsible for
  determining the assumptions used in estimating the fair value of our share-based payment awards.
  We used the implied volatility for traded options (with contract terms corresponding to the expected life of the employee stock
  purchase rights) on our stock as the expected volatility assumption required in the Black-Scholes model. The implied volatility is more
  representative of future stock price trends than historical volatility. The risk-free interest rate assumption is based upon observed
  interest rates appropriate for the term of our employee stock purchase rights. The dividend yield assumption is based on the history and
  expectation of dividend payouts at the grant date.



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  (f) Employee 401(k) Plans
  We sponsor the Cisco Systems, Inc. 401(k) Plan (the “Plan”) to provide retirement benefits for our employees. As allowed under
  Section 401(k) of the Internal Revenue Code, the Plan provides for tax-deferred salary contributions and after-tax contributions for
  eligible employees. The Plan allows employees to contribute up to 75% of their annual eligible earnings to the Plan on a pretax and
  after-tax basis, including Roth contributions. Employee contributions are limited to a maximum annual amount as set periodically by
  the Internal Revenue Code. We match pretax and Roth employee contributions up to 100% of the first 4.5% of eligible earnings that are
  contributed by employees. Therefore, the maximum matching contribution that we may allocate to each participant’s account will not
  exceed $13,050 for the 2021 calendar year due to the $290,000 annual limit on eligible earnings imposed by the Internal Revenue
  Code. All matching contributions vest immediately. Our matching contributions to the Plan totaled $290 million, $295 million, and
  $283 million in fiscal 2021, 2020, and 2019, respectively.
  The Plan allows employees who meet the age requirements and reach the Plan contribution limits to make catch-up contributions
  (pretax or Roth) not to exceed the lesser of 75% of their annual eligible earnings or the limit set forth in the Internal Revenue Code.
  Catch-up contributions are not eligible for matching contributions. In addition, the Plan provides for discretionary profit-sharing
  contributions as determined by the Board of Directors. Such contributions to the Plan are allocated among eligible participants in the
  proportion of their salaries to the total salaries of all participants. There were no discretionary profit-sharing contributions made in
  fiscal 2021, 2020, and 2019.
  We also sponsor other 401(k) plans as a result of acquisitions of other companies. Our contributions to these plans were not material to
  Cisco on either an individual or aggregate basis for any of the fiscal years presented.
  (g) Deferred Compensation Plans
  The Cisco Systems, Inc. Deferred Compensation Plan (the “Deferred Compensation Plan”), a nonqualified deferred compensation plan,
  became effective in 2007. As required by applicable law, participation in the Deferred Compensation Plan is limited to a select group of
  our management employees. Under the Deferred Compensation Plan, which is an unfunded and unsecured deferred compensation
  arrangement, a participant may elect to defer base salary, bonus, and/or commissions, pursuant to such rules as may be established by
  Cisco, up to the maximum percentages for each deferral election as described in the plan. We may also, at our discretion, make a
  matching contribution to the employee under the Deferred Compensation Plan. A matching contribution equal to 4.5% of eligible
  compensation in excess of the Internal Revenue Code limit for qualified plans for calendar year 2021 that is deferred by participants
  under the Deferred Compensation Plan (with a $1.5 million cap on eligible compensation) will be made to eligible participants’
  accounts at the end of calendar year 2021. The total deferred compensation liability under the Deferred Compensation Plan, together
  with deferred compensation plans assumed from acquired companies, was approximately $845 million and $704 million as of July 31,
  2021 and July 25, 2020, respectively, and was recorded primarily in other long-term liabilities.



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  17. Comprehensive Income (Loss)
  The components of AOCI, net of tax, and the other comprehensive income (loss) are summarized as follows (in millions):
                                                                                      Net Unrealized       Cumulative
                                                                 Net Unrealized       Gains (Losses)       Translation         Accumulated
                                                                Gains (Losses) on       Cash Flow         Adjustment and          Other
                                                                Available-for-Sale       Hedging          Actuarial Gains     Comprehensive
                                                                  Investments          Instruments         and Losses         Income (Loss)
  BALANCE AT JULY 28, 2018                                      $           (310) $              (11) $             (528) $            (849)
    Other comprehensive income (loss) before
    reclassifications                                                        560                  —                 (267)               293
    (Gains) losses reclassified out of AOCI                                   13                  (3)                  2                 12
    Tax benefit (expense)                                                    (95)                 —                   15                (80)
       Total change for the period                                           478                  (3)               (250)               225
    Effect of adoption of accounting standard                               (168)                 —                   —                (168)
  BALANCE AT JULY 27, 2019                                                    —                  (14)               (778)              (792)
    Other comprehensive income (loss) before
    reclassifications                                                        420                   7                 (51)               376
    (Gains) losses reclassified out of AOCI                                  (42)                  1                   6                (35)
    Tax benefit (expense)                                                    (63)                 —                   (5)               (68)
  BALANCE AT JULY 25, 2020                                                   315                  (6)               (828)              (519)
    Other comprehensive income (loss) before
    reclassifications                                                       (141)                 20                 229                108
    (Gains) losses reclassified out of AOCI                                  (53)                (14)                  3                (64)
    Tax benefit (expense)                                                     61                  (1)                 (2)                58
  BALANCE AT JULY 31, 2021                                      $            182 $                (1) $             (598) $            (417)




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  18. Income Taxes
  (a) Provision for Income Taxes
  The provision for income taxes consists of the following (in millions):
  Years Ended                                                                   July 31, 2021           July 25, 2020            July 27, 2019
  Federal:
      Current                                                               $              1,959 $                1,101 $                  1,760
      Deferred                                                                              (203)                  (374)                     (84)
                                                                                           1,756                    727                    1,676
  State:
       Current                                                                              513                        264                   302
       Deferred                                                                             (46)                       287                    (2)
                                                                                            467                        551                   300
  Foreign:
      Current                                                                                583                  1,429                    1,238
      Deferred                                                                              (135)                    49                     (264)
                                                                                             448                  1,478                      974
           Total                                                            $              2,671 $                2,756      $             2,950

  Income before provision for income taxes consists of the following (in millions):
  Years Ended                                                                   July 31, 2021           July 25, 2020            July 27, 2019
  United States                                                             $             12,335   $              7,534      $             7,611
  International                                                                              927                  6,436                    6,960
       Total                                                                $             13,262   $             13,970      $            14,571

  The items accounting for the difference between income taxes computed at the federal statutory rate and the provision for income taxes
  consist of the following:
  Years Ended                                                               July 31, 2021              July 25, 2020             July 27, 2019
  Federal statutory rate                                                              21.0 %                    21.0 %                    21.0 %
  Effect of:
      State taxes, net of federal tax benefit                                          2.7                       3.5                       2.0
      Foreign income at other than U.S. rates                                          1.5                      (1.5)                     (4.5)
      Tax credits                                                                     (1.4)                     (0.9)                     (1.7)
      Foreign-derived intangible income deduction                                     (4.2)                     (2.6)                     (1.3)
      Stock-based compensation                                                         0.6                      (0.1)                     (0.6)
      Impact of the Tax Act                                                             —                         —                        6.1
      Other, net                                                                      (0.1)                      0.3                      (0.8)
           Total                                                                      20.1 %                    19.7 %                    20.2 %

  During fiscal 2019, we recorded an $872 million charge related to the Tax Act. This charge was the reversal of the previously recorded
  benefit associated with the U.S. taxation of deemed foreign dividends recorded in fiscal 2018 because of a retroactive final U.S.
  Treasury regulation issued during fiscal 2019.
  During fiscal 2020, the Internal Revenue Service (IRS) and Cisco settled all outstanding items related to the audit of our federal
  income tax returns for the fiscal year ended July 30, 2011 through July 27, 2013. As a result of the settlement, we recognized a net
  benefit to the provision for income taxes of $102 million, net of a reduction in interest expense of $4 million.
  Foreign taxes associated with the repatriation of earnings of foreign subsidiaries were not provided on a cumulative total of $6.5 billion
  of undistributed earnings for certain foreign subsidiaries as of the end of fiscal 2021. We intend to reinvest these earnings indefinitely
  in such foreign subsidiaries. If these earnings were distributed in the form of dividends or otherwise, or if the shares of the relevant
  foreign subsidiaries were sold or otherwise transferred, we could be subject to additional income and withholding taxes. The amount of
  potential unrecognized deferred income tax liability related to these earnings is approximately $681 million.
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  As a result of certain employment and capital investment actions, our income in certain foreign countries was subject to reduced tax
  rates. The tax incentives expired at the end of fiscal 2019. As of the end of fiscal 2019, the gross income tax benefits attributable to tax
  incentives were estimated to be $0.3 billion ($0.08 per diluted share). The gross income tax benefits were partially offset by accruals of
  U.S. income taxes on foreign earnings.
  Unrecognized Tax Benefits
  The aggregate changes in the balance of gross unrecognized tax benefits were as follows (in millions):
  Years Ended                                                                      July 31, 2021        July 25, 2020        July 27, 2019
  Beginning balance                                                            $            2,518 $              1,925 $              2,000
  Additions based on tax positions related to the current year                                224                  188                  185
  Additions for tax positions of prior years                                                  618                  554                   84
  Reductions for tax positions of prior years                                                (122)                (136)                (283)
  Settlements                                                                                 (93)                  (4)                 (38)
  Lapse of statute of limitations                                                             (39)                  (9)                 (23)
  Ending balance                                                               $            3,106 $              2,518 $              1,925

  As of July 31, 2021, $2.3 billion of the unrecognized tax benefits would affect the effective tax rate if realized. During fiscal 2021, we
  recognized $74 million of net interest expense and increased our unrecognized tax benefits for prior year tax positions by $618 million
  to reflect expected settlement positions in on-going U.S. federal, state, and foreign income tax return examinations. We recognized net
  interest expense of $104 million during fiscal 2020 and $30 million during fiscal 2019. Our net penalty expense for fiscal 2021, 2020,
  and 2019 was not material. Our total accrual for interest and penalties was $444 million, $340 million, and $220 million as of the end
  of fiscal 2021, 2020, and 2019, respectively. We are no longer subject to U.S. federal income tax audit for returns covering tax years
  through fiscal 2013. We are no longer subject to foreign or state income tax audits for returns covering tax years through fiscal 2003
  and fiscal 2008, respectively.
  We regularly engage in discussions and negotiations with tax authorities regarding tax matters in various jurisdictions. We believe it is
  reasonably possible that certain federal, foreign, and state tax matters may be concluded in the next 12 months. Specific positions that
  may be resolved include issues involving transfer pricing and various other matters. We estimate that the unrecognized tax benefits at
  July 31, 2021 could be reduced by $800 million in the next 12 months.
  (b) Deferred Tax Assets and Liabilities
  The following table presents the breakdown for net deferred tax assets (in millions):
                                                                                                       July 31, 2021        July 25, 2020
  Deferred tax assets                                                                              $             4,360 $              3,990
  Deferred tax liabilities                                                                                        (134)                 (81)
      Total net deferred tax assets                                                                $             4,226 $              3,909




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  The following table presents the components of the deferred tax assets and liabilities (in millions):
                                                                                                      July 31, 2021         July 25, 2020
  ASSETS
  Allowance for accounts receivable and returns                                                   $                68 $                 110
  Sales-type and direct-financing leases                                                                          157                   179
  Inventory write-downs and capitalization                                                                        392                   350
  Deferred foreign income                                                                                         164                   253
  IPR&D and purchased intangible assets                                                                         1,195                 1,289
  Deferred revenue                                                                                              1,526                 1,182
  Credits and net operating loss carryforwards                                                                  1,264                 1,105
  Share-based compensation expense                                                                                123                   135
  Accrued compensation                                                                                            333                   353
  Lease liabilities                                                                                               277                   240
  Capitalized research expenditures                                                                               303                   223
  Other                                                                                                           454                   348
      Gross deferred tax assets                                                                                 6,256                 5,767
      Valuation allowance                                                                                        (771)                 (700)
      Total deferred tax assets                                                                                 5,485                 5,067
  LIABILITIES
  Goodwill and purchased intangible assets                                                                       (686)                 (577)
  Depreciation                                                                                                   (164)                 (179)
  Unrealized gains on investments                                                                                (112)                 (119)
  ROU lease assets                                                                                               (260)                 (222)
  Other                                                                                                           (37)                  (61)
      Total deferred tax liabilities                                                                           (1,259)               (1,158)
           Total net deferred tax assets                                                          $             4,226 $               3,909

  As of July 31, 2021, our federal, state, and foreign net operating loss carryforwards for income tax purposes were $540 million, $1.1
  billion, and $617 million, respectively. A significant amount of the net operating loss carryforwards relates to acquisitions and, as a
  result, is limited in the amount that can be recognized in any one year. If not utilized, the federal, state, and foreign net operating loss
  carryforwards will begin to expire in fiscal 2022. We have provided a valuation allowance of $104 million for deferred tax assets
  related to foreign net operating losses that are not expected to be realized.
  As of July 31, 2021, our federal, state, and foreign tax credit carryforwards for income tax purposes were approximately $31 million,
  $1.4 billion, and $7 million, respectively. The federal tax credit carryforwards will begin to expire in fiscal 2023. The majority of state
  and foreign tax credits can be carried forward indefinitely. We have provided a valuation allowance of $595 million for deferred tax
  assets related to state and foreign tax credits carryforwards that are not expected to be realized.

  19. Segment Information and Major Customers
  (a) Revenue and Gross Margin by Segment
  We conduct business globally and are primarily managed on a geographic basis consisting of three segments: the Americas, EMEA,
  and APJC. Our management makes financial decisions and allocates resources based on the information it receives from our internal
  management system. Sales are attributed to a segment based on the ordering location of the customer. We do not allocate research and
  development, sales and marketing, or general and administrative expenses to our segments in this internal management system because
  management does not include the information in our measurement of the performance of the operating segments. In addition, we do not
  allocate amortization and impairment of acquisition-related intangible assets, share-based compensation expense, significant litigation
  settlements and other contingencies, charges related to asset impairments and restructurings, and certain other charges to the gross
  margin for each segment because management does not include this information in our measurement of the performance of the
  operating segments.



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  Summarized financial information by segment for fiscal 2021, 2020, and 2019, based on our internal management system and as
  utilized by our Chief Operating Decision Maker (CODM), is as follows (in millions):
  Years Ended                                                                   July 31, 2021           July 25, 2020         July 27, 2019
  Revenue:
      Americas                                                              $             29,161   $            29,291    $            30,927
      EMEA                                                                                12,951                12,659                 13,100
      APJC                                                                                 7,706                 7,352                  7,877
          Total                                                             $             49,818   $            49,301    $            51,904
  Gross margin:
      Americas                                                              $             19,499 $              19,547 $               20,338
      EMEA                                                                                 8,466                 8,304                  8,457
      APJC                                                                                 4,949                 4,688                  4,683
          Segment total                                                                   32,914                32,538                 33,479
  Unallocated corporate items                                                             (1,020)                 (855)                  (813)
          Total                                                             $             31,894 $              31,683 $               32,666

  Amounts may not sum due to rounding.
  Revenue in the United States was $26.1 billion, $26.1 billion, and $27.4 billion for fiscal 2021, 2020, and 2019, respectively.
  (b) Revenue for Groups of Similar Products and Services
  We design and sell IP-based networking and other products related to the communications and IT industry and provide services
  associated with these products and their use.
  The following table presents revenue for groups of similar products and services (in millions):
  Years Ended                                                                   July 31, 2021           July 25, 2020         July 27, 2019
  Revenue:
     Infrastructure Platforms                                               $             27,109   $            27,219    $            30,184
     Applications                                                                          5,504                 5,568                  5,803
     Security                                                                              3,382                 3,158                  2,822
     Other Products                                                                           19                    33                    196
          Total Product                                                                   36,014                35,978                 39,005
     Services                                                                             13,804                13,323                 12,899
                Total (1)                                                   $             49,818   $            49,301    $            51,904

  (1) Includes   SPVSS business revenue of $168 million for fiscal 2019.
  Amounts may not sum due to rounding. We have made certain reclassifications to the product revenue amounts for prior years to
  conform to the current year’s presentation.
  (c) Additional Segment Information
  The majority of our assets as of July 31, 2021 and July 25, 2020 were attributable to our U.S. operations. In fiscal 2021, 2020, and
  2019, no single customer accounted for 10% or more of revenue.
  Our long-lived assets are based on the physical location of the assets. The following table presents our long-lived assets, which consists
  of property and equipment, net and operating lease right-of-use assets information for geographic areas (in millions):
                                                                                July 31, 2021           July 25, 2020         July 27, 2019
  Long-lived assets:
     United States                                                          $              2,189    $             2,328   $             2,266
     International                                                                         1,244                  1,046                   523
          Total                                                             $              3,433    $             3,374   $             2,789



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  20. Net Income per Share
  The following table presents the calculation of basic and diluted net income per share (in millions, except per-share amounts):
  Years Ended                                                                   July 31, 2021            July 25, 2020            July 27, 2019
  Net income                                                                $             10,591     $           11,214       $            11,621
  Weighted-average shares—basic                                                            4,222                   4,236                    4,419
  Effect of dilutive potential common shares                                                  14                      18                       34
  Weighted-average shares—diluted                                                          4,236                   4,254                    4,453
  Net income per share—basic                                                $               2.51     $              2.65      $              2.63
  Net income per share—diluted                                              $               2.50     $              2.64      $              2.61
  Antidilutive employee share-based awards, excluded                                            69                       76                       55

  Employee equity share options, unvested shares, and similar equity instruments granted and assumed by us are treated as potential
  common shares outstanding in computing diluted earnings per share. Diluted shares outstanding include the dilutive effect of in-the-
  money options, unvested restricted stock, and restricted stock units. The dilutive effect of such equity awards is calculated based on the
  average share price for each fiscal period using the treasury stock method. Under the treasury stock method, the amount the employee
  must pay for exercising stock options and the amount of compensation cost for future service that has not yet been recognized are
  collectively assumed to be used to repurchase shares.




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  Item 9.           Changes in and Disagreements with Accountants on Accounting and Financial Disclosures

        None.
  Item 9A.          Controls and Procedures

  Evaluation of Disclosure Controls and Procedures
       Based on our management’s evaluation (with the participation of our principal executive officer and principal financial officer), as
  of the end of the period covered by this report, our principal executive officer and principal financial officer have concluded that our
  disclosure controls and procedures (as defined in Rules 13a-15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as
  amended, (the “Exchange Act”)) are effective to ensure that information required to be disclosed by us in reports that we file or submit
  under the Exchange Act is recorded, processed, summarized and reported within the time periods specified in Securities and Exchange
  Commission rules and forms and is accumulated and communicated to our management, including our principal executive officer and
  principal financial officer, as appropriate to allow timely decisions regarding required disclosure.
  Internal Control over Financial Reporting
      Management’s report on our internal control over financial reporting and the report of our independent registered public
  accounting firm on our internal control over financial reporting are set forth, respectively, on page 55 under the caption “Management’s
  Report on Internal Control Over Financial Reporting” and on page 53 of this report.
       There was no change in our internal control over financial reporting during our fourth quarter of fiscal 2021 that has materially
  affected, or is reasonably likely to materially affect, our internal control over financial reporting.



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  Item 9B.          Other Information

        Required Disclosure Pursuant to Section 13(r) of the Securities Exchange Act of 1934, as amended (the “Exchange Act”)
        Under Section 13(r) of the Exchange Act, we are required to disclose in our periodic reports if we or any of our affiliates
  knowingly conducted a transaction or dealing with entities or individuals designated pursuant to certain Executive Orders. On March 2,
  2021, the U.S. government designated the Russian Federal Security Service (the “FSB”) as a blocked party subject to such reporting
  requirements; however, on the same day, the U.S. Department of the Treasury’s Office of Foreign Assets Control updated General
  License No. 1B (the “OFAC General License”), which now also generally authorizes U.S. companies to engage in certain transactions
  and dealings with the FSB necessary and ordinarily incident to requesting or obtaining licenses, permits, certifications or notifications
  issued or registered by the FSB for the importation, distribution or use of information technology products in Russia.
        During the fiscal year ended July 31, 2021, a subsidiary of Cisco filed notifications with, or applied for import licenses and
  permits from, the FSB as required pursuant to Russian encryption product import controls for the purpose of enabling Cisco or our
  subsidiaries to import and distribute certain products in Russia. Neither Cisco nor our subsidiaries generated any gross revenues or net
  profits directly from such approval activity and neither Cisco nor our subsidiaries sell to the FSB. Cisco expects that we or our
  subsidiaries will continue to file notifications with and apply for import licenses and permits from the FSB as required for importation
  and distribution of our products in Russia, if and as permitted by applicable law, including the OFAC General License.



                                                                 PART III
  Item 10.          Directors, Executive Officers and Corporate Governance
       The information required by this item relating to our executive officers is included under the caption “Information about our
  Executive Officers” in Part I, Item 1 of this report.

        The information required by this item relating to our directors and nominees is included under the caption “Proposal No. 1 —
  Election of Directors” in our Proxy Statement related to the 2021 Annual Meeting of Stockholders (the “Proxy Statement”) and is
  incorporated herein by reference. The information required by this item regarding our Audit Committee is included under the caption
  “Board Meetings and Committees” in our Proxy Statement and is incorporated herein by reference. We will provide disclosure of
  delinquent Section 16(a) reports, if any, in our Proxy Statement, and such disclosure, if any, is incorporated herein by reference.

        We have adopted a code of ethics that applies to our principal executive officer and all members of our finance department,
  including the principal financial officer and principal accounting officer. This code of ethics can be found at the “Financial Officer
  Code of Ethics” link in the Corporate Governance section of Cisco’s Investor Relations website at investor.cisco.com. We intend to
  satisfy any disclosure requirement regarding an amendment to, or waiver from, a provision of this code of ethics by posting such
  information on that website or in a report on Form 8-K.


  Item 11.          Executive Compensation
        The information required by this item relating to director and executive compensation is included under the captions “Director
  Compensation,” “Compensation Discussion and Analysis,” “Compensation Committee Report,” “Compensation Committee Interlocks
  and Insider Participation,” “Fiscal 2021 Compensation Tables,” and “CEO Pay Ratio” in our Proxy Statement and is incorporated
  herein by reference.

  Item 12.          Security Ownership of Certain Beneficial Owners and Management and Related Stockholder Matters
       The information required by this item relating to security ownership of certain beneficial owners and management is included
  under the caption “Ownership of Securities” in our Proxy Statement, and the information required by this item relating to securities
  authorized for issuance under equity compensation plans is included under the caption “Equity Compensation Plan Information” in our
  Proxy Statement, and, in each case, is incorporated herein by reference.
  Item 13.          Certain Relationships and Related Transactions, and Director Independence
       The information required by this item relating to review, approval or ratification of transactions with related persons is included
  under the caption “Certain Relationships and Transactions with Related Persons” in our Proxy Statement, and the


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  information required by this item relating to director independence is included under the caption “Independent Directors” in our Proxy
  Statement, and, in each case, is incorporated herein by reference.

  Item 14.          Principal Accountant Fees and Services
       The information required by this item is included under the caption “Proposal No. 3 — Ratification of Independent Registered
  Public Accounting Firm” in our Proxy Statement and is incorporated herein by reference.



                                                                    PART IV
  Item 15.          Exhibits and Financial Statement Schedules

         (a) 1.     Financial Statements
                               See the “Index to Consolidated Financial Statements” on page 52 of this report.

             2.       Financial Statement Schedule
                               See “Schedule II—Valuation and Qualifying Accounts” (below) within Item 15 of this report.

             3.       Exhibits
                                 See the “Index to Exhibits” beginning on page 103 of this report.


                                                                 SCHEDULE II

                                               VALUATION AND QUALIFYING ACCOUNTS
                                                           (in millions)


                                                                                   July 31, 2021      July 25, 2020       July 27, 2019
  Allowance for Accounts Receivable:
      Balance at beginning of fiscal year                                      $              143 $               136 $               129
      Provisions (benefits)                                                                    21                  55                  56
      Recoveries (write-offs), net                                                            (29)                (48)                (50)
      Foreign exchange and other                                                              (26)                 —                    1
       Balance at end of fiscal year                                           $              109 $               143 $               136

  Allowance for Financing Receivables:
      Balance at beginning of fiscal year                                      $              138 $               126 $               205
      Provisions (benefits)                                                                   (27)                 38                 (16)
      Recoveries (write-offs), net                                                             (2)                (22)                (42)
      Foreign exchange and other                                                               18                  (4)                (21)
       Balance at end of fiscal year                                           $              127 $               138 $               126

  Deferred Tax Asset Valuation Allowance:
      Balance at beginning of fiscal year                                      $              700 $               457 $               374
      Additions                                                                                91                 279                 112
      Deductions                                                                               (5)                (29)                (20)
      Write-offs                                                                              (16)                 (7)                 (8)
      Foreign exchange and other                                                                1                  —                   (1)
       Balance at end of fiscal year                                           $              771 $               700 $               457




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                                                            INDEX TO EXHIBITS

    Exhibit                                                                                                                         Filed
    Number                            Exhibit Description                                 Incorporated by Reference                Herewith
                                                                               Form         File No.    Exhibit    Filing Date
       2.1          Agreement and Plan of Merger, dated as of January 25,      8-K12B     001-39940       2.1        1/25/2021
                    2021 by and between Cisco Systems, Inc., a California
                    corporation, and Cisco Systems (DE), Inc., a Delaware
                    corporation
       3.1          Amended and Restated Certificate of Incorporation of       8-K12B     001-39940       3.1        1/25/2021
                    Cisco Systems, Inc., as currently in effect
       3.2          Amended and Restated Bylaws of Cisco Systems, Inc.,        8-K12B     001-39940       3.2        1/25/2021
                    as currently in effect
       4.1          Indenture, dated February 17, 2009, between Cisco           8-K       000-18225       4.1        2/17/2009
                    Systems, Inc. and the Bank of New York Mellon Trust
                    Company, N.A., as trustee
       4.2          Indenture, dated November 17, 2009, between Cisco           8-K       000-18225       4.1       11/17/2009
                    Systems, Inc. and the Bank of New York Mellon Trust
                    Company, N.A., as trustee
       4.3          Indenture, dated March 3, 2014, between the Company         8-K       000-18225       4.1         3/3/2014
                    and The Bank of New York Mellon Trust Company,
                    N.A., as trustee
       4.4          First Supplemental Indenture, dated January 25, 2021 to     10-Q      001-39940       4.1        2/16/2021
                    the Indenture, dated February 17, 2009, between Cisco
                    Systems, Inc. and the Bank of New York Mellon Trust
                    Company, N.A., as trustee
       4.5          First Supplemental Indenture, dated January 25, 2021 to     10-Q      001-39940       4.2        2/16/2021
                    the Indenture, dated November 17, 2009, between Cisco
                    Systems, Inc. and the Bank of New York Mellon Trust
                    Company, N.A., as trustee
       4.6          First Supplemental Indenture, dated January 25, 2021 to     10-Q      001-39940       4.3        2/16/2021
                    the Indenture, dated March 3, 2014, between the
                    Company and The Bank of New York Mellon Trust
                    Company
       4.7          Forms of Global Note for the registrant’s 5.90% Senior      8-K       000-18225       4.1        2/17/2009
                    Notes due 2039
       4.8          Forms of Global Note for the registrant’s 4.45% Senior      8-K       000-18225       4.1       11/17/2009
                    Notes due 2020 and 5.50% Senior Notes due 2040
       4.9          Form of Officer’s Certificate setting forth the terms of    8-K       000-18225       4.2         3/3/2014
                    the Fixed and Floating Rate Notes issued in March 2014
      4.10          Form of Officer’s Certificate setting forth the terms of    8-K       000-18225       4.1        6/18/2015
                    the Fixed and Floating Notes issued in June 2015
      4.11          Form of Officer’s Certificate setting forth the terms of    8-K       000-18225       4.1        2/29/2016
                    the Fixed and Floating Notes issued in February 2016
      4.12          Form of Officer’s Certificate setting forth the terms of    8-K       000-18225       4.1        9/20/2016
                    the Fixed and Floating Notes issued in September 2016
       4.13         Description of Registrant’s Securities                                                                             X
      10.1*         Cisco Systems, Inc. 2005 Stock Incentive Plan               10-Q      001-39940      10.5        2/16/2021
                    (including related form agreements)
      10.2*         Cisco Systems, Inc. Employee Stock Purchase Plan            10-Q      001-39940      10.7        2/16/2021
      10.3*         Cisco Systems, Inc. Deferred Compensation Plan, as          10-Q      001-39940      10.6        2/16/2021
                    amended
      10.4*         Cisco Systems, Inc. Executive Incentive Plan                 8-K      000-18225      10.2       12/12/2017
      10.5*         Form of Indemnity Agreement                                8-K12B     001-39940      10.1        1/25/2021




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    Exhibit                                                                                                                         Filed
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                                                                                Form        File No.    Exhibit    Filing Date
      10.6                                                                      8-K       001-39940      10.1        5/14/2021
                    Second Amended and Restated Credit Agreement, dated
                    as of May 13, 2021, by and among Cisco Systems, Inc.,
                    certain lenders party thereto, and Bank of America,
                    N.A., as administration agent, swing line lender, L/C
                    issuer and sustainability coordinator
      10.7          Form of Commercial Paper Dealer Agreement                   10-Q      000-18225      10.1        2/23/2011
      10.8          Commercial Paper Issuing and Paying Agent                   10-Q      000-18225      10.2        2/23/2011
                    Agreement dated January 31, 2011 between the
                    Registrant and Bank of America, N.A.
      10.9*         Letter Agreement by and between Cisco Systems, Inc.         8-K       000-18225      10.1       11/13/2020
                    and R. Scott Herren
     10.10*         Transition Agreement by and between Cisco Systems,          8-K       000-18225      10.2       11/13/2020
                    Inc. and Kelly A. Kramer
     10.11*         Letter of Transfer — International Transfer by and          8-K       001-39940      10.1        2/25/2021
                    between Cisco Systems, Inc. and Irving Tan
      21.1          Subsidiaries of the Registrant                                                                                     X
      23.1          Consent of Independent Registered Public Accounting                                                                X
                    Firm
      24.1          Power of Attorney (included on page 105 of this Annual                                                             X
                    Report on Form 10-K)
      31.1          Rule 13a–14(a)/15d–14(a) Certification of Principal                                                                X
                    Executive Officer
      31.2          Rule 13a–14(a)/15d–14(a) Certification of Principal                                                                X
                    Financial Officer
      32.1          Section 1350 Certification of Principal Executive                                                                  X
                    Officer
      32.2          Section 1350 Certification of Principal Financial Officer                                                          X
    101.INS         Inline XBRL Instance Document                                                                                      X
    101.SCH         Inline XBRL Taxonomy Extension Schema Document                                                                     X
    101.CAL         Inline XBRL Taxonomy Extension Calculation                                                                         X
                    Linkbase Document
    101.DEF         Inline XBRL Taxonomy Extension Definition Linkbase                                                                 X
                    Document
    101.LAB         Inline XBRL Taxonomy Extension Label Linkbase                                                                      X
                    Document
    101.PRE         Inline XBRL Taxonomy Extension Presentation                                                                        X
                    Linkbase Document
       104          Cover Page Interactive Data File (Embedded within the                                                              X
                    Inline XBRL document and included in Exhibit 101)

        *       Indicates a management contract or compensatory plan or arrangement.




  Item 16.           Form 10-K Summary

        None.




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                                                              SIGNATURES

       Pursuant to the requirements of Section 13 or 15(d) of the Securities Exchange Act of 1934, the registrant has duly caused this
  Report on Form 10-K to be signed on its behalf by the undersigned, thereunto duly authorized.


                        September 9, 2021                                                      CISCO SYSTEMS, INC.

                                                                                              /S/ CHARLES H. ROBBINS
                                                                                                 Charles H. Robbins
                                                                                          Chair and Chief Executive Officer


                                                        POWER OF ATTORNEY

         KNOW ALL PERSONS BY THESE PRESENTS, that each person whose signature appears below constitutes and appoints
  Charles H. Robbins and R. Scott Herren, jointly and severally, his attorney-in-fact, each with the full power of substitution, for such
  person, in any and all capacities, to sign any and all amendments to this Annual Report on Form 10-K, and to file the same, with all
  exhibits thereto and other documents in connection therewith, with the Securities and Exchange Commission, granting unto said
  attorney-in-fact and agent full power and authority to do and perform each and every act and thing requisite and necessary to be done
  in connection therewith, as fully to all intents and purposes as he might do or could do in person hereby ratifying and confirming all
  that each of said attorneys-in-fact and agents, or his substitute, may do or cause to be done by virtue hereof.

        Pursuant to the requirements of the Securities Exchange Act of 1934, this Report on Form 10-K has been signed below by the
  following persons on behalf of the registrant and in the capacities and on the dates indicated.


                      Signature                                             Title                                      Date


            /S/ CHARLES H. ROBBINS                           Chair and Chief Executive Officer                  September 9, 2021
               Charles H. Robbins                              (Principal Executive Officer)


             /S/ R. SCOTT HERREN                   Executive Vice President and Chief Financial Officer         September 9, 2021
                    R. Scott Herren                           (Principal Financial Officer)


                /S/ PRAT S. BHATT                   Senior Vice President and Chief Accounting Officer          September 9, 2021
                     Prat S. Bhatt                            (Principal Accounting Officer)




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                       Signature                                            Title                 Date

             /S/ M. MICHELE BURNS                                         Director          September 9, 2021
                M. Michele Burns

              /S/ WESLEY G. BUSH                                          Director          September 9, 2021
                    Wesley G. Bush

           /S/ MICHAEL D. CAPELLAS                              Lead Independent Director   September 9, 2021
               Michael D. Capellas

               /S/ MARK GARRETT                                           Director          September 9, 2021
                     Mark Garrett

              /S/ JOHN D. HARRIS II                                       Director          September 9, 2021
                John D. Harris II

           /S/ KRISTINA M. JOHNSON                                        Director          September 9, 2021
            Dr. Kristina M. Johnson

          /S/ RODERICK C. MCGEARY                                         Director          September 9, 2021
             Roderick C. McGeary

           /S/ BRENTON L. SAUNDERS                                        Director          September 9, 2021
              Brenton L. Saunders

                     /S/ LISA T. SU                                       Director          September 9, 2021
                     Dr. Lisa T. Su

             /S/ MARIANNA TESSEL                                          Director          September 9, 2021
                    Marianna Tessel




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